Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 1 of 215




              EXHIBIT B
    Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 2 of 215




                           [PROPOSED] AMENDED COMPLAINT

       Plaintiff Securities and Exchange Commission (the “SEC” or the “Commission”), for its

Amended Complaint against Defendants Binance Holdings Limited (“Binance”), BAM Trading

Services Inc. (“BAM Trading”), BAM Management US Holdings Inc. (“BAM Management”),

and Changpeng Zhao (“Zhao”), alleges as follows:

                                             SUMMARY

       1.      This case arises from Defendants’ blatant disregard of the federal securities laws

and the investor and market protections these laws provide. In so doing, Defendants have

enriched themselves by billions of U.S. dollars while placing investors’ assets at significant risk.

       2.      Defendants have unlawfully solicited U.S. investors to buy, sell, and trade crypto

assetassets that were offered and sold as securities 1 through unregistered trading platforms

available online at Binance.com (“Binance.com Platform”) and Binance.US (“Binance.US

Platform”) and through their mobile apps and application programming interfaces (“APIs”)

(collectively, “Binance Platforms”). Defendants have also engaged in multiple unregistered

offers and sales of crypto asset securities and other investment schemes. And Defendants BAM

Trading and BAM Management defrauded equity, retail, and institutional investors about

purported surveillance and controls over manipulative trading on the Binance.US Platform,

which were in fact virtually non-existent.

       3.      First, Binance and BAM Trading, under Zhao’s leadership and control, have

unlawfully offered three essential securities market functions—exchange, broker-dealer, and



1
  “While helpful as a shorthand reference, the security in this case is not simply the [crypto
asset], which is little more than alphanumeric cryptographic sequence. . . . [the] security … [in]
[t]his case . . . consists of the full set of contracts, expectations, and understandings centered on
the sales and distribution of the [crypto asset].” SEC v. Telegram Grp., Inc., 448 F. Supp. 3d 352,
379 (S.D.N.Y. 2020).
                                                 1
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 3 of 215




clearing agency—on the Binance Platforms without registering with the SEC. Acutely aware

that U.S. law requires registration for these functions, Defendants nevertheless chose not to

register, so they could evade the critical regulatory oversight designed to protect investors and

markets.

       4.      Second, Binance and BAM Trading have unlawfully engaged in unregistered

offers and sales of crypto asset securities, including Binance’s own crypto assets called “BNB”

and “BUSD,” as well as Binance’s profit-generating programs called “BNB Vault” and “Simple

Earn,” and a so-called “staking” investment scheme available on the Binance.US Platform. In so

doing, they have deprived investors of material information, including the risks and trends that

affect the enterprise and an investment in these securities.

       5.      Third, BAM Trading and BAM Management have made misrepresentations to

investors about controls they claimed to have implemented on the Binance.US Platform, while

raising approximately $200 million from private investors in BAM Management and attracting

billions of dollars in trading volume from investors (including retail and institutional investors)

seeking to transact on the Binance.US Platform.

       6.      Starting in or around 2018, determined to escape the registration requirements of

the federal securities laws, Defendants—under Zhao’s control—designed and implemented a

multi-step plan to surreptitiously evade U.S. laws. As Binance’s Chief Compliance Officer

(“Binance CCO”) admitted, “we do not want [Binance].com to be regulated ever.”

       7.      As one part of this plan to evade United States regulatory oversight over Zhao,

Binance, and the Binance.com Platform, Zhao and Binance created BAM Management and

BAM Trading in the United States and claimed publicly that these entities independently

controlled the operation of the Binance.US Platform. Behind the scenes, however, Zhao and
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 4 of 215




Binance were intimately involved in directing BAM Trading’s U.S. business operations and

providing and maintaining the crypto asset services of the Binance.US Platform. BAM Trading

employees referred to Zhao’s and Binance’s control of BAM Trading’s operations as “shackles”

that often prevented BAM Trading employees from understanding and freely conducting the

business of running and operating the Binance.US Platform—so much so that, by November

2020, BAM Trading’s then-CEO told Binance’s CFO that her “entire team feels like [it had]

been duped into being a puppet.”

       8.      As a second part of Zhao’s and Binance’s plan to shield themselves from U.S.

regulation, they consistently claimed to the public that the Binance.com Platform did not serve

U.S. persons, while simultaneously concealing their efforts to ensure that the most valuable U.S.

customers continued trading on the platform. When the Binance.US Platform launched in 2019,

Binance announced that it was implementing controls to block U.S. customers from the

Binance.com Platform. In reality, Binance did the opposite. Zhao directed Binance to assist

certain high-value U.S. customers in circumventing those controls and to do so surreptitiously

because—as Zhao himself acknowledged—Binance did not want to “be held accountable” for

these actions. As the Binance CCO explained, “[o]n the surface we cannot be seen to have US

users[,] but in reality, we should get them through other creative means.” Indeed, Zhao’s stated

“goal” was “to reduce the losses to ourselves, and at the same time to make the U.S. regulatory

authorities not trouble us.”

       9.      Defendants’ purposeful efforts to evade U.S. regulatory oversight while

simultaneously providing securities-related services to U.S. customers put the safety of billions

of dollars of U.S. investor capital at risk and at Binance’s and Zhao’s mercy. Lacking regulatory

oversight, Defendants were free to and did transfer investors’ crypto and fiat assets as
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 5 of 215




Defendants pleased, at times commingling and diverting them in ways that properly registered

brokers, dealers, exchanges, and clearing agencies would not have been able to do. For example,

through accounts owned and controlled by Zhao and Binance, billions of U.S. dollars of

customer funds from both Binance Platforms were commingled in an account held by a Zhao-

controlled entity (called Merit Peak Limited), which funds were subsequently transferred to a

third party apparently in connection with the purchase and sale of crypto assets.

       10.     Moreover, Defendants understood the importance to crypto asset investors of

implementing trading surveillance and controls over crypto trading platforms. Zhao himself

stated in 2019 that “CREDIBILITY is the most important asset for any exchange! If an

exchange fakes their volumes, would you trust them with your funds?”

       11.     Defendants BAM Trading and BAM Management touted the surveillance and

controls supposedly in place to prevent manipulative trading on the Binance.US Platform.

       12.     But Defendants failed to implement on the Binance.US Platform the trade

surveillance or manipulative trading controls BAM Trading and BAM Management touted to

investors. Thus, Defendants failed to satisfy basic requirements of registered exchanges—to

have rules designed to prevent fraudulent and manipulative acts and the capacity to carry out that

purpose. The supposed controls were virtually non-existent, and those that did exist did not

monitor for or protect against “wash trading” or self-dealing, which was occurring on the

Binance.US Platform. Most notably, from at least September 2019 until June 2022, Sigma Chain

AG (“Sigma Chain”), a trading firm owned and controlled by Zhao, engaged in wash trading that

artificially inflated the trading volume of crypto assetassets, including crypto assets that were

offered and sold as securities, on the Binance.US Platform.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 6 of 215




       13.     Congress enacted the Securities Act of 1933 (“Securities Act”) and the Securities

Exchange Act of 1934 (“Exchange Act”) in part to provide for the regulation of the offer and

sale of securities and the national securities markets through registration and attendant

disclosure, recordkeeping, inspection, and conflict-of-interest mitigation requirements. Binance

and BAM Trading—both under Zhao’s control—have engaged and continue to engage in

unregistered offers and sales of crypto asset securities, serving as an unregistered intermediary,

and effecting unregistered crypto asset securities transactions on the Binance Platforms,

combining core securities market functions while purposefully evading registration, and

operating while impaired by obvious conflicts of interest. In doing so, they have dodged the

disclosure and other requirements that Congress and the SEC have constructed over the course of

decades to protect our capital markets and investors and thereby have violated—and continue to

violate—the law.

                                          VIOLATIONS

       14.     By engaging in the conduct set forth in this Amended Complaint, Binance and

BAM Trading engaged in, and are currently engaging in, the unlawful offer and sale of securities

in violation of Sections 5(a) and 5(c) of the Securities Act [15 U.S.C. §§ 77e(a) and 77e(c)].

       15.     By engaging in the conduct set forth in this Amended Complaint, Binance acted

as an exchange, broker and dealer, and clearing agency for the Binance.com Platform without

registering in any such capacities, in violation of Sections 5, 15(a), and 17A(b) of the Exchange

Act [15 U.S.C. §§ 78e, 78o(a), and 78q-1(b)]. Similarly, with respect to the Binance.US

Platform, Binance acted together with BAM Trading as an exchange, BAM Trading acted as a

broker, and Binance and BAM Trading each acted as a clearing agency, without registering in

any such capacities, in violation of Sections 5, 15(a), and 17A(b) of the Exchange Act [15 U.S.C.

§§ 78e, 78o(a), and 78q-1(b)]. As a control person over Binance and BAM Trading under
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 7 of 215




Exchange Act Section 20(a) [15 U.S.C. § 78t(a)], Zhao has also violated Sections 5, 15(a), and

17A(b) of the Exchange Act [15 U.S.C. §§ 78e, 78o(a), and 78q-1(b)] for Binance and BAM

Trading’s violations with respect to both Binance Platforms.

       16.     By engaging in the conduct set forth in this Amended Complaint, BAM Trading

and BAM Management have further obtained money or property by means of materially false

and misleading statements and engaged in transactions, practices, and courses of business that

operated as a fraud or deceit upon purchasers in the offer and sale of securities in violation of

Section 17(a)(2) and (3) of the Securities Act [15 U.S.C. § 77q(a)(2) and 77q(a)(3)].

       17.     Unless Defendants are permanently restrained and enjoined, there is a reasonable

likelihood that they will continue to engage in the acts, practices, and courses of business set

forth in this Amended Complaint and in acts, practices, and courses of business of similar type

and object in violation of the federal securities laws.

                NATURE OF THE PROCEEDING AND RELIEF SOUGHT

       18.     The Commission brings this action pursuant to the authority conferred upon it by

Sections 20(b), 20(d), and 22(a) of the Securities Act [15 U.S.C. §§ 77t(b), 77t(d), and 77v(a)]

and Sections 21(d) and 27(a) of the Exchange Act [15 U.S.C. §§ 78u(d) and 78aa(a)].

       19.     The Commission seeks a final judgment: (a) permanently enjoining Defendants

from committing further violations of the federal securities laws they are alleged to have

violated; (b) ordering Defendants to disgorge their ill-gotten gains with prejudgment interest;

(c) permanently enjoining Defendants and any entity controlled by them from, directly or

indirectly, using the means or instrumentalities of interstate commerce to: (i) participate in the

issuance, purchase, offer, or sale of any security, including any crypto asset security, in any

unregistered transaction; (ii) act as an unregistered exchange with respect to any securities,

including any crypto asset securities; (iii) act as an unregistered broker or dealer with respect to
    Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 8 of 215




any securities, including any crypto asset securities; and (iv) act as an unregistered clearing

agency with respect to any securities, including any crypto asset securities; (d) imposing civil

money penalties on Defendants; and (e) ordering equitable relief that may be appropriate or

necessary for the benefit of investors.



                                  JURISDICTION AND VENUE

        20.     This Court has jurisdiction over this action pursuant to Sections 20(b), 20(d), and

22(a) of the Securities Act [15 U.S.C. §§ 77t(b), 77t(d), and 77v(a)] and Sections 21(d) and 27(a)

of the Exchange Act [15 U.S.C. §§ 78u(d) and 78aa(a)].

        21.     Defendants, directly or indirectly, have made use of the means or instruments of

transportation or communication in interstate commerce or of the mails, including Defendants’

regular use of the Internet and the U.S. banking system, in connection with the transactions, acts,

practices, and courses of business alleged in this Amended Complaint.

        22.     Venue is proper in the District of Columbia pursuant to Section 22(a) of the

Securities Act [15 U.S.C. § 77v(a)] and Section 27(a) of the Exchange Act [15 U.S.C. § 78aa(a)].

Among other acts, Defendants failed to register with the SEC in this District as an exchange,

broker-dealer, or clearing agency as required under the Exchange Act. In addition, they failed to

register with the SEC in this District the offer and sale of securities, and they conducted

unregistered offers and sales of securities to residents of, or persons located in, this District.

        23.     Defendants also transacted business in this District. At least before September

2019, Binance (as controlled by Zhao) made the Binance.com Platform available for trading to

customers in this District. Further, BAM Management and BAM Trading (also under Zhao’s

and Binance’s control) obtained District of Columbia business licenses and transacted business

in this District, including through the operation and availability of the Binance.US Platform,
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 9 of 215




which was accessed by individuals in the District, and through personnel (such as one of its

CEOs) in this District, who provided services to and engaged in business with all Defendants.

       24.     Defendants’ violations of the federal securities laws alleged in this Amended

Complaint occurred within the United States and had a foreseeable substantial effect within the

United States. Binance and Zhao actively solicited U.S. investors to trade on the Binance

Platforms. Binance and Zhao, for example, regularly solicited U.S. investors via their social

media and other internet postings to trade on both of the Binance Platforms. Zhao also directed

other Binance employees to actively solicit and take other steps to retain U.S. investors on the

Binance.com Platform, even after Binance publicly announced in June 2019 that it would no

longer serve U.S. investors. By then, Binance estimated that it had over 1.47 million U.S.-based

investors on the Binance.com Platform, and it continued to maintain a substantial U.S. customer

base for several years thereafter. In addition, Binance has employees located in the United

States, and residents of this District invested in schemes Binance offered and sold as securities

including BUSD and the Simple Earn program.

       25.     Moreover, until at least the end of 2022, Binance, at Zhao’s direction, maintained

custody and control of the crypto assets deposited, held, traded, and/or accrued by customers on

the Binance.US Platform.

                                         DEFENDANTS

       26.     The Binance Platforms were founded and are maintained and operated by an

opaque web of corporate entities, including those identified below, all of which are beneficially

owned and controlled by Zhao, Binance’s Chief Executive Officer (“CEO”) and, at least through

March 2022, the Chairman of BAM Trading’s and BAM Management’s Boards of Directors.

       27.     Binance, d/b/a Binance.com, is a Cayman Islands limited liability company

founded and owned by Zhao. Since at least July 2017, it has operated the Binance.com Platform,
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 10 of 215




an international crypto asset trading platform. The Binance.com Platform markets itself as being

available to customers in more than 100 countries. It currently offers trading in over 350 crypto

assets and makes available various other investment opportunities involving crypto assets,

including crypto assetassets offered and sold as securities. Binance operates through a number

of subordinate or affiliated entities, in multiple jurisdictions, all tied to Zhao as the beneficial

owner. Zhao has been publicly dismissive of “traditional mentalities” about corporate

formalities and their attendant regulatory requirements. He has refused to identify the

headquarters of Binance, claiming, “Wherever I sit is the Binance office. Wherever I meet

somebody is going to be the Binance office.” According to Zhao, the concept of a formal

corporate entity with a headquarters and its own bank account is unnecessary: “All of those

things doesn’t have to exist for blockchain companies.” Notably, however, billions of dollars

from the platforms flowed through dozens of Binance and Zhao-owned U.S.-based bank

accounts. Neither Binance nor any of its subsidiaries or affiliated entities have ever been

registered with the SEC in any capacity.

        28.     BAM Management is a Delaware corporation and the parent of BAM Trading

and other affiliated entities. When the Binance.US Platform launched in 2019, BAM

Management was wholly owned by BAM Management Company Limited, a Cayman Islands

company, which in turn was wholly owned by CPZ Holdings Limited, a British Virgin Islands

company that was owned and controlled by Zhao. Presently, Zhao continues to own 81 percent

of BAM Management. Neither BAM Management nor any of its subsidiaries or affiliated

entities (including BAM Trading) has ever been registered with the SEC in any capacity.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 11 of 215




       29.     BAM Trading, d/b/a Binance.US, is a Delaware corporation with a principal

place of business in Miami, Florida. It is wholly owned by BAM Management. BAM Trading

holds 43 money transmitter licenses with U.S. jurisdictions, including this District.

       30.     Zhao, widely known as “CZ,” is a Canadian citizen who resides outside of the

United States, is Binance’s founder, beneficial owner, and, at least until November 2023, its

CEO, and. Zhao was also Chairman of BAM Trading’s and BAM Management’s Boards of

Directors at least until approximately March 2022. Zhao also, and owns several entities that

have regularly traded on the Binance Platforms. Between October 2022 and January 2023, Zhao

personally received $62.5 million from one of the Binance bank accounts. Zhao has never been

associated with any entity registered with the SEC.

                                CERTAIN OTHER ENTITIES

       31.     Trust Company A is a New York limited purpose trust company. Beginning in

September 2019, pursuant to a “Stablecoin as a Service” agreement with a Binance affiliate,

Trust Company A issued in partnership with Binance the crypto asset “BUSD,” which was

approved by and under the supervision of the New York Department of Financial Services

(“NYDFS”). BUSD is a Binance-branded U.S. Dollar denominated crypto asset on the

Ethereum blockchain. In December 2019, BAM Trading entered into a partnership with Trust

Company A, whereby Trust Company A provided certain services with respect to BUSD

purchases and sales on the Binance.US Platform. Effective February 21, 2023, Trust Company

A ceased issuing new BUSD pursuant to an NYDFS order.

       32.     Trust Company B is a Nevada-based trust company. In or around July 2019,

BAM Trading entered into an agreement with Trust Company B to provide certain services to

customers purchasing crypto assets on the Binance.US Platform with U.S. dollars.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 12 of 215




       33.      Sigma Chain is a crypto asset trading firm incorporated in Switzerland. Zhao is

Sigma Chain’s beneficial owner, and several Binance employees conducted its operations.

Among others, Binance’s back office manager (“Binance Back Office Manager”) was Sigma

Chain’s President at the same time she also had signatory authority over BAM Trading’s bank

accounts. Sigma Chain was an active trader on both Binance Platforms, and described itself as

“the main market maker for Binance.com.” Upon the Binance.US Platform’s launch, Zhao

directed that Sigma Chain be one of its first market makers. Further, since the Binance.US

Platform began offering over-the-counter (“OTC”) trading and its Convert Trading and One

Click Buy Sell (“OCBS”) Services to customers, Sigma Chain has served as one of the

counterparties to Binance.US Platform customers, including, at times, serving as the only

counterparty.

       34.      Merit Peak Limited (“Merit Peak”) is a crypto asset trading firm incorporated

in the British Virgin Islands. Zhao is Merit Peak’s beneficial owner, and several Binance

employees conducted its operations. It has described itself as “a proprietary firm trading with

our owner’s [Zhao’s] self-made wealth from the digital asset business.” Merit Peak was an OTC

trading service provider on the Binance.com Platform and was one of the earliest market makers

on the Binance.US Platform. Through Merit Peak, Zhao has also directed over $16 million to

BAM Management to fund the Binance.US Platform’s operations.

       35.      Below is a high-level graphical representation of a certain limited number of

relationships and entities relevant to the allegations herein.
     Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 13 of 215




                                                                                               Other
                                                                    Zhao                    Zhao-Owned
                                                                                              Entities




                                                  100%**             100%*          100%*           100%*               100%*

                                               CPZ              Binance         Sigma        Merit Peak       CoinMarketCap
                                         Holdings Limited   Holdings Limited   Chain AG       Limited            OpCo, LLC
        2022 Seed Investors,
       Former Employees &
         Equity Available
                                                  100%**
        Under 2021 Equity
               Plan                          BAM
                                          Management
                                         Company Limited

                       19%**    81%**
                           BAM
                      Management US
                       Holdings Inc.

                               100%**
                            BAM
                      Trading Services
                            Inc.

                                                                                                Direct or Indirect Ownership
                                                                                              * As of October 18, 2022
                                                                                             ** As of January 31, 2023




                                                            BACKGROUND

I.       STATUTORY AND LEGAL FRAMEWORK

         36.        As the Supreme Court recently reemphasized, the Securities Act and the

Exchange Act are the “backbone of American securities laws.”

         37.        The Securities Act and the Exchange Act define “security” to include a wide

range of assets including “investment contracts.” Investment contracts are instruments through

which a person invests money in a common enterprise and reasonably expects profits or returns

derived from the entrepreneurial or managerial efforts of others. As the United States Supreme

Court noted in SEC v. W.J. Howey Co., Congress defined “security” broadly to embody a

“flexible rather than a static principle, one that is capable of adaptation to meet the countless and

variable schemes devised by those who seek the use of the money of others on the promise of

profits.” 328 U.S. 293, 299 (1946). Courts have found a variety of novel or unique investment
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 14 of 215




vehicles to be investment contracts, including those involving orange groves, animal breeding

programs, cattle embryos, mobile phones, enterprises that exist only on the Internet, and crypto

assets (which crypto asset market participants at times also label “cryptocurrencies”).

       A.      The Securities Act’s Registration and Disclosure Requirements

       38.     Congress enacted the Securities Act to regulate the offer and sale of securities.

Sections 5(a) and 5(c) [15 U.S.C. §§ 77e(a) and (c)] require those that directly or indirectly offer

and sell securities to register those offers and sales with the SEC.

       39.     Registration statements provide the investing public with material, sufficient, and

accurate information to make informed investment decisions, including financial and managerial

information about the issuer, how the issuer will use offering proceeds, and the risks and trends

that affect the enterprise and an investment in its securities.

       B.      The Exchange Act’s Registration and Other Requirements

       40.     To fulfill the purposes of the Exchange Act, Congress imposed registration and

disclosure obligations on certain defined participants in the national securities markets, including

but not limited to broker-dealers, exchanges, and clearing agencies. It also empowered the SEC

to write rules to protect investors who use the services of those intermediaries.

       41.     In the Exchange Act, Congress explained that such oversight is essential to the

proper functioning of the national securities markets and the national economy:

               [T]ransactions in securities as commonly conducted upon securities
               exchanges and over-the-counter markets are effected with a national
               public interest which makes it necessary to provide for regulation
               and control of such transactions and of practices and matters related
               thereto … [to] perfect the mechanisms of a national market system
               for securities and a national system for the clearance and settlement
               of securities transactions and the safeguarding of securities and
               funds related thereto, and to impose requirements necessary to make
               such regulation and control reasonably complete and effective, in
               order to protect interstate commerce, the national credit, the Federal
               taxing power, to protect and make more effective the national
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 15 of 215




                banking system and Federal Reserve System, and to insure the
                maintenance of fair and honest markets in such transactions.

15 U.S.C. § 78b.

       42.      Congress also determined that “[t]he prompt and accurate clearance and

settlement of securities transactions, including the transfer of record ownership and the

safeguarding of securities and funds related thereto, are necessary for the protection of investors

and persons facilitating transactions by and acting on behalf of investors.” 15 U.S.C. § 78q-1.

              i.       Registration of Exchanges

       43.      In enacting registration provisions for national securities exchanges, Congress

found in Section 2(3) of the Exchange Act [15 U.S.C. §78b(3)] that:

                Frequently the prices of securities on such exchanges and markets
                are susceptible to manipulation and control, and the dissemination
                of such prices gives rise to excessive speculation, resulting in
                sudden and unreasonable fluctuations in the prices of securities
                which (a) cause alternately unreasonable expansion and
                unreasonable contraction of the volume of credit available for trade,
                transportation, and industry in interstate commerce, (b) hinder the
                proper appraisal of the value of securities and thus prevent a fair
                calculation of taxes owing to the United States and to the several
                States by owners, buyers, and sellers of securities, and (c) prevent
                the fair valuation of collateral for bank loans and/or obstruct the
                effective operation of the national banking system.

       44.      Accordingly, Section 5 of the Exchange Act [15 U.S.C. § 78e] requires an

organization, association, or group of persons that meets the definition of “exchange” under

Section 3(a)(1) of the Exchange Act, unless otherwise exempt, to register with the Commission

as a national securities exchange pursuant to Section 6 of the Exchange Act.

       45.      Section 3(a)(1) of the Exchange Act [15 U.S.C. § 78c(a)(1)] defines “exchange”

to mean “any organization, association, or group of persons, whether incorporated or

unincorporated, which constitutes, maintains, or provides a market place or facilities for bringing

together purchasers and sellers of securities or for otherwise performing with respect to securities
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 16 of 215




the functions commonly performed by a stock exchange as that term is generally understood, and

includes the market place and the market facilities maintained by such exchange.”

       46.     Exchange Act Rule 3b-16(a) [17 C.F.R. § 240.3b-16(a)] further defines certain

terms in the definition of “exchange” under Section 3(a)(1) of the Exchange Act, including “[a]n

organization, association, or group of persons,” as one that: “(1) [b]rings together the orders for

securities of multiple buyers and sellers; and (2) [u]ses established, non-discretionary methods

(whether by providing a trading facility or by setting rules) under which such orders interact with

each other, and the buyers and sellers entering such orders agree to the terms of a trade.”

       47.     Registration of a trading platform as an “exchange” under the Exchange Act is a

bedrock Congressional requirement that permits the SEC to carry out its role of oversight over

the national securities markets.

       48.     For example, properly registered exchanges must enact rules to govern their and

their members’ behavior. Under Section 6 of the Exchange, the rules, among other things, must

be “designed to prevent fraudulent and manipulative acts and practices, to promote just and

equitable principles of trade … and, in general, to protect investors and the public interest.”

       49.     These rules are subject to review by the SEC under Section 19 of the Exchange

Act [15 U.S.C. § 78s], including before an exchange can be registered and begin operating. This

review process is designed to ensure that securities marketplaces operate in a manner consistent

with the Exchange Act as its practices and procedures evolve over time, in part to protect

investors and the integrity of securities markets that affect national commerce and the economy.

             ii.       Registration of Broker-Dealers

       50.     Section 15(a) of the Exchange Act [15 U.S.C. § 78o(a)] generally requires brokers

and dealers to register with the SEC, and a broker or dealer must also become a member of one
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 17 of 215




or more “self-regulatory organizations” (“SROs”), which in turn require members to adhere to

rules governing members’ activities.

       51.      Section 3(a)(4) of the Exchange Act [15 U.S.C. § 78c(a)(4)] defines “broker”

generally as “any person engaged in the business of effecting transactions in securities for the

account of others.” Section 3(a)(5) of the Exchange Act [15 U.S.C. § 78c(a)(5)] defines “dealer”

generally as “any person engaged in the business of buying and selling securities for his own

account, through a broker or otherwise.”

       52.      The regulatory regime applicable to broker-dealers is a cornerstone of the federal

securities laws and provides important safeguards to investors and market participants.

Registered broker-dealers are subject to comprehensive regulation and rules that include

recordkeeping and reporting obligations, SEC and SRO examination, and general and specific

requirements aimed at addressing certain conflicts of interest, among other things. All of these

rules and regulations are critical to the soundness of the national securities markets and to

protecting investors in the public markets who interact with broker-dealers.

       53.      To preserve the fair and orderly markets, avoid conflicts of interests, and protect

investors, Section 11(a) of the Exchange Act [15 U.S.C. § 78k(a)] prohibits broker-dealers that

are members of exchanges from effecting transactions on that exchange for their accounts.

             iii.      Registration of Clearing Agencies

       54.      Section 17A(b) of the Exchange Act [15 U.S.C. § 78q-1(b)] generally makes it

unlawful “for any clearing agency, unless registered in accordance with this subsection, directly

or indirectly, to make use of the mails or any means or instrumentality of interstate commerce to

perform the functions of a clearing agency with respect to any security.”

       55.      Section 3(a)(23)(A) of the Exchange Act [15 U.S.C. § 78c(a)(23)(A)] defines the

term “clearing agency” as “any person who acts as an intermediary in making payments or
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 18 of 215




deliveries or both in connection with transactions in securities or who provides facilities for

comparison of data respecting the terms of settlement of securities transactions, to reduce the

number of settlements of securities transactions, or for the allocation of securities settlement

responsibilities,” as well as “any person … who (i) acts as a custodian of securities in connection

with a system for the central handling of securities whereby all securities of a particular class or

series of any issuer deposited within the system are treated as fungible and may be transferred,

loaned, or pledged by bookkeeping entry without physical delivery of securities certificates, or

(ii) otherwise permits or facilitates the settlement of securities transactions or the hypothecation

or lending of securities without physical delivery of securities certificates.”

       56.     Registered clearing agencies are subject to comprehensive regulation under the

Exchange Act and the rules thereunder, providing important safeguards to investors and market

participants, and to the maintenance of fair competition. These regulations and rules include

recordkeeping obligations and require SEC examination. Moreover, clearing agencies properly

registered under the Exchange Act must enact a set of rules to govern their and their members’

behavior, and these rules are subject to review by the SEC.

       C.      Registration of Exchanges, Broker-Dealers, and Clearing Agencies Is
               Essential to the Proper Functioning of the U.S. Securities Markets and to the
               Protection of Investors

       57.     In U.S. securities markets, the functions described above are typically carried out

by separate legal entities that are independently registered and regulated by the SEC. Separation

of these core functions aims to minimize conflicts between the interests of securities

intermediaries and the investors they serve. Registration and concomitant disclosure obligations

allow the SEC to oversee the business of intermediaries and their relationships with investors and

to thereby protect investors from manipulation, fraud, and other abuses.
      Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 19 of 215




         58.    Investors in securities markets do not interact directly with exchanges or clearing

agencies but instead are customers of broker-dealers that effect transactions on investors’ behalf.

Only broker-dealers (or natural persons associated with a broker-dealer) may become members

of a national securities exchange. In addition, broker-dealers that have customers must become

members of the Financial Industry Regulatory Authority (“FINRA”), an SRO that imposes its

own rules and oversight over broker-dealers, particularly as to protecting retail investors.

         59.    Registered national securities exchanges and clearing agencies are also SROs and

therefore must submit all of their proposed rules and rules changes to the SEC for review.

         60.    As noted, the Exchange Act also subjects registered intermediaries to important

record-keeping and inspection requirements. For example, Section 17 of the Exchange Act [15

U.S.C. § 78q] requires registered national securities exchanges, broker-dealers, and clearing

agencies to make and keep records as the SEC prescribes by rule and subjects those records to

reasonable periodic, special, or other examinations by representatives of the SEC.

         61.    These provisions are designed to ensure that intermediaries follow the rules that

protect investors and promote the fair and efficient operation of the securities markets. These

provisions also seek to ensure, among other things, that investors’ securities orders are handled

fairly and transparently, that securities transactions result in settlement finality, and that

investors’ assets are protected and can be recovered if necessary.

II.      BACKGROUND ON CRYPTO ASSETS AND CRYPTO TRADING PLATFORMS

         A.     Crypto Assets

         62.    As used herein, the terms “crypto asset,” “digital asset,” or “token” generally refer

to an asset issued and/or transferred using blockchain or distributed ledger technology, including

assets referred to colloquially as “cryptocurrencies,” “virtual currencies,” and digital “coins.”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 20 of 215




       63.     A blockchain or distributed ledger is a database spread across a network of

computers that records transactions in theoretically unchangeable, digitally recorded data

packages, referred to as “blocks.” These systems typically rely on cryptographic techniques to

secure recording of transactions.

       64.     Some crypto assets may be “native tokens” to a particular blockchain—meaning

that they are represented on their own blockchain—though other crypto assets may also be

represented on that same blockchain. In contrast, some crypto assets may be “non-native” and

are built on top of existing blockchains; these crypto assets are owned and transferred similarly

to native tokens.

       65.     Crypto asset owners typically store the software providing them control over their

crypto assets on a piece of hardware or software called a “crypto wallet.” Crypto wallets offer a

method to store and manage critical information about crypto assets, i.e., cryptographic

information necessary to identify and transfer those assets. The primary purpose of a crypto

wallet is to store the “public key” and the “private key” associated with a crypto asset so that the

user can make transactions on the associated blockchain. The public key is colloquially known

as the user’s blockchain “address” and can be freely shared with others. The private key is

analogous to a password and confers the ability to transfer a crypto asset. Whoever controls the

private key controls the crypto asset associated with that key. Crypto wallets can reside on

devices that are connected to the internet (sometimes called a “hot wallet”), or on devices that

are not connected to the internet (sometimes called a “cold wallet” or “cold storage”). All

wallets are at risk of being compromised or “hacked,” but internet connectivity makes hot

wallets easier to access and therefore puts them at greater risk from certain hacks.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 21 of 215




       B.      Consensus Mechanisms and Validation of Transactions on a Blockchain

       66.     Blockchains typically employ a “consensus” mechanism that, among other things,

aims to achieve agreement among users to a data value or on the state of the ledger.

       67.     A consensus mechanism describes the particular protocol used by a blockchain to

agree on, among other things, which ledger transactions are valid, when and how to update the

blockchain, and potentially to compensate certain participants for validating transactions and

adding new blocks. There can be multiple sources for compensation under the terms of the

blockchain protocol, including from fees charged to those transacting on the blockchain, or

through the creation or “minting” of additional amounts of the blockchain’s native crypto asset.

“Proof of work” and “proof of stake” are the two major consensus mechanisms used by

blockchains. Proof of work, the mechanism used by the Bitcoin blockchain, involves computers,

known as “miners” or “validator nodes,” attempting to “mine” a “block” of transactions, in part

by solving a complex mathematical problem. The first miner to successfully solve the problem

earns the right to update the blockchain and is rewarded with the blockchain’s native crypto

asset. Proof of stake, the consensus mechanism currently used by the Ethereum blockchain,

involves the blockchain protocol selecting block “validators” from crypto asset holders who have

committed or “staked” a minimum number of crypto assets as part of the validation process.

Like proof of work validators, proof of stake validators are rewarded with the blockchain’s

native crypto asset.

       C.      The Offer and Sale of Crypto Assets

       68.     Persons have offered and sold crypto assets in capital-raising events in exchange

for consideration, including but not limited to through so-called “initial coin offerings” or

“ICOs,”exchange offerings” or “IEOs” (typically, the initial distributions of the crypto asset by

the issuer or promoter to investors using trading platforms as the primary means of distributions),
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 22 of 215




“initial coin offerings” or “ICOs” (typically, the initial distributions of the crypto asset by the

issuer or promoter to investors where trading platforms are not necessarily used as the primary

means of distribution), “crowdsales,” or public “token sales.” In some instances, the entities

offering or selling the crypto assets may release a “whitepaper” or other marketing materials

describing a project to which the asset relates, the terms of the offering, and any rights associated

with the asset.

       69.        Some issuers continue to sell the crypto assets after the initial offer and sale,

including by directly or indirectly by selling it on crypto asset trading platforms.

       D.         Crypto Asset Trading Platforms

       70.        Crypto asset trading platforms—like the Binance Platforms, which are described

in more detail below—are marketplaces that generally offer a variety of services relating to

crypto assets, often including brokerage, trading, and settlement services.

       71.        Crypto asset trading platforms allow their customers to purchase and sell crypto

assets for fiat currency (legal tender issued by a country) or for other crypto assets. “Off-chain”

transactions are tracked in the internal recordkeeping mechanisms of the platform but do not

involve transferring crypto assets from one wallet to another, while “on-chain” transactions are

those involving the transfer of a crypto asset from one blockchain address to another.

       72.        Crypto asset trading platforms typically possess and control the crypto assets

deposited and/or traded by their customers and thus function as a central depository. The

customers’ entitlements are then typically tracked and maintained on the crypto asset trading

platform’s internal ledgers. Consistent with their failures to register with the SEC in any

capacity and follow rules applicable to registered intermediaries, the Binance Platforms did not

segregate a customer’s crypto assets from other customers’ or the firm’s assets.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 23 of 215




       73.     The graphic user interfaces employed by crypto asset trading platforms—such as

on websites, mobile apps, or other software—typically emulate and function like traditional

securities trading screens: they show order books of the various assets available to trade and

historical trading information like high and low prices, trading volumes, and capitalizations.

       74.     However, unlike in traditional securities markets, crypto asset trading platforms

(including the Binance Platforms) typically solicit, accept, and handle customer orders for

securities; allow for the interaction and intermediation of multiple bids and offers resulting in

purchases and sales; act as an intermediary in making payments or deliveries, or both; and

maintain a central securities depository for the settlement of securities transactions.

       75.     By contrast, a registered national securities exchange submits information

regarding executed trades to a registered clearing agency that takes responsibility for ensuring

settlement finality and safekeeping of the assets being traded and, in doing so, protects investors’

interests. Thus, registered national securities exchanges typically do not assume possession or

control of the underlying assets being traded. Moreover, crypto asset trading platforms usually

settle transactions by updating internal records with each investor’s positions, a function

typically carried out by clearing agencies in compliant securities markets.

       76.     Likewise, crypto asset trading platforms typically perform roles traditionally

assigned to broker-dealers in regulatory compliant securities markets, without following or even

recognizing the legal obligations and restrictions on activities that accompany status as a broker-

dealer. For example, unregistered and non-compliant crypto asset trading platforms often do not

adequately disclose that they have the ability and financial incentive to trade crypto assetassets

that are offered and sold as securities against their own customers on the platform, putting

customers on the losing side of each trade.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 24 of 215




       E.      The DAO Report

       77.     On July 25, 2017, the SEC issued the Report of Investigation Pursuant to Section

21(a) of the Securities Exchange Act of 1934: The DAO (the “DAO Report”), advising “those

who would use … distributed ledger or blockchain-enabled means for capital raising[] to take

appropriate steps to ensure compliance with the U.S. federal securities laws,” and finding that the

offerings of certain crypto assets identified therein were offerings of securities.

       78.     The DAO Report also advised that “any entity or person engaging in the activities

of an exchange must register as a national securities exchange or operate pursuant to an

exemption from such registration” and “stress[ed] the obligation to comply with the registration

provisions of the federal securities laws with respect to products and platforms involving

emerging technologies and new investor interfaces.” The DAO Report also found that the

trading platforms at issue therein “provided users with an electronic system that matched orders

from multiple parties to buy and sell [certain crypto assetassets that were offered and sold as

securities] for execution based on non-discretionary methods” and therefore “appear to have

satisfied the criteria” for being an exchange under the Exchange Act.

                                               FACTS

III.   UNDER ZHAO’S CONTROL, BINANCE PROVIDED EXCHANGE, BROKER-
       DEALER, AND CLEARING AGENCY SERVICES TO U.S. INVESTORS
       THROUGH THE BINANCE.COM PLATFORM.

       79.     In 2017, Binance, controlled by Zhao, launched the Binance.com Platform to

provide services to crypto asset investors. To finance its start-up costs, Zhao and Binance

created a new crypto asset security called “Binance Coin,” also known as “BNB.”,” which, as

further alleged herein, at all relevant times they offered and sold as a security.

       80.     From approximately June 26 to July 3, 2017, Zhao and Binance conducted a so-

called ICO of BNB that raised approximately $15 million from investors globally, including U.S.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 25 of 215




investors, by selling 100 million BNB tokens at an average price of $0.15 per token. As of May

14, 2023, BNB traded as high as $314.70.

        81.        From inception and through the present, as set forth in greater detail in Section

VII.A below, BNB was offered and sold as a security because Binance touted an investment in

BNB as an investment in Binance’s efforts to create a successful crypto asset trading platform

centered around BNB. For example, to promote the BNB ICO, Binance published a “Binance

Exchange” whitepaper (the “Binance Whitepaper”) announcing Binance’s ambition to build “a

world-class crypto exchange, powering the future of crypto finance,” in which BNB would play

an integral role as a so-called “exchange token”—i.e., a crypto asset associated by its issuer with

a crypto asset trading platform that the issuer markets as an investment in the success of the

platform itself.

        82.        Central to the Binance Whitepaper’s proposal was the “Binance Exchange

Matching Engine” that would match crypto asset buy and sell orders and be “capable of

sustaining 1,400,000 orders/second, making Binance one of the fastest exchanges in the market.”

        83.        In July 2017, shortly after completion of the BNB ICO, Zhao and Binance

launched the Binance.com Platform.

        84.        Since Binance’s inception and until at least November 2023, Zhao has been

Binance’s CEO and its ultimate decision maker. During at least this period, all Binance

employees directly or indirectly reportreported to him. , and he had and continues to have the

ability to exercise control—and doesdid in fact exercise such control—over all aspects of

Binance’s business, including its operation of the Binance.com Platform,. He also directed and

he directs and overseesoversaw the platform’s various functions and services.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 26 of 215




           85.     From the time it launched the Binance.com Platform, Binance, under Zhao’s

control, has acted as an exchange, clearing agency, and broker-dealer in crypto asset securities

without registering in those capacities.

           A.      The Binance.com Platform Provides a Marketplace and Facilities for
                   Trading Crypto Asset Securities .

                 i.       Display and Order Book

           86.     Customers can access and create accounts on the Binance.com Platform via the

Binance.com website, a Binance mobile phone application, or a Binance-created application

programming interface (“API”).

           87.     The Binance.com PlatformThe Binance.com Platform resembles trading

platforms found in the traditional securities industry with a matching engine, customer interface

applications, a range of order types, and advanced trading tools. It displays customer account

information, including account balances, and open orders, order history, and trade history with

respect to crypto assets available on the platform. The Binance.com Platform also displays open

crypto asset orders on the order book and provides real-time data of bid and ask prices, trading

volume, and the times that the orders were submitted. Additionally, the Binance.com Platform

displays information about executed trades (i.e., price, quantity, and time historical data for such

trades).

           88.     As further described below, the Binance.com Platform is an integral part of the

markets for crypto assets, including those that are offered and sold as securities, and Binance fills

these markets with information republishing and amplifying the issuer and promoter statements

and activity. The Binance.com Platform provides various investment-related information about

the crypto assets available for trading, including on the trading page, similar to a broker’s trading

platform in the traditional securities market. It provides information about the asset and its
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 27 of 215




development, trading volumes, price information, and republishes and amplifies promotional

materials originally published and disseminated by the crypto asset promoters about the

economic reality of the assets, including statements touting them as investment opportunities in a

common enterprise with the potential that the crypto asset may increase in value from the

issuers’ and promoters’ efforts.

             ii.       Order Matching and Trading Rules

       88.89. The Binance.com Platform offers “spot” (immediate) market trading through an

order-matching functionality similar to that of a traditional securities exchange.

       89.90. According to Binance, when an investor places an order on the Binance.com

Platform, the order enters Binance’s internal automated matching engine, called “MatchBox,”

which matches buy-and-sell orders based on programmed, non-discretionary rules that govern

how orders will interact. When separate customers’ buy and sell orders have prices that overlap,

MatchBox executes the trade and removes the orders from the order book. Orders that do not

execute immediately are typically ranked and displayed in price-time priority, meaning that

orders placed earlier in time are prioritized for any given price.

       90.91. MatchBox does not indicate to one party the identity of the other party to a trade.

Upon execution of a trade, other functionality in the Binance.com Platform settles the trade.

            iii.       Binance OTC

       91.92. Since at least January 2019, Binance has operated additional functionality that it

refers to as “Binance OTC.” As advertised and described by Binance, Binance OTC allows

customers to transact directly with Binance, where Binance is the counterparty trading in its own

account. Binance quotes prices directly to Binance OTC customers, acts as the principal on each

trade, and profits from the spread between their bid and ask quotations.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 28 of 215




       92.93. In marketing Binance OTC, Binance has touted “a number of advantages to

trading with us,” including “Fast Settlement” and a “Simple Process - The trading discussion

happens on chat, and a trade can be confirmed in as quickly as 1-2 minutes from the time you

reach out to us for a price. Once we agree on a price, we fully take care of the settlement process

by moving the coins you’re selling out of your Binance account and the coins you’re buying in

… you don’t need to send coins anywhere.”

       93.94. Since the launch of the Binance.com Platform, Binance provided OTC trading

services through Merit Peak—a Zhou-owned entity—serving as the counterparty to customers on

the Binance.com Platform, and Merit Peak also provided market making services on the

Binance.US Platform.

       B.      Binance Holds and Controls Customers’ Funds and Crypto Assets.

       94.95. To utilize any of the functionalities on the Binance.com Platform, investors must

create and fund accounts with Binance. Customers must have sufficient assets in their accounts

to cover the value of any trading order, plus applicable fees. Once customers have funded their

Binance accounts, they can buy, sell, transfer, and store crypto assets on the platform.

       95.96. Customers can establish and fund Binance accounts with fiat currency or crypto

assets. There are separate procedures for depositing crypto assets and for depositing fiat

currency. To deposit crypto assets, customers are required to transfer crypto assets from their

own crypto asset wallets on the blockchain to wallets that Binance controls. Binance holds these

customer crypto assets in omnibus wallets, and it tracks transactions on the Binance.com

Platform on an internal ledger.

       96.97. If a customer submits a request to withdraw crypto assets from the Binance.com

Platform, Binance transfers the requested amount of crypto assets from its omnibus wallets to a

wallet designated by the customer on the relevant blockchain.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 29 of 215




       97.98. Since at least 2018, Binance has also allowed customers to fund their accounts

and purchase crypto assets with U.S. dollars or other fiat currencies by, among other things,

linking credit cards through a third-party processor, or through bank accounts or payment

services. It also has corresponding methods of permitting customers to withdraw in fiat.

       98.99. Until at least 2021, accounts in the name of Binance entities, beneficially owned

by Zhao, sent billions of dollars of customer assets to U.S.-based bank accounts in the name of

Merit Peak, which transferred to Trust Company A all of those funds that appear to relate to the

issuance of Binance’s stablecoin, called “BUSD.” The use of Merit Peak as an intermediary to

transfer platform customer money to buy BUSD presented an undisclosed counterparty risk for

investors.

       C.      Binance Clears and Settles Customers’ Trades.

       99.100.        Binance clears and settles all trades on the Binance.com Platform. After

matching a buy and sell order, Binance settles the resulting trade by debiting and crediting the

accounts associated with each of the counterparties on the internal ledger Binance

maintains. Customer crypto assets generally stay in Binance-controlled omnibus wallets.

       D.      Binance’sBinance Receives Compensation.

       100.101.       Binance’s revenue derives primarily from taking fees for transactions in

crypto assets effected through the Binance.com Platform. For spot trading, Binance typically

charges between 0.015 percent and 0.2 percent of the nominal value of transactions, depending

on various parameters. Binance also charges fees for withdrawals and for trading on margin.

       101.102.       By 2021, its trading volume spiked to $9.58 trillion, making it the largest

crypto asset trading platform in the world.

       102.103.       Between June 2018 and July 2021, Binance earned at least $11.6 billion in

revenue, most of which derived from transaction fees.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 30 of 215




       E.       Zhao and Binance Actively Solicited Investors in the United States to Trade
                Crypto Assets on the Binance.com Platform.

              i.       Binance Marketed its Services Worldwide, Including Specifically to U.S.
                       Customers.

       103.104.        At least since the launch of the Binance.com Platform in 2017, Binance

has regularly solicited customers in the United States—at first overtly and later furtively—to

transact in crypto assetassets that have been offered and sold as securities. Throughout, it has

held itself out as being in the business of effecting transactions in many different crypto assets

that have been offered and sold as securities. It has engaged in this solicitation on a worldwide

basis, including through its website, blog posts, and social media.

       105.     Among other things, Binance’s website has solicited “investors” and “traders” to

“buy and sell crypto in minutes,” inviting them to “Trade. Anywhere.” Binance advertises the

Binance.com Platform on its social media accounts, including on Facebook, Twitter, (now called

“X”), and Reddit, where it collectively has over 12 million followers, many of whom reside in

the United States.

       104.106.        Binance markets crypto assets that are available for trading on the

Binance.com Platform by, among other things, announcing new listings on social media

platforms and providing various investment-related information about the crypto assets on its

website. It also runs various promotional programs to market the crypto assets and incentivize

investors to view them as investments, as described below.

       105.107.        From the Binance.com Platform’s launch until at least September 2019,

Binance overtly marketed its services to all customers and imposed no restrictions whatsoever on

the ability of U.S. persons to buy, sell, and trade crypto assets on the Binance.com Platform.

During this period, Binance opened tens of thousands of accounts for customers who submitted

“Know Your Customer” (“KYC”) identity verification information that indicated they were
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 31 of 215




based in the United States or who accessed the platform via Internet Protocol (“IP”) addresses

indicating that they were physically located in the United States. Binance, and Zhao as its

control person, knew that U.S. persons transacted on the Binance.com Platform.

       106.108.        In addition, until at least August 2021, Binance did not require customers

whose accounts were limited to withdrawing two bitcoin per day to submit any KYC

information, allowing those investors to bypass well-recognized international anti-money

laundering restrictions and disclosures when seeking to open accounts on the Binance.com

Platform.

       107.109.        Zhao and Binance regularly tracked customer activity on the Binance.com

Platform and were thus aware that U.S. customers made up a substantial portion of Binance’s

business. For example, in an August 2019 internal presentation, Binance estimated that the

Binance.com Platform had over 1.47 million customers in the United States.

       108.110.        Moreover, by 2019, Binance had over 3,500 U.S. customers who were

large-volume traders that Binance referred to as “VIPs.” These U.S. customers were important

to Binance not only because they directly produced substantial revenues, but also because they

provided substantial liquidity on the Binance.com Platform, which in turn encouraged other

investors to trade on the platform.

             ii.       Zhao and Binance Developed a Plan to Evade U.S. Legal Scrutiny While
                       Continuing to Profit from U.S. Investors.

       109.111.        Zhao and Binance understood that they were operating the Binance.com

Platform in violation of numerous U.S. laws, including the federal securities laws, and that these

ongoing violations presented existential risks to their business.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 32 of 215




       110.112.        As Binance’s CCO bluntly admitted to another Binance compliance

officer in December 2018, “we are operating as a fking unlicensed securities exchange in the

USA bro.” (Emphasis added.)

       111.113.        In 2018, Zhao and Binance hired several advisors to advise them on

managing their U.S. legal exposure. One of these advisors was a consultant who operated a

crypto asset trading firm in the United States (“Binance Consultant”). In November 2018, the

Binance Consultant proposed a plan to Zhao and Binance that involved the creation of a U.S.

entity, which the Binance Consultant at the time dubbed the “Tai Chi” entity (“Tai Chi Plan”).

       112.114.        In presentations shared with Zhao and other Binance senior officials in

November 2018, the Binance Consultant warned against Binance continuing the “status quo” of

unrestricted U.S. customer access to the Binance.com Platform, dubbing this a “high” risk due to

potential U.S. “regulatory actions,” including actions by the SEC with respect to the “[i]ssuance

of BNB to US Persons” and “for [operating an] unregistered securities brokerage.”

       113.115.        The Binance Consultant then discussed two alternative approaches for

Zhao and Binance to consider. First, he discussed what he described as a “low” risk approach of

“[a]ctive outreach to regulators and resolve all potential issues,” but ultimately advised against

this approach because, among other things, “settlement costs can be substantial” and could result

in the “complete loss of the US market during the settlement process.”

       114.116.        Second, the Binance Consultant described a “moderate” risk approach in

which Binance would establish a U.S. entity—the Tai Chi entity—that “will become the target of

all built-up enforcement tensions,” “reveal, retard, and resolve built-up enforcement tensions,”

and “[i]nsulate Binance from legacy and future liabilities.” The Binance Consultant

recommended that Zhao and Binance adopt this approach, known as the Tai Chi Plan.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 33 of 215




        115.117.       To implement the Tai Chi Plan, the Binance Consultant recommended that

Binance brand a U.S. entity a Binance entity through a “franchise model” that would rely on

Binance’s technology “by visualizing Binance as a technology vendor.”

        116.118.       He further recommended that Binance provide liquidity and market access

from the Binance.com Platform to the proposed U.S. crypto asset platform established by the Tai

Chi entity “through either affiliated . . . or contracted market makers.”

        117.119.       The Binance Consultant touted this approach as both “maintaining

functional access to the US market,” and providing “[l]icense and services fees paid by the US

Service Company to Binance” that “are functionally US-sourced trading fees.”

        118.120.       As another benefit to Binance, the Binance Consultant further

recommended that Binance use the Tai Chi entity’s OTC trading services to provide “functional

fiat capacity” – i.e., Binance could serve as an OTC counterparty on the U.S. platform to sell

crypto assets for fiat currency, thereby giving Binance ready access to fiat currency without

having to separately establish a bank account.

        119.121.       In addition, the Binance Consultant recommended steps to “insulate

Binance from US Enforcement.” Those steps included having “[k]ey Binance personnel

continue to operate from non-US locations to avoid enforcement risk” and ensuring that

“[c]ryptocurrency wallets and key servers continue to be hosted at non-US locations to avoid

asset forfeiture.”

        120.122.       As to the SEC, the Binance Consultant also recommended that, “just for

publicity,” the Tai Chi entity should “release a long and detailed Howey Test Asset-Evaluation

Framework … to show Howey test sophistication” and then engage with the SEC to discuss the
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 34 of 215




“formation or acquisition of a broker/dealer or alternative trading system (ATS), with no

expectation of success and solely to pause potential enforcement efforts.” (Emphasis added.)

       121.123.        The Binance Consultant also recommended that Binance take steps to

“reduce the attractiveness of enforcement” by U.S. regulators concerning the Binance.com

Platform. This included publicly “restrict[ing] US persons’ access to the main Binance site”

while privately encouraging U.S. customers to bypass these restrictions through the “strategic

treatment” of virtual private networks (“VPNs”) that would disguise their locations and thereby

“minimize [the] economic impact” of Binance’s public proclamations that it was prohibiting U.S

investors on the platform.

       122.124.        Longer term, the Binance Consultant recommended the “[e]ventual

integration with Binance” by “acquir[ing] the US operation at a nominal price and re-arrang[ing]

its leadership when it has served its purposes.”

       123.125.        After considering the Tai Chi Plan, Zhao informed the Binance Consultant

that Binance had also talked to U.S. law firms that proposed “a more conservative approach” that

was “probably safer for now.” But Zhao made clear that he would “still very much like to

continue to work with” the Binance Consultant, explaining, “There are elements from both of

your proposals[] we may combine.” Zhao further noted that “having [a U.S. law firm] behind us

reduces the personal exposure you take on as well.” Finally, Zhao emphasized to the Binance

Consultant that they “should work together as a team.”

            iii.       Consistent with the Tai Chi Plan, Binance Encouraged and Assisted U.S.
                       Customers to Circumvent Binance’s Supposed Restrictions.

       124.126.        In fact, Binance implemented much of the Tai Chi Plan. In addition to

creating BAM Trading and the Binance.US Platform, Zhao and Binance implemented policies
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 35 of 215




and controls to give the impression that the Binance.com Platform was blocking U.S. customers

while at the same time secretly subverting those controls.

        125.127.      On June 14, 2019, Binance updated the Binance.com Platform’s “Terms

of Use” to provide—for the first time—that U.S. customers were not permitted to trade on the

Binance.com Platform. Binance further announced that it would begin implementing measures

to block U.S. customers from trading or depositing assets on the platform after 90 days. Zhao

and Binance timed this announcement to coincide with its announcement that an ostensibly

independent U.S. entity, BAM Trading, would soon launch the Binance.US Platform.

        126.128.      But Zhao and Binance were unwilling to risk losing all of Binance’s U.S.

business—particularly its VIP U.S. customers—on the well-established and more liquid

Binance.com Platform. And so Zhao and Binance engaged in widespread covert efforts to

permit U.S. customers to continue to trade on the platform.

        127.129.      First, Zhao directed Binance to implement a plan to encourage customers

to circumvent Binance’s geographic blocking of U.S.-based IP addresses by using a VPN service

to conceal their U.S. location. Second, Zhao directed Binance to encourage certain U.S.-based

VIP customers to circumvent the new KYC restrictions by submitting updated KYC information

that omitted any U.S. nexus.

        128.130.      As Zhao explained in a June 9, 2019 weekly meeting of senior Binance

officials:

               We don’t want to lose all the VIPs which actually contribute to quite
               a large number of volume. So ideally we would help them facilitate
               registering companies or moving the trading volume offshore in
               some way—in a way that we can accept without them being labeled
               completely U.S. to us.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 36 of 215




        129.131.      Binance implemented Zhao’s instructions. On or about June 13, 2019, a

Binance employee who belonged to a team that managed VIP customers messaged Zhao and

other senior Binance officials, “We contacted 16 US top clients so far, some [of] them already

have offshore entity, they said they can underst[and] and they are happy that we can get ahead of

that.” A few days later, Binance’s Chief Marketing Officer reported that the team had reached

out to the top 22 U.S. VIP customers and that 19 had “already agreed to change KYC, or change

their IP.”

        130.132.      With respect to its thousands of other VIP U.S. customers, Zhao explained

in a June 24, 2019 meeting with other Binance senior officials:

               We do need to let users know that they can change their KYC on
               Binance.com and continue to use it. But the message, the message
               needs to be finessed very carefully because whatever we send will
               be public. We cannot be held accountable for it.

        131.133.      The following day, Zhao met with other senior Binance officials to discuss

their VIP U.S. customers, and Zhao provided further instructions on crafting the message to

customers about changing IP addresses or KYC documentation. During the meeting, the

Binance CCO noted that Binance would engage in “the international circumvention of KYC,”

and Zhao affirmed that his “goal” was “to reduce the losses to ourselves, and at the same time to

make the U.S. regulatory authorities not trouble us.”

        132.134.      To that end, the Binance CCO drafted a “VIP Handling” document, dated

June 26, 2019, which included draft emails to send to VIP customers who were identified as

having U.S. KYC documents or U.S. IP addresses, along with instructions to Binance employees

about messaging to customers. For customers with U.S. KYC documents, the “VIP Handling”

document instructed Binance employees to make sure the U.S. customers opened new accounts

“with no US documents allowed” and to inform the customer “to keep this confidential.”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 37 of 215




       133.135.        For customers with U.S. IP addresses, the “VIP Handling” document

instructed Binance employees to “[i]nform [the] user that the reason why he/she can’t use our

www.binance.com is because his/her IP is detected as US IP; if user doesn’t get the hint, indicate

that IP is the sole reason why he/she can’t use .com.” The document further instructed Binance

employees not to “explicitly instruct user to use different IP. We cannot teach users how to

circumvent controls. If they figure it out on their own, it[’]s fine.”

       134.136.        Binance continued to circumvent these controls for several years. On

February 12, 2020, for example, a Binance employee asked the Binance CCO whether it was still

a “hard requirement” for Binance to block U.S. customers, and the Binance CCO replied:




       135.137.        Similarly, on July 15, 2020, a Binance VIP customer team member asked

the Binance CCO how they could onboard a large U.S. customer. The Binance CCO replied,

“[T]he best way I can think of is to onboard with US exchange … but we let them trade on .com

through a special arrangement.” He further explained, “[W]e ask them to onboard with US, and

then if their volume is really very big … we will push hard on .com side to accept it on an

exceptional basis … we always have a way for whales … either we do it, or [a competitor crypto

trading platform] does it.” (“Whales” is a market term referring to large volume investors.)
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 38 of 215




       136.138.        The Binance CCO further admitted, “CZ will definitely agree to this lol …

I have been briefed by top management to always find a way to support biz.”

       137.139.        Moreover, despite statements about its compliance efforts, Binance did not

even require all customers to submit KYC documents until after August 2021. Around that time,

Binance had over 62 million worldwide customers, but only approximately 25 million had

submitted KYC documentation. Thereafter, more Binance.com Platform customers began

submitting KYC documentation, but Binance continued to have large numbers of customers that

still had not done so at least through mid-2022.

       138.140.        Binance’s plan to retain lucrative U.S. investors while pretending to

restrict them was a success. For example, a March 2020 internal Binance presentation reported

that the Binance.com Platform still had approximately 159 U.S. VIP customers, representing

almost 70 percent of all global VIP trading volume. Similarly, in May 2021—two years after the

launch of the Binance.US Platform—an internal Binance presentation reported that U.S. VIP

customers still accounted for over 63 percent of the Binance.com Platform’s VIP customer

trading volume.

       139.141.        U.S. customer trading volume on the Binance.com Platform included

substantial activity trading in crypto assetassets that were offered and sold as securities. For

example, between January 2019 and September 2021, over 47,000 U.S. investors traded in BNB

on the Binance.com Platform.

IV.    ZHAO AND BINANCE ESTABLISHED THE BINANCE.US PLATFORM
       WHILE MAINTAINING SUBSTANTIAL INVOLVEMENT AND CONTROL OF
       ITS OPERATIONS.

       140.142.        In 2019, while continuing their efforts to covertly maintain U.S. VIP

customers on the Binance.com Platform, Zhao and Binance also began implementing plans to

launch a new crypto asset platform in the United States consistent with the Tai Chi Plan.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 39 of 215




        141.143.       In March 2019, Binance’s Chief Financial Officer (“Binance CFO”)

reaffirmed to Zhao that the “first goal” was “to protect [Binance].com from U.S. regulatory

engagement.” To do so, he noted that Binance “will need to launch” a new U.S. crypto asset

platform, and that “the main goal for that one is to limit the loss of users from the U.S.”

        A.     Zhao and Binance Created U.S. Entities BAM Management and BAM
               Trading and Developed the Binance.US Platform.

        142.144.       In February 2019, Zhao and Binance directed the creation of two U.S.

corporate entities that would launch the Binance.US Platform: BAM Management and BAM

Trading.

        143.145.       Since inception, Zhao has been BAM Management’s beneficial owner,

directly or indirectly owning between as much as 100 percent and approximately 81 percent of

its equity.

        144.146.       BAM Trading is a wholly-owned subsidiary of BAM Management. BAM

Trading is the public facing entity that operates the Binance.US Platform. As further set forth

below, BAM Trading operates the Binance.US Platform as part of a group of persons with

Binance, which plays a significant and integral role in the operation of the platform.

        145.147.       In June 2019, Zhao provided $500,000 in initial funding for the

Binance.US Platform, and later he periodically injected additional funds, including through his

entity Merit Peak. As of July 2020, Zhao had contributed over $16 million to finance the

Binance.US Platform’s operations, money that was critical for the Binance.US Platform’s

ongoing expenses.

        146.148.       At its inception, Zhao controlled BAM Trading’s business, which was

largely operated by Binance employees under Zhao’s direction.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 40 of 215




       147.149.       At Zhao’s direction, the Binance Consultant was hired to provide advice

on “regulatory compliance” for the platform. The Binance Consultant had substantial

involvement in the development and operation of the Binance.US Platform until at least the fall

of 2019, primarily assisting in implementing the Tai Chi Plan he had proposed to Zhao.

       148.150.       Zhao, the Binance Consultant, and numerous Binance personnel working

at Zhao’s direction developed and planned the launch of the Binance.US Platform. They

designed and implemented all aspects of platform operations, including managing customer

access, arranging fiat services with U.S. banks, establishing crypto asset wallets, developing a

trading engine, and developing the platform’s trade clearing and settlement functions.

       149.151.       Zhao was also involved in the hiring of BAM Trading’s first Chief

Executive Officer (“BAM CEO A”), who began her tenure in June 2019. At all times prior to

her tenure with BAM Trading, which ended in or around March 2021, BAM CEO A reported to

and was directed by Zhao and the Binance CFO. During this period, Zhao, BAM CEO A, and

the Binance CFO constituted BAM Trading’s Board of Directors.

       B.      Binance Announced the Launch of the Binance.US Platform.

       150.152.       On June 13, 2019, Binance issued a press release announcing that BAM

Trading would soon be launching the Binance.US Platform. Binance claimed that it had entered

into a “partnership with BAM Trading … to launch trading services for users in the United

States” by “licens[ing] its cutting-edge matching engine and wallet technologies to its U.S.

partner BAM to launch Binance.US.”

       151.153.       Zhao was quoted in the press release, stating that “Binance.US will be led

by our local partner BAM and will serve the U.S. market in full regulatory compliance.”

       152.154.       Consistent with the Tai Chi Plan, Binance’s press release coincided with

updates to the Binance.com Platform’s Terms of Use that purported to prohibit U.S. investors.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 41 of 215




But Binance was careful not to make the link explicit. The same day the Binance.US Platform

was announced, the Binance Consultant provided Binance internal guidelines advising that “[o]n

the US launch, it is important to NOT link it to the .COM IP blocking [of U.S. investors]. That

would suggest both that Binance is aware of previous violation and that BAM and .COM are

alter egos of each other coordinating the work.”

       C.      Zhao and Binance Exerted Substantial Control Over and Were Integral
               Participants in the Operations of the Binance.US Platform and BAM
               Trading.

       153.155.       Binance’s “partnership” with BAM Trading went beyond technology

licensing. For example, during her tenure, BAM CEO A took direction from Zhao and Binance,

and she referred to Binance as the “mothership.” BAM CEO A and other BAM Trading

employees also provided weekly updates to Zhao and Binance concerning BAM Trading’s

operations.

       154.156.       By July 2019, the Binance Consultant had crafted four purported “service-

level agreements” between Binance and BAM Trading that governed their affiliation in operating

the Binance.US Platform: a Master Services Agreement, a Wallet Custody Agreement, a

Software License Agreement, and a Trademark Agreement (collectively, the “SLAs”).

       155.157.       But Zhao’s and Binance’s involvement in BAM Trading and the operation

of the Binance.US Platform extended well beyond the SLAs. Consistent with the Tai Chi Plan,

Zhao and Binance established a U.S. platform they controlled and that they would portray as

“regulatory compliant” to divert regulatory attention away from Binance itself. Indeed, while

Zhao and Binance were integrally involved in the operation of the Binance.US Platform from its

inception, Zhao did not even execute the SLAs on Binance’s behalf until January 2020.

              i.      Zhao and Binance Directed and Were Integrally Involved in the Operation
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 42 of 215




                       of the Binance.US Platform’s Trading Services.

       156.158.        Binance—under Zhao’s control—was integrally involved in managing and

operating the trading functions on the Binance.US Platform. As BAM Trading’s former Director

of Operations testified under oath, Binance personnel were responsible for the Binance.US

Platform’s matching engine, APIs, and market data systems. These Binance personnel “operated

independently of” BAM Trading, such that BAM Trading only “would talk to [Binance

personnel] when we [were] adding a new token [for trading on the Binance.US Platform] or

when there was an upgrade or if a market maker had some issue with the API.” Zhao gave final

signoff on various decisions relating to the Binance.US Platform’s trading services, including

customer account opening processes, development of the front-end access, and creating a reserve

to cover ACH deposits.

       157.159.        At least for a significant period of time after Binance.US launched,

Binance held and controlled BAM Trading data offshore, and, at least through much of 2021,

BAM Trading employees could not obtain certain real-time trading data for the Binance.US

Platform without Zhao’s personal approval.

       158.160.        As BAM CEO A testified, there was “significant opacity” with respect to

the Binance.US Platform’s trading data, and she “did not get answers from CZ on why or how or

what we would need to do to be able to bring the data over” to the United States. She “wanted

custody of the data and ability to interact with the raw data in real-time, as to my directions, not

waiting on someone else’s approvals,” but she never received it.

       159.161.        Nor did the situation change when BAM CEO A’s successor (“BAM CEO

B”) assumed the role in May 2021. BAM CEO B testified to SEC staff that the “level of …

connection” between Binance and BAM Trading was a “problem” and that he had concluded that
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 43 of 215




BAM Trading “need[ed] to migrate the technology to full [BAM Trading] control.” That

transfer of control had not happened at least as of BAM CEO B’s resignation in August 2021.

             ii.       Zhao and Binance Directed Selection of Crypto Assets for Trading on the
                       Binance.US Platform.

       160.162.        Zhao directed which investment opportunities BAM Trading offered on

the Binance.US Platform. For example, in September 2019, Zhao directed that the Binance.US

Platform offer BNB for purchase and sale. Zhao and Binance knew that offering BNB on the

Binance.US Platform created a significant risk that the SEC would take legal action against

them, but they decided that the profit opportunity outweighed the risk.

       161.163.        In an internal chat in September 2019, the Binance CFO and the Binance

CCO agreed that “CZ [wa]s willing to take the legal risk in listing BNB, if [they could] find a

way to quantify it.” They further quantified the legal risk of listing BNB on the Binance.US

Platform as “$10 mm in legal fees and settlements,” contrasted to the fact that BNB’s price could

“go up 20%.” And, referring to the SEC’s June 2019 enforcement action in SEC v. Kik

Interactive for the unregistered offer and sale of crypto assets as investment contracts under

Howey, they noted that if a “Kik wells notice happens to BNB, BNB price can go down

significantly.” The two also discussed that they would “start prepping everything” for a

subpoena and Wells notice, including a “War chest.”

       162.164.        The Binance CFO then asked, “worst case scenario analysis for CZ? If he

is ok with it and we are prepared to deal with it, then why not.” The Binance CCO replied, “This

is the best approach, have him put rainy day analysis and have boss decide, though we are quite

certain, he will push forward … Cutting US from .com already costed him an arm/leg, he’s not

gonna hold back on getting that rev[enue] back somehow.”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 44 of 215




       163.165.       Before the launch of the Binance.US Platform, BAM CEO A advised

against offering BNB on the Binance.US Platform, but Zhao ultimately overruled her. As the

Binance CCO later described, Zhao “brought [BAM CEO A] to the room to strongarm a [BNB]

listing.” Pursuant to Zhao’s direction, BAM Trading offered BNB for offer and sale on the

Binance.US Platform starting in September 2019.

               iii.   Zhao and Binance Have Controlled BAM Trading’s Bank Accounts and
                      Finances.

       164.166.       Until at least December 2020, BAM Trading personnel did not have any

ability to control BAM Trading’s bank accounts, including accounts through which funds

deposited by customers with the Binance.US Platform were held and transferred.

       165.167.       Instead, when BAM Trading opened bank accounts, Binance required that

Zhao and/or the Binance Back Office Manager have signatory authority over the accounts. In

November 2019, BAM CEO A raised questions about this directive with the Binance CFO,

noting that having a “non-US resident non-employee on the bank applications … will be a red

flag for regulators and will open .com to US scrutiny,” while also acknowledging “there is not

that much separation internally” between Binance and BAM Trading.

       166.168.       Instead of giving BAM Trading personnel authority over BAM Trading’s

bank accounts, Binance required BAM CEO A to come up with an alternative to allow Binance

to maintain authority over the bank accounts without eliciting regulatory scrutiny.

       167.169.       In response, BAM CEO A proposed that “[w]e really only need [BAM

Trading’s Finance Director] on client account as that’s the only account regulators will be

looking at.”

       168.170.       As a result, until at least December 2020, the Binance Back Office

Manager continued to be a signatory on BAM Trading’s bank accounts. And until at least July
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 45 of 215




2021, she was also a signatory on BAM Trading Trust Company B accounts that contained

Binance.US Platform customers’ fiat deposits.

       169.171.       Zhao also controlled BAM Trading’s routine business expenditures and

decisions. At least through January 30, 2020, Zhao’s approval was required for all BAM

Trading expenditures exceeding $30,000. BAM Trading regularly sought approval from Zhao

and Binance concerning routine business expenditures including rent, franchise taxes, legal

expenses, Amazon Web Services (“AWS”) fees to host Binance.US Platform customer data, and

even an $11,000 purchase of Binance-branded hooded sweatshirts.

       170.172.       Binance’s Shanghai-based finance team managed payment of BAM

Trading’s expenses, including by executing money transfers between bank accounts and

depositing cash injections from Merit Peak when BAM Trading operating funds were low.

       171.173.       Given its control over BAM Trading’s bank accounts, Binance’s finance

team was also able to make substantial fund transfers without BAM Trading’s knowledge. For

example, in June 2020, when Trust Company B alerted BAM CEO A that BAM Trading’s

internal transfers had increased from approximately $10 million per day to $1.5 billion per day,

BAM CEO A had no knowledge of such transfers, was unable to verify them because she lacked

appropriate account access, and, as a result, had to ask Binance (a purportedly separate and

distinct company) about the transfer of billions of dollars in BAM Trading’s own accounts.

       172.174.       Similarly, in December 2020, Binance transferred $17 million from BAM

Trading’s bank accounts to Merit Peak. After learning of the transfer, BAM CEO A asked

Binance employees about the transaction and eventually learned that the transfer related to Merit

Peak’s trading on the Binance.US Platform. BAM CEO A responded, “thanks – helpful. Just

had to get explanation anytime someone breaking our limits with massive withdraw[als] I have
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 46 of 215




to ask – where you get that kind of money? And where is it going? . . . haha [I’m] on a wild

goose chase to make sure we have knowledge of where $17M is moving around.”

       173.175.          Starting in or about December 2020, Binance permitted BAM Trading

personnel to assume control over certain of BAM Trading’s bank accounts, but as of May 2023,

Zhao still had signatory authority overwas listed as a beneficial owner of BAM Trading’s

account that held Binance.US Platform customers’ funds.

            iv.          Zhao and Binance Controlled Binance.US Platform Customers’ Funds
                         and Crypto Assets Deposited, Held, Traded, and/or Accrued on the
                         Platform.

       174.176.          In addition to controlling BAM Trading bank accounts that held customer

funds, at least through December 2022, Binance was the designated custodian for crypto assets

deposited, held, traded, and/or accrued on the Binance.US Platform, as expressly recognized in

the SLAs. Internal communications indicate that BAM Trading and Binance understood that

“.com is the custodian .us uses” and “CZ control[s] the wallet.” Binance had sufficient control to

manage and authorize the transfer of crypto assets, including between various omnibus wallets,

without the need for any authorization from BAM Trading. During this time, BAM Trading

employees had little or no oversight of, or insight into, Binance’s custody and control of these

crypto assets, and almost all the employees working on clearing and settlement for spot trading

on the Binance.US Platform were Binance employees located outside of the United States,

primarily in Shanghai.

       175.177.          At least as of the beginning of June 2023, these crypto assets are not all

within the exclusive custody and control of BAM Trading personnel within the United States.

       176.178.          This custody arrangement and lack of controls pose substantial risk to U.S.

customers. Binance.US Platform customers have no agreement with either BAM Trading or

Binance relating to the custody of crypto assets that they deposit and store through the
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 47 of 215




Binance.US Platform. Customers are provided little, if any, information about the digital wallets

where these crypto assets are held or about how their crypto assets are stored, secured, and

transferred. Indeed, BAM Trading and Binance have not disclosed Binance’s responsibilities

and ongoing involvement in the custody and control of these crypto assets or their participation

in the Binance.US Platform’s staking-as-a-service program and custody and control of crypto

assets that are staked or accrued as part of that investment program.

       177.179.         This arrangement has given and continues to give Zhao and Binance free

reign to handle billions of dollars of crypto assets that customers have deposited, held, traded,

and/or accrued on the Binance.US Platform with no oversight or controls to ensure that the assets

are properly secured.

       178.180.         BAM Trading, Binance, and Zhao were well aware that Binance’s custody

and control over fiat and crypto assets deposited, held, traded, and/or accrued on the Binance.US

Platform created significant risks for Binance.US Platform investors. Indeed, in a May 2, 2020

letter to BAM Management’s board, the firm that audited BAM Trading’s financial statements

(“Audit Firm”) identified for the company numerous internal control deficiencies, including the

following:

             a. As to the “Safeguarding of Assets,” the Audit Firm “observed that [an employee]
                from Binance.com is the approver on [BAM Trading’s] bank account” and
                recommended “handing over this power to someone … at Binance.US.”

             b. As to “Digital Assets,” the Audit Firm found several deficiencies relating to
                Binance’s failure to provide information concerning its custody of crypto assets
                deposited and traded on the Binance.US Platform, including that it “was difficult
                and sometimes not possible to pull wallet balances en masse as of a historical
                point in time. This makes it very difficult to ensure the Company is full[y]
                collateralized at specific points in time.” It recommended that BAM Trading
                work with Binance “to provide the daily reconciliation and historical reporting
                functionality necessary for audit and operational purposes,” and “instituting a
                formal process to track crypto units held for each” crypto asset.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 48 of 215




           c. The Audit Firm found “a lack of documented controls and overall transparency at
              the custodian [Binance]. Binance.us may not be aware of financial or operational
              risks that exist related to the custodian.” It recommended that the company
              document its controls to ensure that Binance’s processes “are functioning as
              intended and are reliable for operational and financial reporting purposes.”

       179.181.        The following year, the Audit Firm continued to identify significant

weakness in controls with respect to custody of digital assets. On May 20, 2022—in its third

letter identifying weakness for the company—the Audit Firm found that BAM Trading did “not

have much visibility into on-chain activity related to it[]s exchange. The Company is dependent

on the .COM custodian to tell them the addresses holding the assets, or other relevant metrics.”

Similarly, the Audit Firm concluded that it “was difficult and sometimes not possible to pull

wallet balances en masse as of a historical point in time. This makes it very difficult to ensure

the Company is fully collateralized at specific points in time.” (Emphasis added.)

       180.182.        That Audit Firm did not continue its engagement after November 2022.

BAM’s new auditor stated in BAM Trading’s audited financials for the year ending December

31, 2022 that Binance remained the custodian of all of BAM Trading’s crypto assets, including

crypto assets deposited, held, traded, and/or accrued by customers, until at least December 2022,

when BAM Trading terminated the Wallet Custody Agreement. Even after that time, and as of

at least June 3, 2023, Binance continues to participate in the custody and control of Binance.US

Platform’s digital wallets and these crypto assets through the various services it provides to the

Binance.US Platform and its possession, custody, and control of private keys or portions thereof

(sometimes referred to as “key shards”) associated with the security access protocols that govern

the digital wallets holding certain of these crypto assets, the authorization for transfers, and

operations as part of the staking-as-a-service program.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 49 of 215




       181.183.        BAM Trading did not even implement a formal policy concerning its

crypto assets custody and operations until May 15, 2023.

       182.184.        As of the end of 2022, BAM Trading was responsible for over $1.77

billion of Binance.US Platform customers’ crypto assets.

             v.        Zhao and Binance Directed BAM Trading to Engage Zhao-Controlled
                       Market Makers on the Binance.US Platform.

       183.185.        To create and maintain liquidity on the Binance.US Platform, BAM

Trading recruited market making firms and other institutions, often offering low fees as

incentives. Zhao and Binance were intimately involved in these efforts, which placed Zhao’s

financial interests at odds with those of the customers trading on the platform he controlled.

       184.186.        From the earliest days of the Binance.US Platform, Zhao directed BAM

Trading to onboard two market makers that he owned and controlled: Sigma Chain and Merit

Peak. Both entities were operated by several Binance employees who worked at Zhao’s

direction, including the Binance Back Office Manager, who, at least until December 2020, also

had signatory authority over BAM Trading’s U.S. Dollar accounts.

       185.187.        BAM Trading’s relationships with Sigma Chain and Merit Peak aligned

with the Tai Chi Plan strategy to rely upon “trusted” market makers for the U.S.-based crypto

platform. As Zhao characterized it, Sigma Chain needed to be a market maker on the

Binance.US platform because it was Binance’s “own” market maker, compared to those an

“arm[’s] length away.”

       186.188.        Merit Peak and Sigma Chain were active traders on the Binance.US

Platform. Merit Peak traded on it at least from November 15, 2019 to June 10, 2021. Until at

least April 2022, Sigma Chain was a frequent spot trader on the Binance.US Platform, and it also
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 50 of 215




continues to serve as a counterparty for certain OTC trading, and the Convert and OCBS services

on the Binance.US Platform.

       187.189.        Sigma Chain’s and Merit Peak’s activity on the Binance.US Platform, and

their undisclosed relationship with Zhao and Binance, have involved and continue to present

conflicts between Zhao’s financial interests and those of Binance.US Platform’s customers.

       188.190.        Indeed, BAM CEO B expressed concerns to Zhao about Merit Peak’s and

Sigma Chain’s activity on the Binance.US Platform. As he testified under oath, “To the extent

that these two liquidity providers were significant sources of liquidity, meaning that our

customers couldn’t, you know, clear orders without the presence of those makers on our

platform, I thought that was a real problem. It suggested that the company was, in fact, heavily

dependent on CZ, not just as a control person but also as an economic counterparty and that is

problematic, so I thought we needed to look into deplatforming them.”

       189.191.        BAM CEO B’s concerns were well founded. Merit Peak and Sigma Chain

accounts were used in the transfer of tens of billions of U.S. dollars involving BAM Trading,

Binance, and related entities. For example, by 2021, at least $145 million was transferred from

BAM Trading to a Sigma Chain account, and another $45 million of funds were transferred from

BAM Trading’s Trust Company B account to the Sigma Chain account. From this account,

Sigma Chain spent $11 million to purchase a yacht.

       190.192.        Further, since the launch of the Binance.US Platform, Merit Peak’s U.S.

bank account received, as a “pass through” account, over $20 billion that included customer

funds from both Binance Platforms. Merit Peak then transferred the vast majority of those funds

to Trust Company A, in transfers that appear to relate to the purchase of BUSD. As Merit Peak
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 51 of 215




was a purportedly independent entity, sending Binance customer funds to Merit Peak placed

those funds at risk, including of loss or theft, and was done without notice to customers.

         191.193.      In addition, Zhao’s control over both BAM Trading and Sigma Chain has

enabled Sigma Chain to conduct the manipulative trading on the Binance.US Platform described

below.

         D.    Zhao Rejected BAM CEO A’s and BAM CEO B’s Efforts to Give BAM
               Trading “Independence” from Zhao and Binance.

         192.194.      Over time, BAM Trading’s employees became increasingly dissatisfied

with BAM Trading’s and the Binance.US Platform’s lack of independence and Zhao’s and

Binance’s exertion of substantial oversight and control over the company’s day-to-day

operations.

         193.195.      In January 2020, BAM Trading employees started compiling a list of

“shackles,” i.e., functions “that require [Binance personnel’s] answers, access, approval,

funding,” which demonstrated BAM Trading’s lack of independence and knowledge as to the

platform’s operations. They noted, for example, BAM Trading’s compliance team experiencing

a “lack of respect and transparency between Asia/US teams”; the fact that BAM Trading was

“not allow[ed] to expand US Financial Team domestically”; and BAM Trading’s legal

department needing a “[b]etter understanding” of BAM Trading’s “internal controls/IT

infrastructure.”

         194.196.      BAM CEO A later reported to the Binance CFO that her “entire team is at

their breaking point.” The Binance CFO later remarked that “getting our independence takes

time.”

         195.197.      In the ensuing months, BAM CEO A worked with her team to propose a

plan for BAM Trading to take control of more of its operations. In October 2020, she asked
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 52 of 215




BAM Trading employees to diagram their job functions that required “global touchpoints,”

meaning “where we rely on .com in our processes.” In response to the information she received,

BAM CEO A remarked, “[Y]ou guys have a lot of .com gatekeepers now that I look at it.”

Another BAM Trading employee responded, “LOL … Getting control over any of these (fees, or

subaccounts or API limits) is an instant win.”

       196.198.        BAM CEO A dubbed this effort “Project 1776.” As she told another

BAM Trading employee in October 2020, “Project 1776 is for our independence.”

       197.199.        On October 29, 2020, while BAM CEO A was working on Project 1776, a

major news media company released an article reporting on Binance’s Tai Chi Plan, which the

article described as Binance’s plan “to intentionally deceive regulators and surreptitiously profit

from crypto investors in the United States.”

       198.200.        The article intensified BAM Trading employees’ concerns with Zhao’s

and Binance’s control over the business—demonstrating that this significant level of secret

control remained. As BAM CEO A explained to the Binance CFO shortly after the article was

released, BAM Trading employees “lost a lot of trust with the article” and “the entire team feels

like they’ve been duped into being a puppet.”

       199.201.        Binance, however, continued to resist efforts for independence. For

example, on December 3, 2020, BAM CEO A reported to the Binance CFO that BAM Trading’s

“[b]attle for the day” was for Binance’s clearing personnel to “inform[] us on their day-to-day

and access,” but that the Binance Back Office Manager and another Binance employee “were

unwilling to share their screens at all, they were like yeah you don’t need to know what we do

day to day.”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 53 of 215




          200.202.    As another example, on or around March 2021, Zhao decided to replace

BAM CEO A with BAM CEO B, who formally assumed his position by May 2021.

          201.203.    When hired, BAM CEO B was aware of concerns about the relationship

between Binance and BAM Trading and conditioned acceptance of the role on being able to run

BAM Trading independently of Zhao and Binance. Believing that he could accomplish this goal,

BAM CEO B made several public statements that BAM Trading was “not an alter-ego of

Binance.”

          202.204.    Upon assuming his CEO duties, however, BAM CEO B quickly learned

that Binance, in fact, exerted and would not relinquish substantial control over BAM Trading and

the operation of the Binance.US Platform. As he testified under oath, BAM CEO B did not

“have any firsthand knowledge of exactly what [Binance] entity managed [Binance.US

Platform’s] servers,” but he knew it “wasn’t [BAM Trading].” Similarly, he also testified that

the matching engine was “presumably owned and administered by some [Binance] entity, but I

have no idea which one, and then there’s other servers doing other functions.” He concluded, the

“biggest risk in this company is we are highly dependent on a bunch of technology that sits in

Asia.”

          203.205.    BAM CEO B tried to implement plans to migrate those functions and

control of the crypto assets from Binance to BAM Trading and into the United States, but Zhao

quickly overruled him, causing BAM CEO B to resign approximately three months into his

tenure.

          204.206.    As BAM CEO B testified, “[W]hat became clear to me at a certain point

was CZ was the CEO of BAM Trading, not me.” He further explained that he spent his first 80

days as CEO trying “to get these core foundational things realigned,” but “was overruled on all
     Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 54 of 215




of them” by Zhao. BAM CEO B elaborated, “All of the things that we had previously agreed

and had worked on for 80 days were suddenly repudiated with no further discussion, and on that

day, I realized, huh, I’m not actually the one running this company, and the mission that I believe

I signed up for isn’t the mission. And as soon as I realized that, I left.”

        205.207.        During this period, and consistent with the Tai Chi Plan, Zhao and

Binance publicly denied that they controlled BAM Trading. In a September 23, 2019 public

interview, for example, Zhao stated, “Binance licenses its technology to Binance.US, while the

business itself and local operations are managed by BAM Trading Services and [its] CEO.”

        206.208.        These and other statements were contrary to how BAM Trading and the

Binance.US Platform actually operated.

        207.209.        Rather, Binance’s intent was clear. As Binance’s CCO admitted in

October 2020,




V.      UNDER ZHAO’S CONTROL, BAM TRADING AND BINANCE PROVIDE
        EXCHANGE AND CLEARING AGENCY FUNCTIONS TO U.S. CUSTOMERS,
        AND BAM TRADING ALSO PROVIDES BROKERAGE SERVICES TO U.S.
        CUSTOMERS.

        208.210.        The Binance.US Platform officially launched on September 24, 2019.

Since that time, it has offered U.S. retail and institutional investors the opportunity to buy, sell,

and transfer approximately 150 crypto assets, including crypto assetassets that are offered and

sold as securities such as BNB.

        209.211.        TodayAs of June 2023, the Binance.US Platform iswas available in 46

U.S. states, this District, and 8 U.S. territories. It isAs of that date, it was one of the top five

crypto asset trading platforms in the United States by daily trading volume. As of April 1, 2023,
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 55 of 215




the Binance.US Platform made available approximately 150 crypto assets for purchase or sale,

and its average 24-hour trading volume was valued at over $282 million.

       210.212.        In operating the Binance.US Platform, without registering in any capacity,

BAM Trading and Binance, as a group of persons, function as an exchange, and they each also

function as a clearing agency. BAM Trading also functions as a broker.

       A.      BAM Trading and Binance, Under Zhao’s Control, Solicit Investors.

       211.213.        To solicit investors to open accounts and trade crypto asset securities on

the Binance.US Platform, BAM Trading actively markets its various services in the United

States, including through its website, blog, and various social media platforms.

       212.214.        BAM Trading publicizes when the Binance.US Platform is newly

available to customers in a different U.S. state or territory. It also markets new and available

products and services, such as the OTC Desk, Convert Trading, and OCBS Services described

below, including through content on its blog and “how-to” tutorials on accessing and using

features of the Binance.US Platform.

       213.215.        BAM Trading also consistently touts certain metrics of the Binance.US

Platform, such as daily trading volumes and each crypto asset and trading pair available for spot

trading.

       214.216.        BAM Trading also offers investor incentives and promotions, such as new

user sign-up bonuses, zero (or low) trading fees for certain crypto assets, and trading fee

discounts.

       217.    BAM Trading markets crypto assets that are available for trading on the

Binance.US Platform by, among other things, announcing new listings on social media platforms

and providing various investment-related information about the crypto assets on its website. It
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 56 of 215




also runs various promotional programs to market the crypto assets and incentivize investors to

view them as investments, as described below.

       215.218.        BAM Trading’s solicitation of customers has occurred at Zhao’s direction.

In addition, Zhao has regularly marketed the Binance.US Platform services and the crypto

assetassets, including those that were offered and sold as securities, available for trading on the

Binance.US Platform. For example, through his Twitter account, Zhao has promoted the launch

of new products offered on the Binance.US Platform or when the platform begins offering

services to investors in a new U.S. state or territory.

       216.219.        Binance, under Zhao’s direction, has also marketed and solicited

customers for the Binance.US Platform, particularly when the Binance.com Platform purported

to prohibit U.S. investors after September 2019. For example, Binance.com’sBinance’s blog on

its website promoted the Binance.US Platform and its news and developments, referring to the

Binance.US Platform on at least one occasion as “our fiat-to-crypto exchange Binance.US”

(emphasis added). In addition, if a U.S. customer tries to access the Binance.com Platform, a

pop-up window appears, stating in relevant part, “If you are in the United States or select U.S.

territories, Binance.us is a U.S. regulated platform where you can buy, trade, convert, and stake

crypto with low fees.” The pop-up window provides a button that allows a customer to access

the Binance.US Platform directly.

       B.      BAM Trading and Binance Together, Under Zhao’s Control, Maintain and
               Provide a Marketplace and Facilities for Trading Crypto Asset Securities.

       217.220.        Since the Binance.US Platform launched in September 2019, BAM

Trading and Binance, both under Zhao’s control, have operated the platform’s exchange

functions.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 57 of 215




       218.221.        BAM Trading has functioned as the legal owner and public face of the

Binance.US Platform. The Binance.US Platform has throughout its existence operated using

Binance’s matching engine software, digital wallet, clearing and settlement technology,

trademarks, and related technology support and hosting environment, all of which were created,

deployed, and maintained by Binance engineers and other employees at Zhao’s direction and

input. Under the Software License Agreement, Binance Holdings is responsible for providing

and maintaining software modules for a “[d]igital currency exchange platform,” “[m]atching

engine,” “[d]igital currency wallet services,” and frontend user applications such as the website

and mobile applications, among other modules—all for the purpose of “operat[ing] a digital

currency trading platform for the U.S. market,” namely, the Binance.US Platform.

       219.222.        At the time of the platform’s launch, Binance personnel were primarily

responsible for managing the trading functions, while BAM Trading performed certain backend

system operations for Binance.US Platform customer services. As reflected in the Master

Services Agreement, Binance is responsible for maintaining, supporting, developing, and

implementing additional features and upgrades to the Binance.US Platform, including the

platform’s crypto asset trading services and features.

       220.223.        Binance also created the Binance.US website, a mobile phone application,

and an API, all so the Binance.US Platform’s interfaces resemble the Binance.com Platform’s

interfaces, including the displayed order book that displays available trading pairs and, for each

pair, the current top bids and offers (prioritized by price and time), various categories of pricing

information, and 24-hour trading volume.

       221.224.        Over time, Binance has transitioned certain of its responsibilities and

functions to BAM Trading personnel (sometimes by converting Binance employees into BAM
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 58 of 215




Trading employees), thereby increasing BAM Trading’s responsibilities, and BAM Trading and

Binance personnel have continued to work together to provide and maintain the Binance.US

Platform’s exchange functions.

              i.       Display, Order Matching, and Trading Rules of the Binance.US Platform

       222.225.        To effect spot trading on the Binance.US Platform, BAM Trading licenses

Binance’s proprietary software, including its matching engine technology, which Binance

adapted for the Binance.US Platform. The Binance.US Platform’s website, API, and mobile

apps allow customers to enter orders, view account information, and otherwise access the

platform’s trading services and other functions.

       223.226.        Customers can enter different order types on the Binance.US Platform. Its

matching engine, like the one for the Binance.com Platform, automatically matches and fills

orders, executing trades using programmed, non-discretionary price-time priority rules.

According to these rules, unless otherwise specified by a customer, an order that is posted to the

order book at a different price than all other existing orders on the book rests on the order book

until the customer cancels it, or future orders match with it.

       227.    As further described below, the Binance.US Platform is an integral part of the

markets for crypto assets, including those that are offered and sold as securities, and BAM

Trading fills these markets with information republishing and amplifying the issuer and promoter

statements and activity. The Binance.US Platform provides various investment-related

information about the crypto assets available for trading, including providing that information on

its trading page, similar to a broker’s trading platform in the traditional securities market. It

provides information about the asset and its development, trading volumes, price information,

and republishes and amplifies promotional materials originally publicly disseminated by the

crypto asset promoters about the economic reality of the assets, including statements touting
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 59 of 215




them as investment opportunities in a common enterprise with the potential that they may

increase in value from the issuers’ and promoters’ efforts.

             ii.       The Binance.US Platform’s OTC Desk, OCBS, and Convert Services

       224.228.        In addition to spot trading, BAM Trading offers customers the ability to

purchase and sell crypto assets, including crypto assetthose that are offered and sold as securities,

through additional Binance.US Platform services described as the “OTC Desk,” “OCBS,” and

“Convert” trading services.

       225.229.        Since in or around May 2020, the Binance.US Platform has maintained an

OTC Desk that allows customers, primarily institutional traders, to execute generally large

volume trades for crypto asset and fiat pairs. In 2021, the OTC Desk had over $654 million in

trades. Through the Binance.US Platform’s OTC Desk, BAM Trading serves as the interface

between a customer and a counterparty firm and provides requested quotes to the customer,

which the customer can accept through the Binance.US Platform. If the customer accepts the

trade, the customer’s account balance is updated with either the withdrawal or deposit. Except

for orders over a certain size, the process for executing trades through the OTC Desk is

automated.

       226.230.        From May 2020 to February 2022, Alameda Research, the trading firm

associated with FTX founder Sam Bankman-Fried, was often the OTC Desk’s only counterparty

vis-à-vis BAM Trading customers. From at least February 2022, Sigma Chain served as a

counterparty.

       227.231.        In addition, BAM Trading offers “OCBS” and “Convert” services on the

Binance.US Platform. The OCBS service permits customers to exchange U.S. dollars for crypto

assets (effecting over $6.1 billion in trades in 2021), and the Convert service permits the

exchange of one crypto asset for another of over 130 crypto assets. The Binance.US Platform
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 60 of 215




serves as the interface through which customers make trading requests and are provided quotes,

and through which the purchases or sales are executed. BAM Trading’s marketing touts these

services as a means “to avoid slippage, simplify [the] trading experience, or make one less

trade.”

          228.232.     Sigma Chain has been the sole counterparty for the OCBS and Convert

services since they were first offered in early 2020 and April 2021, respectively.

          C.    BAM Trading and Binance, Under Zhao’s Control, Hold and Control
                Customers’ Funds and Crypto Assets.

          229.233.     To trade on the Binance.US Platform, a user must create a Binance.US

account. BAM Trading takes steps to verify that the users meet certain terms and conditions to

access the Binance.US Platform, such those related to KYC review and other eligibility criteria.

          230.234.     Customers must deposit and maintain sufficient crypto assets or U.S.

dollars to cover their orders when placed.

          231.235.     Up until on or about July 2023, BAM Trading accepted fiat currency

deposits. Before that time, to transact in fiat currency, generally customers first

establishestablished and depositdeposited funds into an account with Trust Company B, a U.S.-

based trust company, which is linked by APIs to the Binance.US Platform. The Binance.US

Platform allowsallowed for deposits and withdrawals in U.S. dollars via bank transfer (ACH),

debit card (deposits only), Apple Pay (debit card only), or wire transfer. Each customer

entersentered into an agreement with Trust Company B for custodial and money transmission

services, which authorizesauthorized BAM Trading to debit and credit the account directly to

settle the fiat leg of any trades involving fiat, pay fees, and process withdrawals.

          232.236.     BAM Trading managesmanaged customer onboarding and account

maintenance for the cash accounts held at Trust Company B, including the deposit and
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 61 of 215




withdrawal of funds deposited for use on the Binance.US Platform. According to the trading

rules that governhas governed the Binance.US Platform, BAM Trading “settles the FIAT

Currency payments in all Filled Orders on a periodic basis by debiting and crediting the relevant

Fiat Currency balances” in accounts at Trust Company B, serving “as a facilitator … by sending

deposit, withdrawal, and transfer instructions on behalf of [the customer] in connection with [the

customer’s] trading activities.”

       233.237.        Binance has also cleared and settled trades on the Binance.US Platform.

Until at least July 2021, the Binance Back Office Manager had signatory authority over the Trust

Company B account holding the fiat deposits of the platform’s customers. Binance has worked

with BAM Trading employees to settle user transactions on the Binance.US Platform involving

U.S. dollars.

       234.238.        To deposit crypto assets, customers transfer crypto assets to a digital

wallet created through Binance software. The crypto assets are then held in omnibus wallets.

Binance, with BAM Trading, has facilitated settlement of purchases, sales, and transfers of

crypto assets, including crypto assetassets that are offered and sold as securities, on the

Binance.US Platform by entering debits and credits on an internal accounting ledger utilizing

software provided to the Binance.US Platform and maintained by Binance. Customers can

initiate a withdrawal by entering a request on the Binance.US Platform to process and approve

the transfer of assets to a blockchain address specified by the customer and paying a withdrawal

fee.

       235.239.        At least through December 2022, Binance provided the digital wallets

associated with the Binance.US Platform and held and controlled the crypto assets deposited,

held, traded, and/or accrued on the Binance.US Platform. BAM Trading’s role with respect to
      Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 62 of 215




clearing and settlement was limited to operating Binance-provided software to facilitate clearing

and settlement of fiat and crypto asset transactions. Over time, BAM Trading has obtained more

control over these clearing and settlement functions. Still, to this day, continuing through at least

well past June 3, 2023, the AWS that host the software for the BAM Trading customers’ crypto

assets arehas been associated with Binance, and, as described above, at least as ofwell past June

3, 2023, Binance continuescontinued to be involved in the custody and control of Binance.US

Platform digital wallets and crypto assets therein.

         D.    BAM Trading Receives Compensation.

         236.240.      BAM Trading charges Binance.US Platform customers transaction fees

for trades on the platform, at a rate of approximately 0.1 percent per transaction. These

transaction fees are BAM Trading’s primary revenue source. For the OTC Desk, OCBS, and

Convert services, BAM Trading receives as compensation a portion of the spread between the

bid and ask quotations from the executed trade. It also receives revenue from other sources,

including referral fees and interest payments on fiat currency deposits.

         237.241.      In 2021 alone, BAM Trading generated over $265 million in revenue,

primarily stemming from transaction fees.

VI.      BAM TRADING AND BAM MANAGEMENT ENGAGED IN ACTS AND
         PRACTICES THAT OPERATED AS A FRAUD AND DECEIT UPON, AND
         MADE FALSE AND MISLEADING STATEMENTS TO, INVESTORS.

         238.242.      Since the launch of the Binance.US Platform, BAM Trading and BAM

Management, in the offer and sales of securities, obtained money and property by making untrue

statements of material fact and omitting facts that rendered statements materially misleading, and

engaged in acts and practices that operated as a fraud or deceit upon Binance.US customers

(including retail and institutional investors in the crypto asset securities available for trading on

the Binance.US Platform) and upon equity investors in BAM Management, concerning the
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 63 of 215




extent to which BAM Trading and BAM Management had implemented controls to prevent

manipulative trading on the Binance.US Platform.

       239.243.        One form of manipulative trading is called “wash trading.” In a wash

trading scheme, a trader buys and sells the same asset between or among his or her own accounts

in transactions lacking economic purpose. Wash trading is not arm’s length market activity and

is not the result of market forces of supply and demand. Wash trading gives the artificial

appearance of, among other things, increased trading volume, liquidity, and trading interest for

the asset at issue. It may also artificially inflate the aggregate trading volume of the platform

upon which the asset is being traded.

       240.244.        By the time Zhao and Binance created the Binance.US Platform, they

understood the importance to investors in crypto assets transacting on crypto asset trading

platforms of the platforms’ monitoring for and preventing manipulative trading (including wash

trading), especially given the largely regulatory non-compliant nature of crypto asset trading

platforms, the risks of manipulative conduct on such platforms, and the perceived importance of

presenting accurate information to the public.

       241.245.        As Zhao confirmed in April 2019 when commenting on a ranking of

crypto asset platforms by trading volume: “CREDIBILITY is the most important asset for any

exchange! If an exchange fakes their volumes, would you trust them with your funds?”

       242.246.        But BAM Trading and BAM Management failed to implement controls to

prevent manipulative trading on the Binance.US Platform that it falsely claimed to investors to

have implemented, resulting in the exact “fake volumes” that Zhao decried in April 2019.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 64 of 215




       A.      BAM Trading and BAM Management Touted Their Prohibition of
               Manipulative Trading on the Binance.US Platform to Investors.

       243.247.        Since the Binance.US platform launched in September 2019, customers,

including retail investors, have had to agree that they have read and accept the platform’s “Terms

of Use.” The Terms of Use in turn require customers to review the BAM Platform “Trading

Rules” before they can trade on the Binance.US platform, and since 2019, BAM Trading has

publicly posted the “BAM Platform Trading Rules” on the Binance.US website.

       244.248.        These Trading Rules include a section entitled, “False Trading and Market

Manipulation Prohibited,” which provides that “[t]raders are prohibited from engaging in Market

Manipulation” and defines “Market Manipulation” as “any action taken or procured to be taken,

or any course of conduct … which is intended to, or does, or is likely to, create a false or

misleading appearance of active trading in any Digital Asset on the BAM Platform; or artificially

control or manipulate the price or trading volume of a Digital Asset.”

       245.249.        From the inception of the Binance.US Platform, BAM Trading and BAM

Management in other ways publicly touted their supposed efforts to monitor and prevent

manipulative trading. For example, during a public CoinDesk webinar in November 2019, BAM

CEO A was asked how the Binance.US Platform spot market was monitored and how

manipulative activity was excluded. She responded that BAM Trading had “on-chain analytics,

monitoring all the behaviors that are taking place” on the Binance.US Platform and could see

“the behavior of our trading that’s taking place.” She further stressed that BAM Trading’s on-

chain analytics had “really clear sets and risk parameters that we’re able to make sure we’re not

… you know, welcoming behavior that’s going to be toxic.”

       246.250.        Similarly, between at least September 2021 and April 2022, when

soliciting investors (“Equity Investors”) during a seed funding round offering equity in BAM
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 65 of 215




Management, BAM Trading and BAM Management falsely touted the trade surveillance and

other measures purportedly in place on the Binance.US Platform to detect and prevent

manipulative trading. BAM Trading and BAM Management raised at least $200 million selling

preferred shares to Equity Investors, including almost $40 million from six investors in the

United States.

       247.251.        For example, in a September 2021 “Seed Round Pitch Deck” (the “Pitch

Deck”) provided to Equity Investors, BAM Management and BAM Trading touted the

Binance.US Platform’s supposedly robust “trade surveillance.” The Pitch Deck further

identified the numerous vendors that BAM Trading had engaged to supposedly “deploy[] human

intelligence” and “artificial intelligence” to “ensure the highest level of compliance” on the

Binance.US Platform. The Pitch Deck further described the role of a third-party provider of

trade surveillance software for crypto asset platforms (“Trade Surveillance Company A”) as

providing “[t]rade surveillance, market manipulation, and transaction monitoring.”

       248.252.        In a “Trade Surveillance Manual” dated July 2021 also provided to Equity

Investors, BAM Trading and BAM Management falsely described active surveillance of the

Binance.US Platform supposedly conducted by an internal team using Trade Surveillance

Company A software, which purportedly allowed for monitoring and other trade data analytics.

The Trade Surveillance Manual stated that Trade Surveillance Company A’s “real-time” and

“T+1” monitoring of trading activity enabled the platform to prevent market manipulation,

identify abusive trading practices prohibited by the platform’s trading rules, and conduct

monthly reviews of “all potential Wash Trades.”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 66 of 215




       B.      BAM Trading and BAM Management Misleadingly Touted the Trading
               Volume of the Binance.US Platform and of Various Crypto AssetAssets That
               Were Offered and Sold as Securities to Investors.

       249.253.       Since the launch of the Binance.US Platform, BAM Trading and BAM

Management have also defrauded the investing public about the reliability of trading volume

figures reported for the Binance.US Platform.

       250.254.       Since the launch of the platform, BAM Trading publicly reported volume

on a token-by-token basis and made aggregate Binance.US Platform trading volume publicly

available without any qualifications as to its legitimacy. BAM Trading has provided Binance.US

Platform trading volume through various public resources that are popular for crypto asset

investors when deciding which crypto asset to trade in and where to conduct their trading. These

include the market data API and the Binance.US Platform and its website.

       251.255.       For example, on April 3, 2022, the market data API indicated that the

trading volume of TRX, a crypto asset security listed on the platform that was offered and sold as

a security, was 5,902,367. That information would have also been posted on the Binance.US

Platform and the company’s website, as both pull from the same data as the API.

       252.256.       BAM Trading also made the platform’s trading volume data available

through the API for reporting and dissemination by data aggregators such as CoinMarketCap and

CoinGecko, which are popular information resources for crypto asset investors.

       253.257.       BAM Trading sought to have the Binance.US Platform’s trading volumes

included on CoinMarketCap because it knew that crypto asset investors look to CoinMarketCap

for information on specific crypto assets and where they can be traded. Accordingly, BAM

Trading ensured ongoing information regarding trading volume was available for publication on

a token-by-token and aggregate basis, and BAM Trading monitored the posted information, at
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 67 of 215




times communicating with CoinMarketCap to correct certain information reported to the market.

Since in or around April 2020, Zhao has owned CoinMarketCap through a Binance affiliate.

       254.258.        BAM Trading also reported the platform’s trading volume on social

media. As an example, on November 1, 2019, BAM Trading tweeted that the Binance.US

Platform had “$30M in 24hr Volume.” Similarly, on January 8, 2021, BAM CEO A tweeted that

the platform’s total trading volume was “$500M.”

       255.259.        In addition, from September 2021 through at least April 2022, BAM

Trading and BAM Management touted the Binance.US Platform’s trading volume when

soliciting the Equity Investors. In the Pitch Deck, BAM Trading and BAM Management

reported, with respect to the Binance.US Platform, “$24B” in average monthly trading volume,

“$205B” in trading volume to date, and favorable trading volume comparisons to the

Binance.US Platform’s competitors.

       256.260.        The Pitch Deck also boasted trade volume statistics for the period of time

leading up to BAM Trading’s and BAM Management’s September 2021 outreach to Equity

Investors. For example, it highlighted that the Binance.US Platform’s August 2021 trading

volume was “5x larger than FTX.US and ~24% of Coinbase’s global volumes.”

       257.261.        BAM Management and BAM Trading also provided Equity Investors with

access to a data room that contained a voluminous spreadsheet with data on the Binance.US

Platform’s trading volume, including monthly data for various crypto assets made available for

trading on the Binance.US Platform (“Volume Data Spreadsheet”). The Volume Data

Spreadsheet reported, for example, the monthly trading volumes of one crypto asset that was

offered and sold as a security called “ALGO” for June through August 2021 to be over $137

million. Similarly, for another crypto asset that was offered and sold as a security called
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 68 of 215




“MANA,” the Volume Data Spreadsheet reported over $102 million in volume for June through

August 2021.

       C.      BAM Trading’s and BAM Management’s Statements Were Materially False
               and Misleading, and BAM Trading and BAM Management Engaged in Acts
               and Practices That Operated as a Fraud and Deceit Upon Purchasers.

       258.262.        BAM Trading’s and BAM Management’s statements described above

were false and misleading, and they engaged in acts, practices, and courses of business that

operated as a fraud and deceit upon the purchasers of crypto assetassets that have been offered

and sold as securities and the Equity Investors.

       259.263.        When the Binance.US Platform launched in September 2019, BAM

Trading—contrary to its public statements—had no controls to monitor for and prevent

manipulative trading on the Binance.US Platform, and through at least February 2022, it had

implemented no such trade surveillance or controls.

       260.264.        Moreover, when BAM Trading and BAM Management reported trading

volume without disclosing the extensive nature of the wash trading that they knew existed on the

Binance.US Platform—as described below—they deceived investors into thinking that the

trading volumes on the platform were robust, real, and reliable.

       261.265.        Senior BAM Trading officers and employees were on notice even before

the platform’s launch that wash trading was possible. In August 2019, a Binance co-founder and

head of the Binance team that managed the MatchBox trade matching engine used on Binance

Platforms (“Binance Co-Founder”) messaged BAM CEO A and senior Binance executives that

“the current matching engine allows a user to trade with themselves” asking that they “[p]lease

make sure this is OK with whatever US/SEC regulations we have to follow.” He also noted,

“The manipulation angle comes from the fact it will make the traded volume increase when
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 69 of 215




funds did not in fact trade hands,” but that “this is mainly a compliance or regulation issue. If

some US compliance or regulation says we must prevent this, we will. Otherwise we will not.”

       262.266.        Almost a year later, on or about July 16, 2020, “takeaways” from a

meeting involving BAM Trading’s risk management and compliance included that “[m]arket

manipulation controls have not been established,” and that they had sought more information

from a Binance employee “who manages market surveillance.” That Binance employee later

replied to a BAM Trading compliance employee that Binance had a team monitoring for market

manipulation for the Binance Platforms, but the team did “not monitor for wash trading, front

running and spoofing” on the Binance.US Platform.

       263.267.        Moreover, in January 2021, BAM Trading’s Director of Institutional Sales

informed BAM CEO A that “[a]pparently we have nothing in place to prevent wash trading?

Just tested myself, sold market order into my own bid.” He then warned that he was “not sure if

this is being exploited on any level. The lower the fees for a [market maker], the easier it might

be to manipulate the market.” Another BAM Trading employee responded, “Yikes.”

       264.268.        In fact, BAM Trading lacked any trade surveillance mechanisms until at

least February 2022—six months after BAM Trading and BAM Management began approaching

prospective Equity Investors with the Pitch Deck and more than three-and-a half years after the

Binance.US Platform launched and stated publicly that it prohibited fraudulent trading.

       265.269.        Even though BAM Trading first retained Trade Surveillance Company A

in late 2020, it was not until February 2022 at the earliest that BAM Trading could even begin

using Trade Surveillance Company A’s surveillance software in any meaningful way because it

was not until then that Binance personnel began providing relevant data in a usable format.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 70 of 215




       266.270.        But even after February 2022, BAM Management and BAM Trading

failed to provide Trade Surveillance Company A with account owner information that would

enable it to detect trades between related accounts, thus preventing Trade Surveillance Company

A from actually monitoring for certain manipulative trading, such as wash trading between

related accounts (i.e., accounts bearing disparate account numbers that are, in fact, owned and/or

controlled by the same entity or individual).

       D.      Sigma Chain’s Wash Trading on the Binance.US Platform Further
               Demonstrated the Falsity of BAM Trading and BAM Management’s
               Statements.

       267.271.        In fact, wash trading on the Binance.US Platform did occur and went

undetected. Much of this wash trading occurred through numerous accounts affiliated with

Sigma Chain, an entity owned and controlled by Zhao and operated by Binance employees at

Zhao’s direction.

       268.272.        At Zhao’s insistence, Sigma Chain became a market maker on the

Binance.US Platform from the time of its launch. Sigma Chain held dozens of user accounts

through which it conducted wash trading that fraudulently inflated trading volumes on the

Binance.US Platform.

       269.273.        Both BAM Trading and BAM Management were aware that Sigma Chain

had dozens of accounts and was an active trader on the Binance.US Platform. On June 23, 2020,

for example, in discussing a drop in trading volume from market makers on the Binance.US

Platform, BAM CEO A asked the BAM Trading’s Sales Director to “pull [Sigma Chain’s] data

to hold them accountable too . . . they should be consistent too – we can ask for more volume but

they’ve been up to 50% for us before.” On January 6, 2021, the Sales Director messaged BAM

CEO A and other BAM Trading employees “fyi these are ALL sigma chain,” and then listed 20

account numbers. Another BAM Trading employee responded, “whoa.”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 71 of 215




        270.274.        Wash trading between Sigma Chain’s accounts occurred from the launch

of the Binance.US Platform in 2019 through at least June 23, 2022. This wash trading activity

corrupted the Binance.US Platform’s reported trading volume in a strategic pattern that

coincided with at least three critical periods for crypto asset investors and the Equity Investors:

(1) the Binance.US Platform’s launch in September 2019; (2) BAM Trading’s making available

certain new crypto assetassets (including those that were offered and sold as securities) for

trading on the Binance.US Platform; and (3) the months leading up to BAM Trading’s seed

funding round starting in September 2021.

        271.275.        For example, on September 25, 2019, the day after the Binance.US

Platform opened for trading, wash trading between Sigma Chain accounts and other accounts

owned by Zhao and/or associated with Binance senior employees, constituted more than 99

percent of the initial hour of trading volume in at least one crypto asset. By the end of the day,

wash trading by these accounts amounted to nearly 70 percent of that same crypto asset’s total

volume.

        272.276.        Sigma Chain also engaged in wash trading on or around the time when

BAM Trading made at least 65 new crypto assets, including crypto assetassets that were offered

and sold as securities, available for trading on the Binance.US Platform. Between January 1,

2022 and June 23, 2022 alone, Sigma Chain accounts engaged in wash trading in 48 of 51 newly

listed crypto assets.

        273.277.        For example, on April 6, 2022, the Binance.US Platform made the crypto

asset security COTI available for trading while COTI was offered and sold as a security. Shortly

after COTI was available on the Binance.US Platform, Sigma Chain engaged in substantial wash

trading in COTI. The following chart summarizes this activity over the ensuing 11 days, in
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 72 of 215




which Sigma Chain represented as much as 35.52 percent of all COTI trading volume on the

platform:




       274.278.       In addition, from June 4 through August 31, 2021—the three-month

period leading up to BAM Trading’s and BAM Management’s offering of equity in BAM

Management to the Equity Investors—Sigma Chain accounts repeatedly wash traded 51 crypto

assets of the 58 crypto assets available for trading at that time on the Binance.US Platform.

       275.279.       Although they were aware of the high number of Sigma Chain and other

Zhao- and Binance-related accounts on the Binance.US Platform, neither BAM Management nor

BAM Trading took any steps to ensure that their statements about either trading volume or

trading surveillance were accurate and complete or not otherwise materially misleading,

including but not limited to implementing controls that would ensure Sigma Chain, other
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 73 of 215




Binance-connected accounts, or any other customers were not engaging in wash trading on the

Binance.US Platform. Instead, BAM Management and BAM Trading provided trading volume

numbers to the investing public without qualification and without warning investors about the

potential for manipulative trading given the lack of surveillance and monitoring over the

platform’s trading.

       E.      BAM Trading’s and BAM Management’s False and Misleading Statements
               and Deceptive Acts and Practices Were Material.

       276.280.        BAM Trading’s and BAM Management’s statements about trade

surveillance and trading volumes were material to investors trading in crypto assets that are

offered and sold as securities on the Binance.US Platform and to Equity Investors. When

deciding whether to trade in certain crypto assets on the Binance.US Platform or to invest in

BAM Management, a reasonable investor would consider it important to know that BAM

Management and BAM Trading were not, in fact, taking reasonable steps to surveil and prohibit

manipulative trading on the Binance.US Platform, or ensuring that the platform’s trading volume

reflected real market demand based on arm’s length transactions operating under legitimate

market principles.

       277.281.        Volume is important for investors in crypto assetassets that are offered and

sold as securities in evaluating prices (including anticipated price movement), market activity

(including demand and available liquidity), and market efficiency. As Zhao recognized, a

successful crypto asset trading platform depends on its customers believing the trading and

reported liquidity are not tainted by fraud.

       278.282.        This information was also material to Equity Investors because the

Binance.US Platform’s trading volume and corresponding revenue from transaction fees served

as an important metric for the Equity Investors to assess BAM Management’s profitability and
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 74 of 215




market share, and as an indication that customers were actually engaged with the platform. And

given the active regulatory scrutiny of businesses involving crypto assets in the United States,

Equity Investors would and did consider it important to know that they were investing in a

compliant crypto asset platform to reduce the regulatory risk to the business and its profitability.

       279.283.        Further, investors trading on the Binance.US Platform and investors

purchasing equity in BAM Management would have wanted to know that the platform’s primary

market maker—owned and controlled by Zhao—was engaged in a pattern of wash trading that

would benefit BAM Trading, BAM Management, Binance, and Zhao, all at the expense of

regular investors trading on the platform.

       280.284.        As a result of these transactions, practices, and course of business that

operated as a fraud or deceit upon purchasers of securities, and of their numerous material

misstatements and omissions, BAM Trading and BAM Management obtained substantial

revenue from the transaction fees that crypto asset investors paid for trading on the Binance.US

Platform and the approximately $200 million that Equity Investors invested in BAM

Management.

VII.   BINANCE AND BAM TRADING ENGAGED IN UNREGISTERED OFFERS
       AND SALES OF SECURITIES., AND INTERMEDIATIED TRANSACTIONS OF
       THOSE SECURITIES ON THE BINANCE PLATFORMS

       281.285.        Since at least 2017, Binance and BAM Trading further violated the federal

securities laws by illegally conducting unregistered offers and sales of securities to U.S.

investors—in Binance’s case, the offers and sales of BNB, BUSD, Binance’s “BNB Vault”

program, and Binance’s “Simple Earn” program, and in BAM Trading’s case, the offer and sale

of its staking-as-a-service program (“Staking Program”). No exemption from registration

applied or applies.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 75 of 215




        282.286.        Binance did not register with the SEC any of its offers andor sales of

BNB, BUSD, BNB Vault, and Simple Earn—, and therefore, Binance conducted unregistered

public offerings of securities.

        283.287.        Binance used the means and instrumentalities of interstate commerce in

engaging in unregistered offers and sales of BNB, BUSD, BNB Vault, and Simple Earn. Among

other things, Binance touted the investment potential of these investments on its website, on

social media platforms, and in public interviews on broadcasting networks, and Binance accepted

payments for these securities in crypto assets and fiat currency, including through bank accounts

in the United States.

        284.288.        BAM Trading did not register with the SEC any of its offers andor sales of

its Staking Program—, and therefore, BAM Trading also publicengaged in unregistered offerings

of securities.

        285.289.        BAM Trading used the means and instrumentalities of interstate

commerce in engaging in unregistered offers and sales of its Staking Program. Among other

things, BAM Trading touted the investment potential of the investment on its website, on social

media platforms, and in public interviews on broadcasting networks, and BAM Trading accepted

payments for the security in crypto assets and fiat currency, including through bank accounts in

the United States.

        290.     Further, in making these (and other) securities available for trading on the

Binance Platforms, Binance and BAM Trading have acted as broker-dealers, exchanges, and

clearing agencies without registering with the Commission in violation of the Exchange Act

registration provisions alleged herein.

        A.       Binance Offered and Sold BNB as a Security
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 76 of 215




        291.     BNB isFrom the time of the ICO and continuing through the present, BNB was

and is offered and sold as a security. In violation of Securities Act Sections 5(a) and (c), Binance

has offered and sold BNB as a security to (1) investors during its ICO; (2) Binance’s and BAM

Trading’s employees; and (3) investors on the Binance Platforms (by employing affiliated

market makers and other affiliates) since the ICO, without registering any of these offers and

sales with the Commission.

        292.     Further, because Binance and BAM Trading have intermediated transactions in

BNB on the Binance Platforms while Binance has offered and sold BNB as a security, Binance

and BAM Trading have acted as unregistered exchanges, broker-dealers, and clearing agencies in

violation of the Exchange Act’s registration provisions as alleged herein.

        293.     As described below, Binance has offered and sold BNB as an “exchange token,”

marketing it to investors as an investment in the success of the Binance.com Platform and touting

the potential returns that investors could expect from a potential increased demand and price for

BNB as the platform grew. Binance has also established a BNB “burn” program, and made BNB

the focus of a series of entrepreneurial and managerial projects purporting to increase the number

of people who may wish to buy BNB and to otherwise grow the BNB ecosystem, all specifically

aimed at increasing BNB’s demand and price—including for Binance’s own financial benefit as

its largest holder.

               i.       In the BNB ICO, Binance Offered and Sold BNB as a Security

        286.294.        BNB was initially created as an ERC-20 token that Binance issued on the

Ethereum blockchain. In June 2017, Binance began issuing BNB—which was called “Binance

Coin” until February 2022—in an ICO explicitly meant to fund the launch of the Binance.com

Platform in July 2017. Binance’s BNB ICO was marketed and sold to investors globally, and
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 77 of 215




Binance imposed no restrictions on U.S. investments in BNB or on the ability of BNB investors

to immediately resell BNB to U.S. investors.

       1.      From the time of the ICO to the present, BNB was offered and sold as an

investment contract and, therefore, as a security.

       2.      Binance offered and sold BNB as an exchange token, marketing it to investors as

an investment in the success of the Binance.com Platform itself and touting both the potential

returns that investors could achieve from purchasing the token by transacting on the platform and

that investors could expect increased demand and price for the token as the platform grew.

       287.295.        To promote its ICO, Binance also issued the Binance Whitepaper to

prospective BNB investors globally over the internet. The Binance Whitepaper explained that

the purpose of the ICO was to raise money for Binance’s team to “build a world-class crypto

exchange,” but that Binance needed the “help” of ICO “investors.” The Binance Whitepaper

gave an overview of its proposed new crypto asset platform, touting several competitive

advantages the platform would supposedly have over other crypto asset platforms due to Zhao

and his cohorts’ supposed entrepreneurial and managerial expertise over the trading platform.

       288.296.        The Binance Whitepaper repeatedly referred to ICO participants as

“investors,” and it lauded the credentials and financial expertise of Zhao and other founding

members to create a successful crypto asset platform. Among other things, it highlighted that

Zhao had “exchange experience” working on the Tokyo Stock Exchange and that several other

“Founding Team” members had experience in the securities industry. It further touted that

Binance’s “team has decades of combined experience building and maintaining world class

financial systems that shape the economy. We understand how these systems are built from the

ground up.”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 78 of 215




       297.    The Binance Whitepaper further touted Zhao’s and the Binance team’s skills and

experience, including that they “have a track record of successful startups under [their] belt.” It

also noted several “risks” of investing, but stated that the Binance team “understand[s] this and

have the skills, experience, and leadership to overcome them.”

       298.    In a section of the Binance Whitepaper entitled “BNB Value & Repurchasing

Plan,” Binance further promoted BNB by noting, “In the future, Binance will build a

decentralized exchange, where BNB will be used as one of the key base assets”—meaning that,

if this effort was successful, people would “use” BNB, which is otherwise software code with no

inherent use until Binance created any—on this future platform, which would drive its demand

and therefore increase its price.

       289.299.         The Binance Whitepaper concluded, “We know this will be an ultra

competitive space. There are probably hundreds, if not thousands of teams wanting, planning or

doing exchanges. Competition will be fierce. But in this age, this is a common risk in any

decent concept/startup or mature company. The question is: given our team, track record,

experience, industry resources and product, do you believe we stand a better chance than the rest

of the pack? If yes, then please join our ICO.”

       300.    As of the ICO, the Binance Whitepaper was available on Binance’s website. It

was subsequently removed, but as of September 5, 2024, it remains readily available online,

including on Whitepaper.io, which describes itself as the “World’s Largest Crypto Whitepaper

Database since 2017.”

       290.301.         During the ICO, Binance created 200 million BNB on the Ethereum

blockchain and stated publicly that it would never issue more BNB. Binance offered 100 million

of the 200 million BNB in the ICO at approximately $0.15 per coin, and Binance structured the
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 79 of 215




ICO in phases that involved increasing BNB prices with each phase (effectively offering a sale

discount and potential immediate resale profit to early BNB investors). In less than a month,

however, Binance had sold all 100 million BNB tokens during the ICO’s first phase at $0.15.

       291.302.        In the Binance Whitepaper, Binance also stated that it would reserve 40

percent of all BNB tokens, or 80 million BNB, for its “Founding Team” (which included Zhao)

and 10 percent, or 20 million BNB, for “Angel investors” who purchased BNB prior to the ICO.

For the Founding Team’s BNB allocation of 80 million BNB, Binance established a “vesting

plan” that permitted the release of 20 percent of the 80 million BNB allocation, or 16 million

BNB, during the ICO that was unrestricted at the time of issuance, and another 20 percent every

year for four years.

       303.    Binance’s distribution of BNB tokens among investors, as well as to its Founding

Team, including through a vesting schedule, aligned the Binance team’s ongoing financial

incentives with investors’—all of them hoping that BNB’s market price would increase.

       292.304.        Further, the Binance Whitepaper stated that Binance would “destroy,” or

burn, half of the BNB over time by using Binance’s profits with respect tofrom the Binance.com

Platform to repurchase and then destroy BNB. Binance subsequently announced plans to

accelerate the BNB burn rate. In deciding to use Binance’s profits to decrease the supply of

BNB over time, Binance gave BNB investors a reasonable expectation of profits because lower

demandsupply tends to increase price, similar to how a stock issuer uses profits to provide

dividends to investors or to execute stock buybacks to increase the ownership stake of remaining

shareholders. In other words, in Stating that it would use the profits from the Binance.com

Platform to effectively support the price of BNB, was one of the many ways Binance

furtherdirectly tied the success of the platform to BNB’s success as wellprofitability.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 80 of 215




       293.305.       Indeed, on July 9, 2019, Zhao described Binance’s planned BNB burn in

an interview posted on YouTube, stating that a “benefit we promised in the Whitepaper is every

quarter we will use 20 percent of our profits to buy back [BNB] at the market value … we will

buy back and destroy those. We will destroy up to 100 million Binance coins. Basically half of

all available coins … Financially that works the same way as a dividend economically.”Binance

raised approximately $15 million through its ICO by selling BNB to about 20,000 investors

globally. Approximately 32 U.S.-based investors purchased at least 504,000 BNB tokens during

the ICO.

       294.306.       Binance pooled the proceeds of its BNB ICO to develop the Binance.com

Platform—as it stated publicly it would. The Binance Whitepaper explained to BNB investors

that funds raised by the ICO were to build the Binance.com Platform. It provided the following

fund allocation: (1) 35 percent “to build the Binance platform”; (2) 50 percent for “Binance

branding and marketing,” including to make Binance “popular among investors”; and (3) 15

percent in “reserve” for emergencies.

       307.    In a public “Ask Me Anything” (or “AMA”) discussion on Reddit on June 28,

2017, that is still available on Reddit as of September 5, 2024, Zhao explained that ICO investors

should purchase BNB because its price would be tied to Binance’s success in building out a

popular and successful crypto asset trading platform, stating:
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 81 of 215




        295.308.        On July 3, 2017, in public comments in a post on the LinkedIn internet

social network after the ICO was completed, Zhao noted the benefits of the ICO process to

include brand recognition while “getting investment at the same time.” He further advised others

looking to do an ICO that the business “team is key … Binance has a strong team. We spend a

lot of effort describing our team. Make your team shine.”

               ii.      Binance Offered and Sold BNB as a Security to its and BAM Trading’s
                        Employees

        309.     Since at least 2019, Binance has offered and sold BNB as a security to its

employees and contractors in the United States and elsewhere, as well as to BAM Trading

employees and contractors, without registering such offers and sales.

        310.     Binance offered and sold BNB to Binance’s and to BAM Trading’s employees in

exchange for their services in various ways—such as part of a regular salary, as part of a periodic

bonus, as part of a signing bonus, and as additional incentive-based compensation.

        311.     For example, since at least 2019, Binance offered and sold BNB to Binance

employees as an elective form of salary payment. Binance permitted its employees to elect to

receive their salaries in either BNB, fiat currency, or other crypto assets. If an employee chose to

receive salary as BNB, in whole or part, as compensation for their services, she gave up the legal

right to receive that portion of her salary in fiat currency or other assets.

        312.     Between 2019 and 2022, for example, at least 37 U.S.-based Binance employees

received over $3.89 million worth of BNB as salary.

        313.     Binance also offered and sold BNB to new Binance and new BAM Trading

employees as signing bonuses. New employees of Binance and BAM Trading were offered,

among other things, an initial signing bonus in BNB that they negotiated as part of an overall

compensation package for their services—much like traditional companies that make offers and
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 82 of 215




sales of more traditional securities such as stocks or other equities when negotiating

compensation agreements. Employees who negotiated these bonuses in BNB gave up the right

to seek payment of that portion of their compensation in a different form, such as fiat currency.

       314.    For example, when Zhao hired BAM CEO A, a U.S.-based employee, Binance

and BAM CEO A negotiated the different aspects of her overall compensation package,

including that she would receive $50,000 in BNB as a signing bonus. Binance sent BAM CEO

A her signing bonus in BNB soon after she signed her offer letter.

       315.    Binance paid this bonus to BAM CEO A, even though she was a BAM Trading

employee. Binance also paid bonuses in BNB to its own U.S.-based employees and contractors.

       316.    Binance further offered and sold BNB to Binance and BAM Trading employees

and contractors when paying them periodic bonuses. Starting by at least 2019 and for at least

once a year thereafter, Binance would conduct performance reviews Binance employees, and by

2020, Binance and BAM Trading would conduct performance reviews BAM Trading employees.

These reviews determined each employee’s compensation adjustments, such as salary increases

and bonuses paid in BNB, that were part of an overall compensation package to make it

competitive with the employment market and other economic factors.

       317.    As Zhao explained to employees in internal company “town halls,” during

Binance’s performance review process, Binance considers the overall compensation package that

it was paying employees, including a potential bonus in BNB, which was in turn considered

when adjusting the amount of other compensation, such as salary increases. For example, an

employee could receive less of a salary increase in exchange for a greater bonus in BNB.

       318.    Binance and BAM Trading engaged in a similar process when reviewing BAM

Trading employees’ compensation.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 83 of 215




       319.   In 2020, for example, Binance paid approximately $150,000 in BNB bonuses to

18 BAM Trading employees. And in 2021, Binance paid almost $1 million in BNB bonuses to

BAM Trading contractors working on the Binance.US Platform.

       320.   As another example, by 2020, Binance established a so-called Employee Token

Option Plan (“ETOP”) (which is comparable to an “Employee Stock Ownership Plan” or

“ESOP” in the traditional securities compensation context). ETOP granted bonuses in BNB to

high performing employees of Binance and BAM Trading, including those in the United States.

Before its launch, Zhao touted in a public blog post on the Binance website that ETOP was

Binance’s “new incentive structure” for employees.

       321.   Like other components of employees’ compensation, when making ETOP grants,

Binance would consider the total compensation it gave each employee. For example, an

employee could receive less of a salary increase or bonus in exchange for a greater ETOP grant.

       322.   For example, since 2021, BAM Trading’s Head of Product received

approximately 375 BNB per year as part of Binance’s ETOP.

       323.   In addition, after Binance implemented its ETOP, it offered certain new

employees an ETOP benefit when negotiating total compensation before they began working

with Binance. If an employee negotiated an ETOP benefit, that would factor into how she would

receive other forms of compensation. For example, an employee could negotiate a lower salary

or bonus in exchange for a greater ETOP grant.

       324.   Further, since at least 2020, Binance offered and sold BNB to Binance and BAM

Trading employees when paying them relocation “allowances.” Binance had a policy of paying

“allowances” in BNB to fund the increased living expenses of employees who agreed to move to
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 84 of 215




more expensive geographic locations to work for Binance or BAM Trading. Such employees

would receive payments in BNB on a monthly basis for a set number of years.

       325.    For example, in May 2022, BAM Trading’s Head of Product agreed to move from

Shanghai, China, to Canada, in exchange for Binance’s agreement to pay him two monthly

allowances in BNB for the ensuing two years that totaled over $9,000 per month.

       326.    Binance has not limited BNB distributions to employees who resided in

jurisdictions where BNB may be used as a form of payment for goods and services (to the extent

any such jurisdictions exist). Nor has Binance imposed any restrictions requiring that employees

only “use” BNB (as opposed to simply selling it to a third party). In fact, when making these

BNB payments, Binance has not placed any restriction on these employees’ ability to resell their

BNB to any person, in whatever amounts or price they wished, without any holding period—

including to exchange the BNB into the fiat currencies they would need to spend as they desired.

       327.    While Binance has been offering BNB to its and BAM Trading’s employees and

contractors, Binance has led those employees and contractors to reasonably expect to profit from

Binance’s ongoing efforts to grow the Binance.com Platform and the BNB ecosystem. Binance

specifically promoted BNB to its employees as a way to invest in Binance’s growth and financial

success, similar to how a company offers stock or more traditional securities to its employees.

       328.    At the same time, Binance also made statements inconsistent with inviting an

employee to view BNB as a product that they could, or even should, “use.”

       3.      In internal Binance town halls, Zhao frequently touted Binance’s ETOP as

essentially equivalent to employee stock options—i.e., as a direct way for employees to share in

any profits from the growth of the Binance.com Platform and the Binance enterprise. He has

also encouraged Binance employees to hold BNB to share in the company’s profits, noting that it
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 85 of 215




would correlate closely to the company’s long-term financial growth. Since the ICO, Binance

has encouraged the Binance.com Platform’s customers to buy BNB by offering a 25 percent

discount when investors use BNB to purchase a crypto asset. (This discount was 50 percent in

the first year after the BNB ICO.) Accordingly, Binance creates additional financial incentives

to buy BNB, thereby increasing demand for BNB, and its value. In other words, the trading

discounts that Binance offered BNB purchasers further tie BNB’s success, and thus BNB

purchasers’ profits, to Binance’s success.

       4.      Since Binance.com launched in July 2017, BNB has traded on the Binance.com

Platform, and Binance and Zhao have continued to lead BNB investors to believe that BNB’s

price is tied to the success of the Binance.com Platform. For example, in a public “Ask Me

Anything” discussion on Reddit on June 28, 2017 (the “AMA”), Zhao explained:



       5.      Binance has continued to tout the investment potential of BNB over time, and has

continued to tell investors after the ICO that Binance’s efforts to make the Binance.com Platform

more profitable will increase BNB’s value. For example:

            a. In an interview broadcasted globally on YouTube.com on October 10, 2018,
               Binance’s Chief Growth Officer stated, “By having people invest in BNB token,
               they’re even more interested in the success [of the Binance.com Platform] … By
               holding BNB, you are effectively holding an influential share of the crypto
               project.”

          b. In an interview broadcasted globally on YouTube.com on January 10, 2020,
              Binance’s Managing Director stated, “Recently we launched lending, we
              launched staking, we launched futures, all of those new businesses contribute to
              the value of BNB.”
       296.329.

       297.330.       In an internal Binance town hall on December 17, 2020, for example,

Zhao stated, “[M]ost“most [use cases for BNB] are still early stage” … [the Binance.com
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 86 of 215




Platform] is [a] relatively big driving force for [BNBBNB’s] value … For anything we are

significantly involved in we’ll push BNB as much as we can. We’re also incentivizing the

ecosystem … we have the Binance Smart Chain fund which we pledge $100 million we’ve given

out … 20-30 grants already each one of them maybe about $100K or $50K um just for

developers to come up with new use cases.” Zhao also stated, “I believe 100% that BNB will

outpace BTC [bitcoin] … if I didn’t believe that I would just hold BTC … I’m fully bullish that

BNB will outrun BTC.”or $200k um just for developers to work on applications on the Binance

Smart Chain.”

       331.     Zhao further stated in that town hall, “I also always tell people – don’t look at

[BNB’s] price on a short-term basis. Look at the price on a yearly basis … The other times, we

should just worry about building stuff. We need to focus on execution. So as long as we do our

jobs right, as long as we work hard, I am very, very bullish. I believe 100% that BNB will

outpace Bitcoin … if I didn’t believe that, I would just hold Bitcoin and do nothing else … The

fact that I spend all my time, and we spend all of our time in Binance, means that I fully believe

that, given the team we have, given what we have done, and given our abilities, I’m fully bullish

that BNB will outrun BTC in the long run.”

       332.     Similarly, in a February 2, 2021 internal Binance town hall, Zhao did not

encourage employees to “use” BNB, but encouraged them to treat BNB as an investment, stating

that, for employees who wanted to share in Binance’s profits, he “strongly urge[d] them to either

hold BNB, ask for more ETOP, …. [because] [m]ost of those things are more closely tied with

the company’s long-term value, long-term potentials.”

       333.     Both Binance’s and BAM Trading’s internal so-called “Insider Trading Policy”

also treated BNB similar to how companies treat their own stock in traditional markets—
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 87 of 215




providing that all employees “should refrain from trading their BNB upon important

announcements like BNB coin burn or profit/revenue declarations.”

       334.    Binance’s and BAM Trading’s employees and contractors have been aware of the

economic reality that purchasing BNB is a way to invest in the future success of the BNB

ecosystem, including the Binance Platforms. As one example, in November 2019, BAM CEO A

and another BAM Trading employee discussed over an electronic messaging platform whether to

offer a new potential employee a signing bonus in BNB because it “gets her instantly ‘invested’

in Binance.”

       298.335.        Further, publicly reminding investors what the economic reality made

plain—that Binance’s fortunes with respect to BNB were tied to BNB investors’ fortunes, and

that Binance and its employees had strong financial incentives to undertake efforts to increase

BNB’s value—Binance has frequently touted the popularity of Binance’s BNB compensation

program. For example, in a February 11, 2019 interview that was posted on a popular website

called Medium and that is still available online as of September 1, 2024, Zhao stated, “Almost all

[employees] take some comp in BNB. Many take 100% in BNB. They know what we do, and

how we do it, literally, from inside out. And it is an easy decision for them to make.”

       336.    Similarly, an article that is still available on Yahoo Finance as of September 5,

2024, reported on a July 3, 2019 tweet by Zhao, in which he—unlike the CEO of a company that

may tout an increase in the sale of the “products” it sells to “consumers” or to “users” of the

product—touted that Binance employees held 32 million BNB on the Binance.com Platform and,

that, although they could sell them, they were choosing to hold BNB. The article is still

available online as of September 5, 2024 (although Zhao’s tweet has been since deleted from his

account). The article further noted, “Employees, we’re told, are able to spend them as they like
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 88 of 215




but haven’t and instead, are in favor of HODLing for the long term.” (Terms such as “HODL”

and “hodling” are commonly used in the crypto space to promote the holding of crypto assets,

and stand for “hold on for dear life.”)

       337.      Moreover, Binance’s numerous promotional statements to the general public

regarding BNB, including those alleged below—through which Binance invites BNB holders to

reasonably expect profits from Binance’s efforts—are equally available to Binance and BAM

Trading employees as they are to the general public. Indeed, some of these employees are

responsible for drafting and issuing the statements described herein.

              iii.      Since the Launch of the Binance Platforms, Binance has Continued to
                        Offer and Sell BNB as a Security, and Binance and BAM Trading have
                        Intermediated Transactions in BNB

       338.      After the ICO and continuing through the present, Binance has itself offered and

sold BNB on the Binance Platforms, including through market makers such as Sigma Chain and

other platform accounts it owned and controlled. Between September 2019 and June 2022, for

example, Sigma Chain sold over $2.2 billion in BNB to investors on the Binance.US Platform.

       339.      Because Binance did not register these post-ICO offers and sales of BNB with the

Commission, Binance violated Section 5 of the Securities Act.

       340.      In addition to its own offers and sales on the Binance Platforms, since Binance

launched the Binance.com Platform in 2017, Binance has generally made and continues to make

BNB available for trading by Binance.com Platform customers. BAM Trading has also made

and continues to make BNB available for trading by customers on the Binance.US Platform

since its launch in September 2019.

       341.      At all times that Binance and BAM Trading made BNB available for trading on

the Binance Platforms, including to today, Binance has offered and sold BNB as a security.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 89 of 215




       342.    Binance and BAM Trading intermediated transactions in all of the BNB that have

traded on the Binance Platforms, such as through their spot trading and OTC trading services.

       343.    For these transactions (Binance’s selling of BNB to investors and investors’

selling BNB to each other), Binance and BAM Trading acted as broker-dealers, exchanges, and

clearing agencies without registering with the Commission in violation of the Exchange Act

registration provisions alleged herein.

       344.    Investors buying BNB on the Binance Platforms have invested money by

purchasing the BNB with fiat and/or other crypto assets in their user accounts and held by

Binance and BAM Trading on their behalf.

       345.    Investors who purchased BNB on the Binance Platforms were investing in a

common enterprise with Binance and with each other—whether they were purchasing it from

Binance, including through a market maker or other affiliate, or from resellers who did not.

       346.    All BNB, including BNB offered and sold on the Binance Platforms, were and are

fungible with each other—just like the BNB offered and sold during the ICO.

       347.    Further, investors purchasing BNB on the Binance.com Platform have exchanged

it for fiat or other crypto assets that Binance held in crypto asset wallets and Binance’s bank

accounts that were pooled with other investors’ funds. As to the Binance.US Platform, investors

purchasing BNB exchanged it for fiat or other crypto assets that were held in crypto assets

wallets and bank accounts and pooled with other investors’ funds that Binance had access to and

controlled during the relevant period as alleged herein.

       348.    Binance also had numerous accounts on the Binance Platforms, including through

market makers such as Sigma Chain, and through these transactions, Binance received the

proceeds of investors’ BNB purchases on both Binance Platforms.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 90 of 215




       349.    Binance does, in fact, continue to use the proceeds of BNB it receives over time

to fund its efforts to grow the Binance Platforms and to find other ways to increase the potential

demand for BNB. It also publicly promotes this fact, including by acknowledging it is the

largest BNB holder, and that it pays employees in BNB, as further described herein.

       350.    Further, since the BNB ICO, Binance has continually marketed its efforts with

respect to BNB as inuring equally to all BNB holders, regardless of how or when they purchased

BNB. In so doing, Binance has never announced or demonstrated through its business activity

that it manages separate projects or devotes efforts for separate types of BNB investors, such as

BNB ICO investors or investors who buy on secondary markets.

       351.    Zhao and Binance have continued to encourage BNB investors on the Binance

Platforms to understand that a purchase of BNB is an investment in a common enterprise from

which they can reasonably expect to profit from Binance’s managerial efforts to continue to

grow its trading platform business and other “products” that require BNB to operate, all of which

could lead to increased demand and the price of BNB over time.

       352.    Several aspects of the economic reality of BNB, Binance’s offers and sales, and

its relationship to Binance’s business ventures have led investors to reasonably expect profits

from Binance’s efforts.

       353.    For example, BNB was explicitly referred to as “Binance Coin” until Binance

rebranded it as “Build and Build” in February 2022; both terms tied BNB to Binance’s efforts to

“build” BNB.

       354.    In addition, Binance is the single largest holder of BNB—a fact that Binance

publicly acknowledges and touts.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 91 of 215




       355.    For example, the Binance Whitepaper that is still publicly available states that

Binance originally allocated 80 million BNB (or 40 percent of the total BNB) on a four-year

vesting schedule to the Binance Founding Team from the BNB ICO.

       356.    In a July 12, 2019 AMA event broadcast globally and still available on Binance’s

YouTube channel as of September 5, 2024, Zhao twice acknowledged that Binance was one of

the largest BNB holders, and therefore it was “still incentivized to increase the BNB value.”

       357.    Binance has since provided investors with updated information about its BNB

holdings, including providing the blockchain address at which it holds BNB, such that a BNB

investor can verify how much BNB Binance holds.

       358.    For example, on January 19, 2021, Zhao tweeted the four crypto asset wallet

addresses that hold the Founding Team’s BNB tokens. Binance’s disclosed crypto asset wallet

addresses remain publicly viewable on the internet. As of August 28, 2024, Binance still held

almost 14 million BNB in these wallets.

       359.    Similarly, in a November 10, 2022 blog post, Binance reported its BNB

blockchain addresses, and disclosed that its hot and cold wallets held 58 million BNB, out of an

approximately 160 million BNB then in existence. This disclosure reflected that these BNB

holdings were worth approximately $6.4 billion at then-prevailing prices.

       360.    In a December 23, 2021 blog post that is still on Binance’s website as of

September 5, 2024, Zhao explained the interconnected relationship between companies that

create their own crypto asset—such as Binance did with BNB—and the investors in that asset.

He first described the benefits Binance received from the BNB ICO, such as that the Founding

Team received a large allocation of BNB, which he noted at the time was worth $45 billion.

Zhao further reminded investors that Binance had publicly stated it was going to burn this
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 92 of 215




allocation of BNB over time, but he also acknowledged that Binance still receives BNB “through

providing our services.”

        361.    Further, as to the $45 billion in BNB that the Founding Team held, Zhao stated in

that blog post, “While this sounds like a real sum, I’d dare say it is still just a small portion of the

value you get from issuing a coin.” He described the “real benefit” that a company cannot

achieve by issuing equity is that it “create[s] a symbiotic growth environment with [a

company’s] users.” He further explained, “assuming the token offers some utility or benefits in

your platform or system, the people buying and holding your token are typically your users.

When the price goes up, the token holders, your users, benefit. Thus, they are incentivized to use

your platform more and get more friends onto your platform. . . . And they get rewarded through

token economics.” He concluded that this creates “a very sticky ecosystem” in which the

company benefits along with its customers.

        362.    Zhao has also touted his personal holdings in BNB, showing that his interests

were aligned with other BNB investors, and that he reasonably viewed his BNB holdings as an

investment. For example, in an August 1, 2022 tweet responding to another Twitter user’s post,

Zhao declared, “My holdings: 99% #BNB and 1% in #BTC.”

        363.    In addition to the foregoing, Zhao and Binance have engaged in other promotional

statements and activities that have led a BNB investor to reasonably expect profits from

Binance’s efforts with respect to the BNB ecosystem, including those purchasing BNB on the

Binance Platforms (and to buy and hold BNB, not to “use” it or “consume” it like one would an

ordinary, tangible item designed for use or consumption).

        364.    These promotional activities and statements have taken and are continuing to take

place on numerous internet-based platforms—including Binance’s website, social media
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 93 of 215




platforms, and electronic communications platforms such as Telegram Messenger, and

YouTube—that were and, absent efforts to delete them, continue to be widely distributed on the

internet and readily available to the general public as of September 2024.

       365.    Indeed, Binance’s Twitter account surpassed 11 million followers in 2023, and its

YouTube channel surpassed one million subscribers in August 2024. Binance also provides

links to its social media platforms on its website, making them readily accessible to anyone

accessing the Binance.com Platform.

       366.    The following are examples of Zhao’s and Binance’s promotion of buying and

holding—not using—BNB to investors (which have since been deleted from their accounts):

              a.   On January 13, 2021, Binance tweeted a picture of a Porsche that had a
                   license plate reading “HODL BNB,” and stated, “First, you buy, then you
                   #HODL. #BNB.”

              b.   On December 28, 2021, Zhao responded to another Twitter user’s tweet that
                   promoted how much money he made investing in BNB that displayed a
                   picture of a car, tweeting, “Life is simple. Just HODL #BNB #BTC”.

              c.   That same day, Zhao further replied to the BNB investor’s tweet, stating
                   “Wow. I assume you held on to those #BNB. No wonder the car. Congrats!”

       367.    Binance has also used its own website for these promotions. For example,

Binance has maintained a BNB price prediction blog on the Binance.com Platform’s website that

tracked customers’ “consensus rating” and “price target” for BNB for the upcoming three years.

Among other things, and much like one speaks of traditional securities, it offers the past 200-day

moving average price for BNB and gives a resultant “bearish or bullish divergence” on the token,

while cautioning that investors should “do your own research and trade on your own

knowledge.”

       368.    BAM Trading maintains a similar page about BNB on the Binance.US Platform.

Among other things, it contains “BNB Price Performance” data and price charts about BNB.
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 94 of 215




        369.    Further, starting at least as of August 2020, Binance’s website had a specific page

directed at educating buyers of BNB called “How to Buy BNB.” The page had step-by-step

instructions and a button an investor could click to go to the webpage that enabled them to buy

BNB on the Binance.com Platform. The webpage also had a section explaining “What to Do

After I Buy BNB” that listed the first option as “Store/Hold BNB,” that noted, “Many users hold

on to their BNB with the expectation of it increasing in value.” (emphasis added).

        370.    As of at least February 22, 2022, Binance’s “How to Buy BNB” webpage still had

the above-alleged promotional statements, and further explained that the “Reasons to Buy BNB”

included “[m]ake it part of a short or long-term investment strategy,” and “Hold your coin and

use it as a store of value.”

        371.    Further, Binance’s promotions of BNB have included specifically setting out

Binance’s planned future managerial and entrepreneurial efforts—or touting past, completed, or

in progress efforts—that it claims will increase the demand (and, therefore, the price) for BNB,

and explicitly attempting to link these efforts to actual or potential increases in BNB’s price.

        372.    For example, Binance seeks to increase demand for BNB by incentivizing those

who wish to trade in any crypto assets on the Binance.com Platform to also buy BNB. Binance

still offers a 25 percent discount in trading fees when investors use BNB to purchase a crypto

asset on the Binance.com Platform—and continues to publicly promote this tie to the platform,

as described herein. (The discount was 50 percent in the first year after the BNB ICO.) As such,

this discount intertwines the demand for, and therefore the price of, BNB with the demand for

trading on the Binance.com Platform.

        373.    Similarly, after the Binance.US Platform launched, BAM Trading—which has

been controlled by Zhao and Binance as described herein—offered a 25 percent discount to users
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 95 of 215




who held BNB on the platform. BAM Trading currently still offers a five percent discount for

BNB holders.

          374.   Binance has also continued its quarterly BNB “burn” program. At least until

November 2019, Binance continued this program as promoted in the Binance Whitepaper—that

the amount of burn was directly tied to Binance’s profits.

          375.   Since the ICO, Binance has regularly promoted its burns as a way to increase

Binance’s price. Zhao explained the economic reality of this program to investors in a

September 2, 2017 interview posted on YouTube and still available as of September 5, 2024, that

a “benefit we promised in the Whitepaper is every quarter we will use 20 percent of our profits to

buy back [BNB] at the market value … we will buy back and destroy those. We will destroy up

to 100 million Binance coins. Basically half of all available coins … Financially that works the

same way as a dividend economically.” (emphasis added).

          376.   Similarly, Binance’s website stated at least as of November 14, 2019, “Binance

schedules quarterly BNB burns to permanently reduce the supply of BNB, in turn, increasing its

value.”

          299.377.      And on January 19, 2021, Binance tweeted an emphatic announcement

tying Binance’s burns to BNB’s increased price:
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 96 of 215




       378.    Binance continued to have exclusive control over the amount of BNB that it

burned until at least December 2021, when it publicly announced an “Auto-Burn” program that

purported to be based on a formula that accounted for BNB’s market price.

       379.    Further, since the BNB ICO and continuing to today, Binance has been widely

promoting its other efforts to develop numerous products and networks that would rely on BNB

to operate, thereby potentially increasing BNB’s demand. Binance has promoted these efforts as

reasons for investors, including those trading on the Binance Platforms, to purchase BNB and

hold it as an investment in Binance’s ongoing business efforts with respect to BNB.

       380.    The following are a sample of the promotional statements and activities that, in

addition to the foregoing, reasonably led BNB investors on the Binance Platforms to expect

profits based on Binance’s efforts.

       381.    In a July 20, 2018 post on LinkedIn called “Binance’s First Year in Review,”

Zhao stated, “BNB (Binance Coin) has continued to grow steadily in value over the last year,

weathering the sluggish market crypto has been in since January 2018. Further developments are

expected for BNB in the next year including the transition to Binance Chain!”
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 97 of 215




       382.    Indeed, in April 2019 Binance launched the so-called Binance Chain, later called

“BNB Chain,” a new blockchain for which BNB was the native token, that required small

amounts of BNB to pay so-called “gas” or transaction fees.

       383.    In 2018, Binance also announced the launch of its “venture capital arm” called

“Binance Labs.” Since then, Binance Labs has invested more than $500 million in grants to

individuals and entities developing applications for Binance blockchains, including BNB-related

applications. In October 2022, for example, Binance announced on its blog that Binance Labs

was investing in seven new projects that, as Binance’s co-founder and Chief Marketing Office

(“Binance CMO”) described, “will grow further and positively impact the BNB Chain and the

broader crypto ecosystem.”

       384.    On October 10, 2018, in an interview broadcasted globally on YouTube and that

is still available online as of September 5, 2024, Binance’s Chief Growth Officer stated, “By

having people invest in BNB token, they’re even more interested in the success [of the

Binance.com Platform] … By holding BNB, you are effectively holding an influential share of

the crypto project.”

       385.    In a January 15, 2019 Binance blog post, Zhao explained that Binance decided to

launch a new decentralized crypto asset trading platform called “Binance DEX” but that this

platform would not charge any trading fees—which, Zhao touted, was a benefit to both Binance

and BNB holders because Binance DEX would rely on BNB to operate. He explained, “From an

earnings standpoint, Binance DEX will not directly increase profitability for Binance, but it will

certainly increase the utility of BNB in a big way. That should be good for BNB holders.

Binance is also a larger holder of BNB, so we benefit the same way as all BNB holders.” (The
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 98 of 215




last quoted sentence was still included in Binance’s blog as of April 2021, but it has since been

deleted.)

       386.    After Binance launched Binance DEX, Zhao promoted how it would potentially

increase the value of BNB in a June 19, 2019 AMA event that had about 3,000 live participants

and is available on Binance’s YouTube channel as of September 5, 2024. Zhao explained the

steps that Binance was taking to grow Binance DEX, and noted that, by working to increase

trading liquidity on Binance DEX, Binance’s efforts “hopefully … will benefit all BNB holders

as well.”

       387.    On February 6, 2019, Binance posted a blog on its website entitled “10 for 10:

How the Binance Ecosystem drives BNB to Top 10” that reported that BNB had become a top

10 trading crypto asset in market capitalization. Binance then described “the different ways that

each Binance division contributes to BNB’s Top 10 status” including that Binance has “strived to

provide the best crypto exchange service available the market,” planned new fiat exchanges

(which would include the Binance.US Platform), and Binance Lab’s role as Binance’s

“investment arm.” The blog concluded, “All of Binance’s divisions emerged from our relentless

quest to provide more value to stakeholders of the Binance ecosystem.”

       388.    In a March 7, 2019 tweet, Zhao responded to another user post and noted, “As a

CEO, it is my duty to promote $BNB. I owe it to our hodlers. And I like to interact with our

$BNB supporters.”

       389.    On December 31, 2019, in a website blog entitled “Binance 2019: Year in

Review,” Binance touted that it had “[i]ncreased the utility of BNB, one use case at a time” from

42 to over 180 use cases. Binance then promoted the fact that over one million Binance.com
   Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 99 of 215




Platform investors held BNB, which represented a 40 percent increase in average number of

daily BNB-holding investors for 2019 over 2018.

       390.    On January 10, 2020, in an interview broadcasted globally on YouTube and still

available online as of September 5, 2024, Binance’s Managing Director stated, “Recently we

launched lending, we launched staking, we launched futures, all of those new businesses

contribute to the value of BNB.”

       391.    On January 19, 2021, Zhao posted a blog on Binance’s website entitled “14th

BNB Burn - Quarterly Highlights and Insights from CZ” that heavily promoted BNB’s

continuing investment value, including that Zhao promoted BNB and tied its purported

increasing utility in the expanding ecosystem to investment returns for BNB investors, noting

that utility had been “expanding to hundreds of applications on numerous platforms and projects

within the crypto ecosystem. This has been reflected in the 43,000% increase in BNB price since

its initial sale.” He then noted his “longer term” vision for BNB, including that it become “a true

mass-adopted application,” but that Binance “still [has] a long way to go. We are working on it.”

       392.    As to a “2021 Forecast,” Zhao stated in that blog, “Bitcoin and BNB have broken

their previous [all-time highs] and are in price discovery now. I could be wrong here, but every

indication suggests it will likely continue.”

       393.    On February 22, 2021, a Binance website blog entitled “BNB Record-Breaking

February” reported that, in February 2021, BNB’s price hit $50 for the first time. Binance

explained that “two main forces drive growth: 1. The increase in trading activity on the Binance

platform” and “the emergence of BSC [Binance Smart Chain, another BNB-focused blockchain

that Binance helped develop and promote] and its projects as viable DeFi infrastructure

alternatives.” After noting that Binance had developed more than 200 purported use cases for
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 100 of 215




BNB, Binance promised investors, “We will continue to work on adding more use cases for

BNB for the sake of our community, which has driven unprecedented growth for the token

today.” Zhao is further quoted as stating that BNB’s “use cases have also expanded to hundreds

of applications on numerous platforms and projects within the crypto ecosystem. These are

reflected in its growing price.”

       394.    In a May 21, 2022 AMA with Zhao on Reddit that is still available as of

September 5, 2024, he was asked “Where does BNB Value come from?” He replied in part,

“BNB is a community coin. Myself and Binance contribute to this community by building extra

utility for BNB in our ecosystem wherever it makes sense. But the actual success and market

standing can be attributed to the community builders and users that make the BNB ecosystem so

strong.”

       395.    On July 15, 2022, in a live public event Binance hosted and that it broadcast on its

YouTube channel to celebrate the company’s fifth anniversary and that is still available as of

September 5, 2024, Binance’s CMO exclaimed, “We only have one job – that’s working for the

Binance user, and working for the BNB holder. Do we have a BNB holder here today?”

       396.    Also on July 15, 2022, Zhao tweeted, “I am spending all of my efforts on #BNB.

And shill #Bitcoin from time to time, when I am too shy to explicitly shill #BNB[].”

       397.    On June 13, 2024, Binance Labs announced a “BNB Incubation Alliance” with

others “to foster early-stage blockchain innovation” around BNB, and as part of its public

announcement, it noted that its launch “coincides with a surge in BNB’s market performance.”

       300.398.        In addition, BAM Trading similarly promoted the fact that BNB investors

on the secondary market should and were buying BNB as an investment in Binance. In an

interview with Forbes on July 29, 2021, BAM CEO B stated,
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 101 of 215




                “[W]e have learned a lot from the BNB coin (the Binance token)
               about the power of coupling incentives inside of a smart contract
               with fungibility. Think about what the Binance token is—it
               represents the right to receive discounts on our trading fees, which
               people use it for, a lot. But increasingly, people are choosing to
               hold the token, rather than spend it for the discount because they
               found that the increased value of the token as the company grows,
               exceeds the financial value of the discounts. And so it gets our
               customers to act a little bit more like owners—people who want the
               company to succeed; their interests are aligned with that of the
               company.” (emphasis added).

       6.      From the launch of BNB to the present, Binance has maintained a BNB price

prediction blog on its website that tracked customers’ “consensus rating” and “price target” for

BNB for the upcoming three years. Among other things, it offers the past 200-day moving

average price for BNB and gives a resultant “bearish or bullish divergence” on the token, while

cautioning that investors should “do your own research and trade on your own knowledge.”

       7.      Binance has additionally worked to increase demand for BNB by seeking to

create additional ways in which BNB can be used—thereby further increasing demand for the

token and its value. For example, Binance launched a $7.5 billion “venture capital arm” called

“Binance Labs.” Binance Labs has invested more than $500 million in grants to individuals and

entities developing applications for Binance blockchains, including BNB-related applications.

And in October 2022, Binance announced that Binance Labs was investing in seven new projects

that, as a Binance founder described, “will grow further and positively impact the BNB Chain

and the broader crypto ecosystem.”

       399.    While Since the launch of the Binance.US Platform, BAM Trading has also used

its widely available social media platforms to promote BNB consistent with Zhao’s and

Binance’s promotions. For example, via its Twitter account, which as of September 1, 2024, has
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 102 of 215




over 450,000 followers, BAM Trading has regularly promoted BNB’s investment value and

encouraged customers to buy and hold BNB, such as on the following dates:

             a. November 28, 2019: “Black Friday – Up to 75% discount for $BNB holders is
                LIVE now! #HODL 5 BNB or more and #useBNB to pay for fees to get a 75
                discount!”

             b. June 14, 2020: “Earn 20% of your friends’ trading fees or better yet earn 40%
                when you have a balance of 500+ $BNB! It pays to HODL $BNB and refer your
                friends!”

             c. August 27, 2020: “Top Gainers: $ONE +11.2%, $MANA +5.8%, $BNB 1.1%;
                See all the prices and trades with the lowest fees in America”

             d. April 8, 2021: “#BNB all time high; See you on [weblink to Binance.US
                Platform]”

             e. March 5, 2022: “365 days ago… $BTC - $48,927… $BNB - $226 … Get started
                [weblink to the Binance.US Platform]”

       301.400.        Moreover, while Binance initially launched BNB on its own platform, it

has also sought to make BNB available for trading on other platforms that, like the Binance

Platforms, tend to attract investors in crypto assets. On June 28, 2017, Zhao explained, “Our

current intention is to focus on building a successful exchange platform first. The coin will be

valuable if the exchange [] has high trading volume, naturally people will want to buy and use

the coin to pay for fees, which creates circulation and liquidity. We won’t be aggressively

asking other exchanges to list the coin on their exchange. But if they want to, we won’t (can’t)

stop it. We will happily support them, as it is good for us to have it trading on other exchanges

as well.” As of March 30, 2023, BNB was traded on more than 100 crypto asset trading

platforms.

       8.       In addition, since at least 2019, Binance has offered and sold BNB to its

employees in the United States and elsewhere by offering to pay salaries in BNB.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 103 of 215




       401.    Publicly reminding investors what the economic reality made plain—that Binance

and its employees’ fortunes with respect to BNB were tied to BNB investors’ fortunes—Binance

has frequently touted the popularity of Binance’s program of offering BNB as compensation to

its employees. For example, in a February 11, 2019 interview, Zhao stated, “Almost all

[employees] take some comp in BNB. On June 19, 2019, Zhao tweeted praise for another crypto

trading platform that was going to list BNB, stating it was “a very smart move” that would

“[a]ttract BNB traders and holders, especially users we had not been able to service.”

       402.    As of March 30, 2023, BNB was traded on more than 100 crypto asset trading

platforms around the world.

       403.    This economic reality and the fact and content of Zhao’s, Binance’s, BAM

Trading’s, and other related entities’ promotional activities and statements as to BNB from the

ICO and continuing through today, has led BNB investors (including those post-ICO) to

reasonably expect profits. These circumstances also lead investors to understand that they are

aligned with Binance in financially benefiting from the on-going secondary market trading of

BNB, because it drives the appreciation in BNB’s market price, such that Binance can further

profit financially and have additional funds to continue this business, alongside the increased

fortunes of BNB investors.

       404.    These objective economic realities are also reflected in third-party reports on

BNB’s value. A May 16, 2024 Forbes Advisor article, for example, notes that the growth of the

Binance.com Platform “alone drives significant demand for BNB, which could explain its

resilience against rapid price decreases,” as did “[g]rowth of the BNB chain ecosystem.” As to

risks with BNB, the article states, “Perhaps the most significant risk to BNB’s future would be

any challenges to the survival of Binance itself. While BNB’s direct relationship with the
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 104 of 215




exchange as its native token has its benefits, it also leaves BNB vulnerable to collapse if

anything happens to the exchange. As was the case in late 2023, negative news for Binance is

also interpreted as negative news for BNB.” The article concludes, “whether [BNB] is a good

investment for an individual ultimately depends on their belief in the Binance ecosystem,

confidence in the ecosystem’s future and belief in the overall success of crypto.”

       405.    Similarly, as of at least August 2, 2024, a frequent poster on Binance’s own social

media platform called “Binance Square” wrote a post viewed by over 13,000 people that was

entitled “Will Binance Coin reach $1000 in 2024?” that states, “In 2024, BNB shows a

significant recovery with a 90% return. As the largest centralized crypto exchange, Binance’s

growth is expected to positively impact BNB prices.” It concludes, “BNB remains a profitable

long-term investment, backed by initiatives like auto-burn mechanism and a strong ecosystem.”

       9.      Many take 100% in BNB. They know what we do, and how we do it, literally,

from inside out. And it is an easy decision for them to make.”

       10.     Between 2019 and 2022, at least 37 U.S.-based Binance employees received over

$3.89 million worth of BNB as salary. Binance did not place any restriction on these employees’

ability to resell their BNB tokens to any person, in whatever amounts they wished.

       11.     Binance has also offered and sold BNB to recruit new employees to work with

Binance or BAM Trading. For example, when Zhao hired BAM CEO A, she received 50,000

BNB as an “Incentive Bonus.”

       12.     Further, in internal Binance town halls, Zhao frequently touted Binance’s

Employee Stock Token Options Plan (“ESTOP”), which granted high performing employees

BNB, essentially equivalent to employee stock options, as the best way for employees to profit

from the growth of the Binance.com Platform. He has also encouraged Binance employees to
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 105 of 215




hold BNB to share in the company’s profits, noting that it would correlate closely to the

company’s long-term financial growth.

          13.    BNB has traded on the Binance.com Platform since its July 2017 launch and on

the Binance.US Platform since its September 2019 launch.

          14.    Each BNB token is identical to every other BNB token, and the price of all BNB

tokens increases or decreases together.

          15.    Furthermore, Binance’s distribution of tokens among investors and its Founding

Team aligned their incentives in building a successful Binance.com Platform, as that would yield

an increase in BNB’s market price that would yield profits to all BNB investors.

          302.406.      Since its ICO price of $0.15, BNB’s market price has risen in line with the

growth of trading volume on the Binance.com Platform, which is now the largest crypto asset

trading platform in the world. According to CoinMarketCap, a popular website that publishes

market and other information about crypto assets (and is owned by Binance), BNB’s market

price as of March 30, 2023 was $317September 5, 2024, exceeded $505, and its market cap

exceeded $5072 billion, putting it in —the top five most valuablefourth largest of all crypto

assets.

          407.   In 2024 alone, CoinMarketCap reports that the price of BNB has fluctuated from

as low as $294 to as high as $710.

          408.   According to CoinMarketCap, as of September 8, 2024, BNB had a daily trading

volume of over $1.3 billion on the Binance Platforms and other trading platforms based upon a

“circulating supply” (a term CoinMarketCap describes as “analogous to the flowing shares in the

stock market”) of approximately 146 million BNB.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 106 of 215




       B.      Binance Offered and Sold BUSD as a Security.

       303.409.        From September 2019 through February 2023, Binance offered and sold

BUSD to U.S. investors as part of a profit-earning scheme within the Binance ecosystem, touting

returns for investors from simply buying BUSD or deploying it in Binance profit-generating

programs.

       304.410.        Since its inception, BUSD has been offered and sold as an investment

contract and, therefore, as a security.

       305.411.        BUSD is an ERC-20 token issued on the Ethereum blockchain. Pursuant

to a September 5, 2019 “Stablecoin as a Service Agreement” (“BUSD Agreement”) between

Binance (Switzerland) AG, a Binance affiliate, and Trust Company A, the parties agreed to

“build and manage the platform on which BUSD can be issued and redeemed” in exchange for

one U.S. Dollar and to maintain reserves supporting redemptions. Binance’s affiliate agreed to

“list, market, and promote BUSD” to investors. Binance has since marketed BUSD as a so-

called “stablecoin”—purportedly backed with cash (and cash equivalent) reserves and

redeemable on a 1:1 basis for U.S. dollars—that allows investors to participate in various profit-

making schemes available through the Binance ecosystem. Trust Company A agreed to invest

the BUSD reserves (essentially, proceeds from investors’ BUSD purchases) in profit-generating

opportunities for the benefit of both Trust Company A and Binance. Trust Company A and

Binance agreed that they would evenly split the net interest revenue earned on the reserves

underlying BUSD.

       306.412.        As of February 10, 2023, over $16 billion worth of BUSD were in

circulation. Approximately 90 percent of outstanding BUSD at that time was held in wallets

controlled by Binance, most of which was BUSD deposited by investors and held in Binance

omnibus wallets.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 107 of 215




       307.413.        On February 21, 2023, NYDFS—which regulates Trust Company A as a

limited purpose New York trust company and authorized it to offer BUSD subject to anti-money

laundering, anti-fraud, and consumer protection laws—directed Trust Company A to stop

minting BUSD “as a result of several unresolved issues related to [Trust Company A’s] oversight

of its relationship with Binance.”

       308.414.        From September 2019 through February 2023, Binance offered and sold

BUSD to investors on the Binance.com Platform. Investors in the U.S. and elsewhere could also

purchase BUSD from Trust Company A.

       309.415.        BUSD purchasers invested in a common enterprise with each other and

with Binance—the BUSD ecosystem through which BUSD holders and Binance could and did

earn returns through various forms of capital deployment. The proceeds from investor purchases

of BUSD were purportedly pooled in reserves, and Binance earned 50 percent of the investment

returns on those pooled assets (which increased as more investors purchased BUSD). Binance

then used at least a portion of those returns to enable and promote the Binance ecosystem that

gave BUSD its profit potential.

       310.416.        Binance has, from the outset, marketed BUSD’s profit-earning potential

and referred to the various “APYs” (annual percentage yield) that investors may earn with

respect to their BUSD holdings. The BUSD profit opportunities promoted by Binance include

the “Binance Earn” programs, as well as margin and futures products.

       311.417.        For instance, Binance offered a “BUSD Reward Program” that promised

interest payments to BUSD investors merely for holding BUSD on the Ethereum blockchain.

Binance explained to investors that it would “rank all crypto addresses that hold BUSD based on

the average daily amount of BUSD held within 30 days. After that, we distribute a set amount of
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 108 of 215




BUSD according to the percentage of the crypto addresses’ holdings relative to the total market

cap of BUSD.” Binance continued: “In effect, the BUSD Reward Program allows you to earn

additional funds on top of what you already earn from DeFi.” In other words, while investors’

profits with respect to BNB, Binance’s crypto asset that it has offered and sold as a security

BNB, came in the form of price appreciation, BUSD investors’ expectation of profits came from

the potential for direct, interest-like payments made by Binance, in part from the proceeds of

deploying BUSD investors’ capital.

       312.418.        Binance touted and promoted these profit-making opportunities. For

example, in a September 2020 article posted on its website, Binance celebrated BUSD hitting a

$1 billion market cap “in just 261 days, the fastest-ever for a stablecoin.” A subsequent Binance

blog posts on its website touted “various earning opportunities for holding BUSD in Binance,”

including “Binance Flexible Savings, through which you can earn a bonus BUSD at a 2%-5%

APY” and “an auto-deposit function, which automatically transfers BUSD from your spot wallet

to Flexible Savings, making it possible for you to earn even if you forget to proactively save,” a

“Binance Launchpool” where a user’s “BUSD deposit will get you a share of the free tokens

from the offerings that launch on the platform and include BUSD in their yield options,” and

“DeFi staking offerings” that “can give you around 20%-30% APY.”

       C.      Binance Offered and Sold Its BNB Vault and Simple Earn Programs as
               Securities.

       313.419.        Binance has offered two other securitiesinvestment programs on the

Binance.com Platform as securities—the “BNB Vault” and “Simple Earn” programs.

       314.420.        Binance has regularly marketed the Simple Earn and BNB Vault programs

asunder the marketing umbrella “Binance Earn,” which it touts as “a suite of products for you to

grow your crypto holdings easily.” Binance has offered and marketed these profit-making
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 109 of 215




opportunities to investors in the United States and elsewhere. through its website, blog posts,

social media campaigns, and YouTube videos, all of which, as noted above, are widely available

to the general public.

       421.     Binance In a “Beginner’s Guide to Binance Earn” posted on its website

(“Guide”), Binance explains that the Binance Earn programs are a form of “passive investing:”

                When people first begin their journey into cryptocurrency trading
               and investing, they often start with spot trading, which is among
               the simplest ways of buying and selling financial assets. However,
               many feel uncertain about what to do with their idle digital assets,
               so passive investing can be a good choice – and Binance Earn is a
               great place to get started. . . . Passive investing is a way for people
               to grow their money without working too hard. It means putting
               money into things like stocks or cryptocurrencies and letting it
               grow over time. You don’t need to check it all the time or do lots
               of buying and selling. This approach has gained popularity not
               only in traditional markets but also in the cryptocurrency space. . . .
               In the crypto space, passive income can be generated through
               various methods, each with its own set of risks and rewards. A
               few common examples include staking, yield farming, and lending
               and borrowing.

       422.    In the Guide, Binance touts the ease and efforts an investor can save by deferring

investment decisions to others, noting “[p]assive investing requires less time and effort compared

to active trading, making it suitable for investors who prefer a hands-off approach to managing

their portfolios.” The Guides also notes that Binance Earn program offers investors with an

“investment strategy” for deploying their idle assets.

       423.    And in the “Closing Thoughts” section, the Guide notes: “Passive investing in

cryptocurrencies can offer great opportunities for individuals to grow their holdings over time

with minimal effort. Binance Earn provides users with access to a variety of products designed

to maximize passive earnings while minimizing risk.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 110 of 215




       424.    As one of the Binance Earn offerings, Binance’s marketing for Simple Earn as

programs that pay focuses on passive investing. True to its name, the business proposition for

Simple Earn is straightforward. Binance urges its customers to invest their “idle” tokens in

Simple Earn so that Binance can, on the investors’ behalf, take advantage of high demand in the

market for these assets, including for use in margin trading and staking operations.

       425.    Binance promises profits to investors in the Simple Earn program (alternatively

referred to as “passive income,” “yields,” “rewards,” and “interest to investors who lend”) in

exchange for investing their crypto assets towith Binance for fixed or flexible lengths of time. ,

so that Binance can, using its expertise and managerial skills, deploy the assets to generate these

profits. As an employee from the Binance Earn team described it in a September 2022 AMA

webinar involving Binance.com Platform customers, “[a]s the name [Simple Earn] suggests, we

want to simplify, streamline . . . earning passive income.”

       426.    Binance describes Simple Earn on its website as a program where “you can reap

rewards on more than 300 types of digital assets, thereby transforming your investment

portfolio’s potential.” Although Simple Earn has been branded under various names (such as

Binance Savings, Binance Lending, and Binance Staking), Binance has consistently described

the potential profits as coming primarily from Binance’s efforts to deploy investors’ funds for

lending to other users, for on-chain staking, and other Binance business operational purposes

where liquidity is needed.

       427.    For example, Binance states on its Simple Earn webpage section titled “Source of

Yield” that “[d]eposits in Simple Earn Products may be loaned to other Binance users (e.g.

Margin and Binance Loans products) or used for staking on Proof-of-Stake (PoS) networks to

generate yields.” Elsewhere on its website, Binance states, “When you subscribe to Simple Earn
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 111 of 215




Flexible Products, you’re providing liquidity to business units within Binance for operational

purposes. This includes lending Simple Earn assets to other users via Margin and Loan products.

The interest paid depends on accrued from Margin and Loan products is converted into yield,

which may be distributed to you as compensation for supplying your assets as liquidity.”

       428.    Simple Earn returns are advertised in terms of APRs that depend on a number of

factors, including the crypto asset lent andinvested (or “subscribed”), the duration of the loan.

investment, and whether the Simple Earn offering is “flexible” or “locked.” Binance allows

Simple Earn investors to withdraw their subscribed assets from the program at any time, but they

may forgo accrued rewards if they withdraw assets from a locked offering before the stated term.

       315.429.          For instance, investors who lentinvested a particular crypto asset through

Simple Earn as of April 24, 2023 were promised profits of 18.9%. percent. Throughout the

spring of 2020, Binance tweeted that it was offering a 15 percent APR for participants in the

BUSD-specific Simple Earn product, and 10 percent in the Simple Earn product for another

crypto asset. As of June 2024, Binance continued to offer returns as high as 19.9 percent for

certain crypto assets.

       316.430.          Binance determines the Simple Earn rate for each of its offerings at its

discretionBinance further explains to Simple Earn investors the constant analysis of market

conditions Binance will undertake to generate profits for investors. For example, Binance

explains in a “Frequently Asked Questions” section of a Simple Earn webpage that Binance

assesses market conditions on a real-time basis for demand and liquidity needs, taking into

account various “factors which are carefully designed to ensure that rewards paid to users are

sustainable and competitive.”

       16.     According to Binance, it may pool assets loaned through Simple Earn and use its
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 112 of 215




managerial expertise to deploy them “for a variety of purposes,” including on-chain staking,

loans, or for operational purposes by other business units within Binance.

       431.    Throughout the spring of 2020, Binance tweeted that it was offering a 15% APR

for participants in the BUSD-specific Simple Earn product, and 10% in the Simple Earn product

for another crypto asset. The entrepreneurial and managerial efforts to earn profits for investors

has been performed by Binance’s dedicated “Earn” team in Asia. Some of those team members

have held public AMA webinars, recordings of which are available on the Binance.com website

as of September 5, 2024, to answer investor questions about Simple Earn, including questions

about sources of Simple Earn yields and the fact that rates change constantly to account for

market conditions (and implicitly, Binance’s ability to generate yield based on those market

conditions). In one of those AMAs in December 2022 (“December 2022 AMA”), for example, a

Binance team member stated,

               [investors] need to understand how the APR is calculated. We have
               several factors. It’s actually related to the source of yield. And we
               make sure that the APRs are both competitive in the market and
               also reasonable. So that’s why we keep monitoring all those
               factors. For example, there may be one factor such as the [Proof of
               Stake] staking rewards on chain and that might be one factor and
               the other factor may be the demand on the market for margin
               loans. . . . And all those factors together will change the APR that
               we are providing to the users.

       432.    Both Binance’s AMAs and its webpages touting Simple Earn are geared toward

retail investors: for example, Simple Earn is listed as an investment product suitable for

“Beginners,” and significant portions of the December 2022 AMA concerned how investors

posting questions can be selected to win free t-shirts.

       433.     Binance makes clear to investors that the assets they invest in Simple Earn will

be pooled with other investors’ crypto assets as they are deployed. For example, Simple Earn’s
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 113 of 215




Terms of Use state, “Simple Earn Assets used to Subscribe for a Simple Earn Offer will not be

segregated from the Digital Assets of others. Simple Earn Assets may be commingled in hot

wallets and cold wallets with Digital Assets belonging to Binance Group Entities and clients of

Binance Group Entities globally. You will not have a right to recover any specific Digital

Assets.”

       434.    Binance also emphasizes the pooling and deployment of fungible crypto assets

invested in Simple Earn in terms of “liquidity pools”—in which investor funds are treated as

interchangeable as they are deposited and withdrawn—while also disclosing the risk of delayed

redemptions during times of market upheaval. On its website, Binance states,

               We aim to keep a portion of each liquidity pool available for
               redemptions by setting utilization limits on each token, while
               maintaining balance in liquidity pools. Nonetheless, a large amount
               of redemption requests for a specific token may lead to temporary
               shortages in available balances. In these cases, redemptions can
               resume once borrowers repay their loans or when additional
               liquidity is provided by other users.

       435.    By design, Binance does not disclose to any given investor precisely how her

specific funds will be deployed within the Simple Earn program. The disclosures above make

clear that invested assets will be pooled and deployed as Binance sees fit (depending in part on

its own assessments of investment risks, rewards, and opportunities) to generate profits, without

investors needing to undertake the logistical requirements of staking or direct lending

themselves.

       436.    Binance also discloses to its customers that, despite the contractual promise of

specified returns, investments in Simple Earn are subject to risk as Binance deploys those funds.

For example, Binance’s terms and disclosures state that “the use of Simple Earn Assets for

operating purposes (including for loans under Margin and Loan products and for on-chain
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 114 of 215




staking activities) may be subject to various risks. In exceptional circumstances these risks could

negatively impact the ability of Binance to return your Simple Earn Assets in full or at all.” In

the December 2022 AMA, for example, a Binance Earn team member reminded investors that a

risk for Simple Earn “can be the change of the crypto value.” “For example, if you lock your

crypto funds into Simple Earn locked product, the value of the token can actually change sharply

. . . over 24 hours so that may be the risk the users need to keep in mind.”

       437.    But Binance also has sought to assure investors about measures it takes to

minimize the risk to funds invested in Simple Earn. As Binance stated in a website post,



               Assets may be used for on-chain staking in a tightly controlled
               manner. Binance may stake through official staking pools, or
               operate validators and nodes to participate in Proof-of-Stake (POS)
               network staking. The staking pool selection is determined via
               stringent risk assessment protocols. Validators and nodes operated
               by Binance are set up with security as the utmost priority. Assets
               may also be used by other business units in Binance for operational
               purposes. However, business units must adhere to stringent
               policies and explicit limitations around utilizing user assets
               deposited in Simple Earn.

       317.438.        BNB Vault is a similar program that is limited to holders of BNB and

described on Binance.com as a “BNB yield aggregator” whereby investors can lend their BNB to

Binance to earn investment returns.

       318.439.        In November 2020, Binance announced the BNB Vault launch: “#Binance

Launches BNB Vault – Earn Daily Income from the $BNB Ecosystem.”

       319.440.        Binance states on its website that BNB “deposited” in BNB Vault will be

“flexibly allocated in different products to help users maximize potential rewards.” These

products include Simple Earn and “Launchpool,” a product advertised as rewarding users for
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 115 of 215




staking tokens in connection with new token launches. Similar to Simple Earn, Binance has

offered varying APR returns for BNB Vault investors.

       320.441.       One tweet from Binance touted the profit potential of BNB Vault: “Just

one click can increase how much you earn with your #BNB. BNB Vault combines the multiple

income benefits of #Binance Smart Chain, Launchpool, Savings, #DeFi Staking, and more

through just one interface.” A second tweet linked to a Binance.com page with a heading

“Introducing BNB Vault: One-Click Earning for Your BNB Holdings.”

       321.442.       In both the Simple Earn and BNB Vault programs, Binance pools the

crypto assets lent by investors and uses those assets to generate revenue that wasis used to pay

returns to investors in Simple Earn and BNB Vault. Investors share pro rata the benefits of their

pooled investments in the Simple Earn and BNB Vault programs.

       322.443.       Binance exercises discretion and uses its entrepreneurial expertise in

managing both programs, including identifying liquidity needs, negotiating with Launchpool

issuers, choosing terms, holding and controlling the invested assets, and generating revenue,

through its operation of the Binance.com Platform to pay the Simple Earn and BNB Vault

investors.

       323.444.       From October 2019 through October 2022, at least 3,200 and as many as

16,500 U.S. investors have participated in the Simple Earn investment programs, and at least

1,400 U.S. investors have participated in the BNB Vault program.

       324.445.       Since the inception of each, Binance has thus offered and sold both Simple

Earn and BNB Vault as investment contracts and, therefore, as securities.

       D.      BAM Trading Offered and Sold Its Staking Program as a Security.

       325.446.       In or around February 2020, BAM Trading began offering its Staking

Program to Binance.US Platform investors, marketing the program to the public as a way to earn
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 116 of 215




“passive income” through the efforts of Binance. While, in theory, any individual can seek profit

through their own staking efforts, BAM Trading promotes its Staking Program as a superior and

much easier way to obtain staking rewards by, among other things, pooling the crypto assets of a

large number of investors.

        326.447.       BAM Trading’s Staking Program capitalizes on the reward structure of the

“Proof of Stake” consensus mechanism used by some blockchains to reach agreement about

which transactions are valid, to update the blockchain accordingly, and to reward participants

with additional crypto assets. A blockchain using the Proof of Stake consensus mechanism

selects a “validator” from a pool of node operators who have agreed to certain requirements

necessary to maintain the blockchain and construct new blocks.

        327.448.       To be considered for selection into the pool, a potential validator must

commit, or “stake,” a set amount of the blockchain’s native asset. These staked assets are held as

collateral in the protocol to incentivize validators to perform required functions. A “correction

penalty” is deducted, or “slashed,” from the staked assets of validators who underperform.

Conversely, validators earn rewards in the form of additional amounts of the native asset by

timely voting on proposed blocks, proposing new blocks, and participating in related consensus

activities.

        328.449.       To create a new block, the protocol chooses a validator from among those

that have staked. The more one stakes, the more likely one is to be selected as a validator and

receive the maximum staking reward. The most successful staking operations maximize the

chances of being selected by staking a large number of assets and minimizing server downtime.

        329.450.       Individuals can stake assets on their own, but this requires considerable

technical knowhow. Accordingly, BAM Trading markets its Staking Program as a way for
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 117 of 215




investors to rely on and profit from BAM Trading’s technical expertise and knowhow, industry

relationships, and infrastructure to reap the benefits of staking as a passive investment

opportunity. BAM Trading also touts the advantages its staking programs offer over staking

independently. These advantages include instant reward accrual, shorter holding periods, low (or

no) upfront deposits or staking minimums, compensation for slashing penalties, regularly

scheduled payouts at certain rates, and an easy-to-use interface that requires “just a few clicks” to

reap passive income.

       330.451.        As BAM Trading explains on its website:

               Independent cryptocurrency staking can be a daunting process for
               most individuals. In addition to meeting hardware requirements that
               may vary from asset to asset, users may also need to install and run
               their own nodes. That’s where Binance.US Staking comes in. With
               a user-friendly interface and industry-leading uptime across nodes,
               Staking is the destination of choice for customers looking to earn
               rewards on their assets.

       331.452.        BAM Trading publishes on its website the list of staking-eligible crypto

assets (which has changed over time) and the annualized percentage yield (or reward rate)

offered to investors with respect to each asset. The web-based interface and mobile app for the

Binance.US Platform also allows users to designate the tokens that they want to stake in the

program.

       332.453.        The Staking Program’s terms have evolved over time, but BAM Trading’s

marketing has consistently focused on the competitive yield it offers, touting a wide range of

assets that users can earn profits by staking. Users are also told that the stated APY is

purportedly calculated based on factors such as “Network conditions,” “Staking configuration,”

and “Supply and demand.” BAM Trading’s “Terms of Use” further state that the quoted APY

“is an estimate only and not guaranteed,” and is determined (and may change) in BAM’s “sole

and absolute discretion.” BAM Trading also states that it will deduct a commission from the
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 118 of 215




returns that BAM Trading earns on staking, before paying investors. BAM Trading determines

how and when investors’ tokens will be staked, and how and when rewards, if any, will be

distributed.

          333.454.     BAM Trading also markets its Staking Program as a way to avoid

minimum staking requirements imposed under certain blockchain protocols and to maintain

liquidity. For example, BAM Trading notes that individual investors who wish to independently

stake on the Ethereum 2.0 Proof of Stake consensus would need a minimum of 32 ETH (nearly

$60,000 at recent values) and agree to long lock-up periods in order to become a validator. But

by pooling investor assets to launch Binance-controlled validators, BAM Trading allows

investors to participate with a minimum of just 0.0001 ETH (less than $2).

          334.455.     BAM Trading has engaged in the unregistered offer and sale of its Staking

Program as an investment contract, and thus, as a security.

          335.456.     Participation in BAM Trading’s Staking Program requires the investment

of money in the form of crypto assets. Investors risk loss if BAM Trading fails to perform as a

validator, is assessed slashing penalties for which it cannot make investors whole, or if assets are

otherwise lost if BAM Trading fails to detect or manage hacking and other risks as it is executing

its staking strategy, over which BAM Trading retains absolute discretion. Investors also face

risk of loss if the staked crypto assets significantly decrease in market value while staked

because BAM Trading will not allow users to sell or withdraw crypto assets while they are

staked.

          336.457.     For each staking-eligible crypto asset that is a part of the Staking Program,

BAM Trading, directly or through affiliates or other third parties, pools investor assets in a

common “staking pool” in which investors “combine their staking power and share the rewards
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 119 of 215




proportionally to their contributions to the pool.” Moreover, for as long as the investors choose

to stake their tokens, investors receive payouts from BAM Trading that are distributed to them

pro rata. In addition, the larger the pool of assets for staking for each particular staking-eligible

crypto asset, the higher the likelihood of obtaining rewards, which inures to the benefit of all

investors in that particular asset, as well as BAM Trading, such as, for example, in the form of

fees from the Staking Program. BAM Trading does not segregate or separately manage any

crypto assets that ostensibly belong to any particular investor’s account as part of the Staking

Program. Instead, all assets of the same type tendered into the Staking Program are pooled

together.

       337.458.        Finally, as alleged above, BAM Trading has consistently promoted its

Staking Program in a way that fuels reasonable expectations of profits from BAM Trading’s

efforts. BAM Trading marketed its program as an investment to “earn” payouts or “yield” and

claimed it would work to provide immediate, reliable, and predictable profitability on that

investment. Investors in the Staking Program rely on BAM Trading’s pooling of the invested

tokens and efforts in successfully validating transaction blocks on the relevant blockchains.

VIII. THE CRYPTO ASSETS TRADED ON THE BINANCE.COM PLATFORM AND
      THE BINANCE.US PLATFORM INCLUDE ASSETS THAT WERE OFFERED
      AND SOLD AS SECURITIES.

       338.459.        Since the Binance Platforms launched and continuing through today,

 Defendants have made available for trading on themand provided intermediary services for

 transactions in crypto assets that are offered and sold as investment contracts, and thus, as

 securities. This includes, but is not limited to, at least BNB, BUSD, and the units ofBinance’s

 Simple Earn and BNB Vault programs, and BAM Trading’s Staking Program. It also includes

 each of the crypto assetassets that have been offered and sold as securities as further described
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 120 of 215




below—with trading symbols SOL, ADA, MATIC, FIL, ATOM, SAND, MANA, ALGO,

AXS, and COTI (collectively, the “Ten Crypto Asset SecuritiesAssets”).

       460.    Binance and BAM Trading have also continued to make available for trading on

the Binance Platforms and to provide intermediary services for transactions in crypto assets that

have been the subject of prior SEC enforcement actions because they were offered and sold as

securities, including but not limited to AMP (the AMP token), UST (the TerraUSD token),

LUNA (associated with the Terra blockchain), and TRX (the token associated with the Tron

network). The LUNA and UST crypto assets have been found by at least one federal court to

have been offered and sold as a security specifically on the Binance.com Platform in transactions

occurring in early 2022.

       461.    As part of their business practices and provision of intermediary services, Binance

and BAM Trading promote the Ten Crypto Assets as attractive investments for their customers,

including by amplifying and reinforcing the promotional statements and activity of the crypto

asset issuers and promoters, as described below.

       A.      Crypto Asset Issuers Offer, Buy, Sell, and Develop a Secondary Market for
               their Assets on the Binance Platforms

       462.    Binance and BAM Trading typically do not restrict crypto asset issuers, including

the issuers of the Ten Crypto Assets, from offering, selling, or otherwise distributing their crypto

assets to investors on the Binance Platforms—directly or through affiliates and intermediaries.

       463.    Accordingly, the issuers of at least some of the Ten Crypto Assets have sold their

own holdings of crypto assets on the Binance Platforms, including through affiliates and

intermediaries, while also engaging in far-reaching efforts to promote these assets as investments

and inviting investors to reasonably expect profits from the issuers’ and other promoters’ efforts.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 121 of 215




       464.    For example, numerous crypto asset issuers have conducted fundraising by

offering and selling their crypto assets directly through IEOs on the Binance.com Platform’s

“Launchpad,” which is a program Binance explicitly designed for issuers to engage directly in

capital-raising distributions of their crypto assets on the Binance.com Platform.

       465.    Binance has described its IEO process on its website as recently as September 5,

2024, stating that it will “help and advise project teams on how to best issue and launch their

token,” noting that “[o]ur goal is to allow project teams to focus on their project development

and continue building products, while we handle the marketing and exposure to our user base.”

It further states that the platform “supports growth by giving projects exposure to millions of its

global users, ensuring substantial liquidity, and the availability of multiple trading pairs after the

launch” and that “crypto projects can benefit from launching their tokens within a trusted

platform, leveraging Binance’s reputation as the leading global exchange.”

       466.    For IEOs on the Binance.com Platform, Binance publicizes on its website that it

conducts extensive due diligence purportedly to select the most potentially lucrative investments,

including projects with “significant technical development,” a “history of delivering on their

communicated milestones,” “reasonable valuations,” and “prudent cash burn and fundraising

strategies, such that our users have the opportunity to participate in the growth of these

networks.”

       467.    For example, the issuers of MATIC, AXS, and SAND have conducted IEOs on

the Binance.com Platform, offering and selling them as securities, as further described below.

       468.    In addition to these IEOs, publicly available information suggests that at least

some of the issuers of the Ten Crypto Assets, such as the issuers of SOL, SAND, and MANA,
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 122 of 215




have conducted offers and sales of their own holdings of crypto assets on at least the

Binance.com Platform directly or through intermediaries.

       469.    In addition, the issuers of the Ten Crypto Assets utilize the Binance Platforms to

develop a secondary trading market of their crypto assets, while simultaneously engaging in

public promotions of their assets as an investment in a common enterprise, leading investors to

reasonably expect profits from their and others’ efforts.

       470.    For these issuers, the development of a secondary trading market, including

through the Binance Platforms, is a core component of their development and promotional

strategies for their respective securities. They typically tout to investors that these secondary

markets are key for the functioning of the asset’s “ecosystem” and/or for the investors to be able

to cash out of their investments. For example, as described below, the issuers of SAND, FIL,

and COTI publicly promoted that their ongoing development and promotion strategy included

efforts to build a secondary market for these crypto assets.

       471.    To execute this strategy, crypto asset issuers and promoters undertake managerial

and entrepreneurial efforts in coordinating the process for trading in the secondary market,

including determining whether and where the asset will trade and completing the “listing”

applications and other necessary requirements to facilitate the trading as described below.

       472.    These public statements and corresponding efforts to develop a secondary market,

including on the Binance Platforms, have led crypto asset investors to reasonably expect profits

from the expanded presence of the crypto assets on trading platforms. Indeed, that presence

facilitates and supports continued growth of an active, liquid secondary market, which further

drives demand for the assets, allows holders to realize gain from these investments, and provides

more opportunities for investors to profit from the investments.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 123 of 215




       B.      Binance and BAM Trading Conduct Due Diligence and Impose Marketing
               and Other Requirements on Issuers of Crypto Assets That Have Been
               Available for Trading on the Binance Platforms

       473.    Binance and BAM Trading target crypto assets for “listing” on their platforms

that they believe will be attractive investments for their customers. If selected for trading on the

Binance Platforms, Binance, BAM Trading, and the crypto asset issuers are all incentivized to

coordinate a successful listing for any particular asset, and they typically undertake broad

ongoing marketing efforts to achieve active trading of the crypto assets on the platforms.

       474.    Before the crypto assets are approved and made available for trading on the

Binance Platforms, both Binance and BAM Trading engage in a “listing process.”

       475.    The process typically involves extensive due diligence by Binance and/or BAM

Trading about the crypto assets and their issuers or promoters, at least in part to evaluate a

project’s commercial and technical viability, its profitability, and its legal and regulatory risks.

       476.    Specifically, as explained in a June 17, 2021 Binance blog post entitled “Binance

Listing Tips from CZ,” Binance makes the “best efforts to list high-quality tokens” and generally

look for crypto assets with a “proven team, useful product, and large user base,” stressing,

“[c]onstant and steady progress is highly valued.”

       477.    Thus, Binance’s and BAM Trading’s due diligence process requires the issuer to

provide detailed information, including about various components of the crypto asset and its

network, ownership and development team, token distribution, plans for development and

promotion, financials, and rewards programs—all categories of information that Binance and

BAM Trading publicly encourage investors to consider when trading on the Binance Platforms.

       478.    Binance and BAM Trading also request information relating to regulatory and

compliance issues, including information for Binance and BAM Trading to consider against the
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 124 of 215




framework they created to evaluate whether the crypto asset token is being offered or sold as part

of an investment contract under Howey.

       479.    When Binance and BAM Trading approve a listing of a crypto asset, they

typically negotiate and enter into agreements with the crypto asset issuers that impose various

requirements on the issuer to incentivize trading by customers of the Binance Platforms.

       480.    For example, Binance and BAM Trading often impose requirements on issuers

relating to the development of the project associated with the crypto assets and providing

corresponding reporting on developments. In at least certain instances, Binance and BAM

Trading have had written listing agreements that contractually required the crypto asset issuers to

undertake efforts on behalf of investors past the point of sale, including to continue to work on

their projects as they have represented to the public via social media and other means.

       481.    For example, BAM Trading’s listing agreement associated with MATIC required

that, as to “Company Materials,” which included information that the issuer and promoters

provided to the general public via social media, an affiliate of the MATIC issuer agreed to:




       482.    And at least certain of Binance’s listing agreements required issuers to provide

Binance with reports describing “the status of the development and operation of the Project,

including discussion of the Company’s performance in comparison with the Project’s roadmap.”

       483.    Binance and BAM Trading also negotiate marketing fees paid by the crypto asset

issuers to fund incentive and rewards campaigns and to cover expenses for marketing and

educating investors to incentivize their trading in the crypto assets on the Binance Platforms.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 125 of 215




        484.   As BAM CEO A stated in a January 2020 internal BAM Trading chat discussing

marketing fees, “[w]e will do all the effort but need support so we don’t go broke listing new

coins that need help.”

        485.   Binance and BAM Trading have engaged in such marketing campaigns for the

Ten Crypto Assets, as described below.

        486.   Further, to be listed, Binance and BAM Trading often require crypto asset issuers

to facilitate purchases and sales on the Binance Platforms and ensure sufficient trading liquidity,

including through engaging market makers.

        487.   As explained by BAM CEO A in an internal BAM Trading chat in January 2020,

she expected that crypto asset issuers have “committed” market makers to support a liquid

market upon listing.

        488.   At least some of these market makers on the Binance Platforms were affiliated

with the crypto asset issuers, thereby conducting offers and sales of the crypto assets on behalf of

the issuers.

        489.   Binance also required certain crypto asset issuers to agree to specified minimum

monthly trading volume and order and spread requirements that, if not met, the issuers agreed to

initiate a promotional campaign on the Binance.com Platform to incentivize trading.

        490.   As both Binance and BAM Trading have posted on their respective websites,

issuers that do not satisfy these requirements risk being delisted.

        491.   In all, Binance and BAM Trading impose these requirements because they will

impact the value of the crypto assets, and will encourage their customers to invest in crypto

assets trading on the Binance Platforms. As Zhao promoted over Twitter on February 9, 2019,
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 126 of 215




“When markets do go back up that doesn’t mean all projects will. A lot of coins with no

development will die. Review your holdings. Make sure teams are WORKING.”

       C.      Binance and BAM Trading Republish and Amplify the Crypto Issuers’
               Statements About the Ten Crypto Assets and Other Crypto Assets Trading
               on the Binance Platforms

       492.    Before, during, and after the initial offer and sale of the crypto assets on the

Binance Platforms, including for the Ten Crypto Assets, their issuers and promoters have made

widely disseminated public statements about the crypto assets and their respective development,

valuation, and other relevant information that has led investors to reasonably expect profits from

their efforts. Many of these statements are still widely available as of September 2024.

       493.    The crypto asset issuers typically make such public statements through widely

available internet-based platforms, including their websites, social media platforms, and publicly

available communication channels such as Telegram Messenger, as well as through meet ups and

other live or streamed events that further promote the crypto assets and their ecosystem.

       494.    Before crypto assets are made available for trading on the Binance Platforms,

Binance and BAM Trading typically work with their issuers and promoters to market the new

listing to the public. In essence, the Binance Platforms become an integral part of the issuers’

efforts to create markets for their crypto assets. Binance and BAM Trading help create the

markets for trading, and then they fill these markets with statements that the value of the crypto

assets will increase due to the hard work of the issuers, such that the objective investors is

purchasing them with this reasonable expectation.

       495.    Collectively, they announce the new listing across multiple media channels that

are often coupled with rewards or promotional opportunities on the Binance Platforms. For

example, on April 20, 2020, Binance announced on its Twitter account that “Today @Binance
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 127 of 215




Will List @solana $SOL and Launch a $50,000 Bounty Promotion.” Binance’s announcement

also provided a link to “full in-depth research report” by Binance.

       496.    Further, Binance and BAM Trading harness promotional materials that crypto

asset issuers and other promoters, including for the Ten Crypto Assets, have disseminated

broadly, and they republish and amplify those promotional statements for their customers

through their websites, social media, and electronic communications channels such as Telegram

Messenger, to induce their customers to trade in those crypto assets on the Binance Platforms.

       497.    Binance and BAM Trading at times host “Learn and Earn” promotions, including

for certain of the Ten Crypto Assets, in which customers are rewarded crypto assets after

watching a video and taking a “quiz” about the crypto asset. Many of these promotional rewards

are funded by the marketing fees that issuers pay Binance and BAM Trading.

       498.    Binance and BAM Trading also host live AMA interviews with issuers and

promoters on internet-based platforms like YouTube and Telegram Messenger, in which

customers who post the “best questions” get crypto asset rewards. For example, soon after the

listing of MATIC on the Binance.US Platform in June 2020, BAM Trading promoted an AMA

with MATIC’s cofounder on the Binance.US Telegram channel as follows:
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 128 of 215




       499.    In addition, on the Binance Platforms, Binance and BAM Trading maintain a

specific webpage for each crypto asset trading on their respective platforms. Much like a

traditional securities trading platform, these pages provide real-time and historical price and

volume information about the crypto assets. They also include certain selective information for

customers deciding whether to invest, such as a description of the crypto asset and its issuers and

other developers, links to find more information from the issuers and other promoters such as

whitepapers and websites, and prediction information about whether market participants are

“bearish,” “neutral,” or “bullish,” about the asset as an investment.

       500.    For example, the following is the primary webpage on Binance.com for the crypto

asset “SOL” as of September 8, 2024:
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 129 of 215




       501.    Further, selecting the “Info” tab provides additional information about SOL,

including links to other sources such as its website and whitepaper, as follows:
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 130 of 215




       502.    Many of these crypto-asset specific webpages further provide a running live feed

from Binance’s social media platform, called “Binance Square,” that contains recent

commentary and links to news stories and issuer announcements about the crypto asset.

       503.    On the Binance.US Platform, BAM Trading maintains crypto-asset specific pages

that contain similar displays of the asset’s trading information such as price and volume charts.

On at least its widely used phone application, BAM Trading also provides further information,

including a description of the crypto asset, its history, and related third “Resources” such as links

to the issuers’ website and whitepaper.

       504.    In addition, Binance maintains a “Binance Research” portion of its website, where

investors can access crypto-asset specific “Project Reports” that Binance claims “provide[]

institutional-grade analysis, in-depth insights, and unbiased information to all participants in the

digital asset industry.” These reports, which Binance characterizes as a “deep dive into the
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 131 of 215




world’s top crypto-projects,” contain information about each crypto asset, including a description

of its project, token economics and supply, the project team’s past and future milestones, and

links to other information like the issuer’s white paper and official website.

       505.    Binance also maintains another website called “Binance Academy” that it

promotes as “[y]our one-stop guide to all things crypto. Whether you’re a rookie trying to

understand mining or a veteran looking to develop a trading strategy, we’ve got you covered.” It

often contains further information for investors about particular crypto assets available for

trading on the Binance.com Platform and other instructional information for investors.

       506.    For each crypto asset trading on the Binance.US Platform, BAM Trading

similarly publishes a report called “All About” a particular crypto asset. When preparing these

reports, BAM Trading actively uses content developed by Binance, including from Binance

Research and Binance Academy. As the head of BAM Trading’s Exchange explained to a

crypto asset issuer in August 2020, “all the hyperlinks for all our of All about pages return back

to https://research.binance.comThe crypto assets on the Binance Platforms, including but not

limited to each of the Crypto Asset Securities,.”

       507.    For certain promotions, BAM Trading posted links directly to Binance’s content

about a crypto asset. For example, in at least 2020, BAM Trading’s “All About Algorand

(ALGO)” report ended with “Ready to learn more?” that linked to Binance Research.

       508.    BAM Trading has also promoted Binance’s content to BAM Trading’s customers,

often linking on its website or Twitter to Binance-created content about the crypto assets, such as

reports from Binance Research and Binance Academy. On August 6, 2020, for example, BAM

CEO A tweeted, “Ever seen DYOR . . . it means Do Your Own Research – an important step to
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 132 of 215




get comfortable with cryptocurrencies. @BinanceUS with @BinanceAcademy make it easy for

you to do your digital homework.”

       509.    Further, as of at least September 5, 2024, the Binance.com Platform displays a

pop-up screen that directs U.S. persons to the Binance.US Platform for trading.

       510.    Conveniently, the multitude of information that Binance, BAM Trading and the

crypto asset issuers post about these crypto assets provide the very information that Binance and

BAM Trading encourage investors to consider when evaluating whether to trade in them.

       511.    For example, in Binance Research’s “A Guide to Fundamental Analysis in

Crypto,” Binance identifies the fundamental characteristics of crypto assets and how they may

impact the particular crypto asset’s market value. Binance explains that “[h]aving a good sense

of a company’s fundamentals (e.g. revenue, profitability, growth etc.) allows one to provide the

necessary inputs to valuation frameworks, thereby deriving fair value estimates for tokens,” and

“[v]aluation provides a framework for investors to understand how much they are paying for a

token. The aim is to give investors a sense of whether a token is overpriced or undervalued.”

       512.    Similarly, BAM Trading’s May 2023 website blog posting called “What is

Tokenomics? A Beginner’s Guide” is intended to help investors “make informed decisions when

considering opportunities in cryptocurrency.” The article states that “Tokenomics underpins a

token’s value and is a key factor in evaluating a cryptocurrency,” explaining that “tokenomics” is

a “portmanteau of ‘token’ and ‘economics,’” that “refers to a token’s fundamental characteristics

and how they may impact a token’s market value.”

       513.    While Binance and BAM Trading equate the purchase and sale of crypto assets to

trading in the traditional securities markets—and their websites and social media channels often

post disclaimers about the risks of the “investments” available on the Binance Platforms—they
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 133 of 215




have not been not registered as brokers, national securities exchanges, or clearing agencies, so

there is no formal independent mechanism to ensure the accuracy, completeness, or consistency

of the information that Binance, BAM Trading, and the crypto asset issuers and other promoters

selectively tout as to these investment opportunities.

       D.      Ten Crypto Assets That Have Been Offered and Sold as Securities and
               Available for Trading on the Binance Platforms

       339.514.        Since their inception, Binance and BAM Trading have made hundreds of

crypto assets available for trading on their respective platforms. As alleged herein, they have

provided intermediary services with respect to the Ten Crypto Assets as those assets continue to

be offered and sold as securities. The Ten Crypto Assets are available for sale broadly to any

person who creates an account on the Binance Platforms and may be bought, sold, or traded for

consideration including U.S. dollars, fiat currencies, or other crypto assets.

       515.    The Binance Platforms do not restrict how many units of any of the Ten Crypto

Assets any given investor may purchase or how long they must be held. Moreover, investors are

not required to purchase quantities of these assets tied to any purported non-investment “utility”

that may exist for the crypto asset, if any. To the contrary, investors may purchase the Ten

Crypto Assets in large amounts that are consistent with an investment intent and entirely

disproportional to any amount a purchaser may want to or may be reasonably able to “use.”

       340.516.        Each unit of a crypto asset the Ten Crypto Assets trades on the Binance

Platforms , including but not limited to each of the Crypto Asset Securities, trades at the same

price as another unit of that asset. sold at the same time.

       341.517.        These assets, including but not limited to each of the Crypto Asset

Securities,crypto assets are interchangeable (e.g., any SOL token or fraction thereof is just like

any other SOL token). Accordingly, to the extent the assetsthey change in price, all tokens of the
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 134 of 215




same asset increase or decrease in price in the same amounts and to the same extent, such that

one token is equal in value to any other one token, on a pro rata basis.

       342.518.          The purchase of any particular crypto asset, including but not limited to

each of the Ten Crypto Asset SecuritiesAssets, does not appear to give an investor any special

rights not available to any other investor in that crypto asset, such as separately managed

accounts or different capital appreciation as to the value of the crypto asset or returns, that are

independent of the increase in value or returns that may inure to other investors in the same

crypto asset.

       17.      The tokens on the Binance Platforms, including but not limited to each of the

Crypto Asset Securities, are available for sale broadly to any person who creates an account with

the Binance Platforms, regardless of whether that person treats it as anything other than as an

investment. In other words, the Binance Platforms do not restrict crypto asset purchasers to

those who might purchase the asset for any purported non-investment purpose. To the contrary,

the “Trade” page displays changes in prices for the crypto assets similar to how properly

registered national securities exchanges display information about securities to investors.

       18.      The Binance Platforms do not restrict how many units of a crypto asset, including

but not limited each of the Crypto Asset Securities, any given investor may purchase. Moreover,

investors are not required to purchase quantities tied to any purported non-investment “use,” if

any, that may exist for the asset. To the contrary, investors may and typically do purchases these

assets in any amounts.

       343.519.          The assets available for sale on the Binance Platforms, including but not

limited each of the Crypto Asset Securities,The Ten Crypto Assets that are available for purchase
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 135 of 215




and sale on the Binance Platforms are transferable and eligible for resale on the Binance

Platforms or other crypto asset trading platforms without any apparent restrictions on resale.

       19.     The Binance Platforms have made available for trading crypto assets that have

been the subject of prior SEC enforcement actions based upon their status as crypto asset

securities, including but not limited to AMP (the AMP token), REP (the Augur token), UST (the

TerraUSD token), and TRX (the token associated with the Tron network).

       20.     For purposes of prevailing on the Exchange Act claims set forth herein, the SEC

need only establish that the Binance Platforms engaged in activities relating to a single crypto

asset security. Nevertheless, set forth below are additional details regarding a non-exhaustive list

of ten Crypto Asset Securities—in addition to BNB and BUSD, as described above—available

on the Binance Platforms.

       21.     From the time of each of their first offer or sale, each of these Crypto Asset

Securities was offered and sold as an investment contract and, therefore, was and is a security.

       22.     The Binance Platforms typically do not restrict any issuer of the Crypto Asset

Securities (or of the other tokens available on the Binance Platforms) from offering, selling, or

otherwise distributing their crypto assets (directly or through intermediaries such as underwriters,

agents, and market makers) on the Binance Platforms and, in fact, the issuers of crypto assets

have historically and today continue to offer, sell, or otherwise distribute their crypto asset

securities on the Binance Platforms.

       520.    For each of the Ten Crypto Assets, the promotional statements and activity by

their issuers and promoters were widely made and/or available to the investing public, including

customers of the Binance Platforms, through the internet, such as on Twitter, YouTube, the

Medium social publishing platform, and their own websites. Further, while the Ten Crypto
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 136 of 215




Assets have been available for trading on the Binance Platforms, Binance and BAM Trading

have often republished these promotional statements directly on the Binance Platforms for their

customers’ easy access when deciding whether to invest in them, as described below.

       521.     For each of the Ten Crypto Assets, statements and activity by the crypto asset

issuers and promoters, as amplified and reinforced by Defendants as alleged herein, have led

investors reasonably to expect profits based on the managerial or entrepreneurial efforts of

others. This has been an objective investor’s reasonable expectation whether she acquired the

Ten Crypto Assets in initial token distributions (including through IEOs on the Binance.com

Platform), through issuer direct or indirect sales (such as those acting through market makers), or

in secondary market resales on the Binance Platforms.

              i.       SOL

       344.522.        “SOL” is the native token of the Solana blockchain. The Solana

blockchain was created by Solana Labs, Inc. (“Solana Labs”), a Delaware corporation

headquartered in San Francisco that was founded in 2018 by Anatoly Yakovenko (“Yakovenko”)

and Raj Gokal (Solana Labs’ current CEO and COO, respectively). According to Solana’sits

website, www.solana.com, the Solana blockchain is a network upon which decentralized apps

(“dApps”) can be built, and is comprised of a platform that aims to improve blockchain

scalability and achieve high transaction speeds by using a combination of consensus

mechanisms.

       345.523.        According to Solana’sits website, SOL may be “staked” on the Solana

blockchain to earn rewards, and a certain infinitesimal amount of SOL must be “burned” to

propose a transaction on the Solana blockchain, a common function for native tokens on

blockchains that constitutes a method for cryptographically distributed ledgers to avoid a
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 137 of 215




potential bad actor from “spamming” a blockchain by overwhelming it with an infinite number

of proposed transactions.

       346.524.        Between 2018 and 2020, Solana Labs conducted a series of sales to

investors. Between May 2018 and early March 2020, Solana Labs also filed with the SEC

multiple forms claiming that its offers and sales of securities—what Solanait described in those

forms as the “sale and issuance of rights to receive Solana Labs, Inc. tokens in the future via a

Simple Agreement for Future Tokens (SAFTs)”—were exempt from registration under Rule

506(c) of Regulation D under the Securities Act. Through these offers and sales of securities,

Solana Labs’ sold approximately 177 million SOL, raising over $23 million.

       347.525.        Later in March 2020, Solana Labs conducted additional SOL sales on the

CoinList trading platform (www.coinlist.co) in a “Dutch auction” (wherein investors place bids

and the entire offering occurs at the price with the highest number of bidders). During this

offering, Solana Labs sold approximately 8 million SOL, at an average price of $0.22 per SOL,

raising approximately $1.76 million. In August 2021, Solana Labs completed another,

purportedly private sale of SOL, raising over $314 million from investors, each of whom paid for

SOL with fiat currency and was required to sign a purchase agreement.

       348.1. Solana Labs alsoBeginning in February 2020, Solana Labs took steps to make

SOL available for trading on crypto asset trading platforms. For example, in a September 17,

2020, Twitter post, Solana Labs stated: “The Solana community in the United States has been

eagerly awaiting the chance to trade SOL on a U.S. exchange, and now that day has come.

SOL/USDT, SOL/USD, and SOL/BTC pairs are all open for trading on @ftx_us.” In another

Twitter post later the same day, Solana Labs stated: “@BinanceUS announces Support for SOL,

making it the Second US Exchange to list SOL within one day.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 138 of 215




       23.     SOL has been available for buying, selling, and trading on the Binance.US

Platform since September 2020, and the Binance.com Platform since April 2020.

       24.     The information Solana Labs publicly disseminated, including since the initial

sales of SOL, led SOL holders, including those who purchased SOL since September 2020,

reasonably to view SOL as an investment in and expect to profit from Solana Labs’ efforts to

grow the Solana protocol, which, in turn, would increase the demand for and value of SOL.

       349.526.        Solana Labs stated publicly that it would pool the proceeds from its

private and public SOL sales in omnibus crypto asset wallets that it controlled, and that it would

use those proceeds to fund the development, operations, and marketing efforts with respect to the

Solana blockchain to attract more users to that blockchain (potentially increasing the demand for,

and therefore the value of, SOL itself, given the need for those who wish to interact with the

Solana blockchain to tender SOL).

       350.527.        For example, in connection with the 2021 private sale of SOL, Solana

Labs stated publicly that it would use investor funds to: (i) hire engineers and support staff to

help grow Solana’sits developer ecosystem; (ii) “accelerate the deployment of market-ready

applications focused on onboarding the next billion users into crypto”;;” (iii) “launch an

incubation studio to accelerate the development of decentralized applications and Platforms

building on Solana”; and (iv) develop a “venture investing arm” and “trading desk dedicated to

the Solana ecosystem.”

       351.528.        As Solana Labs has stated publicly, that of the 500 million SOL tokens it

initially minted, 12.5% were allocated to Solana Labs’ founders, including Yakovenko and

Gokal, and another 12.5% were allocated to the Solana Foundation,. The Solana Foundation is

an organization that describes itself as a “non-profit organization headquartered in Zug,
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 139 of 215




Switzerland “foundation . . . dedicated to the decentralization, growthadoption, and security of

the Solana networkecosystem.” In fact, on April 8, 2020, Solana Labs transferred 167 million

SOL tokens to the Solana Foundation, and in its public announcement of the Solana

Foundation’s formation, Solana Labs stated, “The Foundation’s initial focus is expanding and

developing the ecosystem of the Solana protocol.”

       352.529.       Solana Labs’ two original founders have both worked for the Solana

Foundation. Gokal currently serves as a member of the Solana Foundation Council. Yakovenko

was a member and President of the Solana Foundation Council from its founding until December

2021, when he stepped down to focus on his work at Solana Labs.

       530.    When announcing the formation of the Solana Foundation on June 7, 2020, in an

article still available on Solana’s website and the Medium website as of September 5, 2024,

Yakovenko also announced that Solana Labs would be retaining an estimated 50 million SOL

tokens “to support operations.”

       531.    Beginning in February 2020, Solana Labs took steps to make SOL available for

trading on crypto asset trading platforms.

       532.    Solana Labs and the Solana Foundation publicized the announcement of trading

on U.S. secondary markets. For example, in a September 17, 2020 Twitter post, Solana Labs

stated: “The Solana community in the United States has been eagerly awaiting the chance to

trade SOL on a U.S. exchange, and now that day has come. SOL/USDT, SOL/USD, and

SOL/BTC pairs are all open for trading on @ftx_us.” In another Twitter post later the same day,

Solana Labs stated: “@BinanceUS announces Support for SOL, making it the Second US

Exchange to list SOL within one day.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 140 of 215




       533.    In addition, the Solana Foundation described the announcement of trading with

U.S.-based exchanges as an opportunity to increase the value of SOL and its “ecosystem.” An

article by the Solana Foundation and posted on the Solana Labs’ website, describes the listing on

the Binance.US Platform as:

               [A]n exciting milestone not just for The Solana Foundation, but
               also for US-based partners and community members who have
               played a tremendous role in expanding the value of the Solana
               ecosystem. Binance.US provides the Solana community with
               another first-rate liquidity partner to support our rapidly growing
               American audience. Across new applications, bridges, wallets, and
               other features, the community’s hard work has driven significant
               value, and the Solana Foundation can’t wait to share more of the
               genuinely great projects currently underway.

       534.    SOL has been available for buying, selling, and trading on the Binance.com

Platform since April 2020 and the Binance.US Platform since September 2020.

       535.    According to CoinMarketCap, as of September 5, 2024, SOL had a daily trading

volume of approximately $2 billion, and a market cap of approximately $59 billion.

       536.    The information Solana Labs and the Solana Foundation publicly disseminated

has led SOL holders, including those who have purchased SOL on the Binance Platforms, to

view SOL as an investment in, and reasonably to expect to profit from, Solana Labs’ and the

Solana Foundation’s efforts to grow the Solana protocol, which, in turn, would increase demand

for and the value of SOL.

       353.537.       In public statements on its website and social media pages, including

statements made and available during the period when SOL washas been available to trade on

the Binance Platforms, Solana Labs and the Solana Foundation specified its expertise in

developing blockchain networks and described the efforts Solana and its founders had made and

would continue to make to develop the Solana blockchain protocol and attract users to the
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 141 of 215




technology, which, again, required those utilizing the technology to demand some amount of

SOL.

       354.538.        Solana LabsSolana Labs and Solana Foundation have made such widely

disseminated public statements and undertook other promotional efforts to increase participation

in its network and thus demand for SOL, including with: (a) a Solana podcast of which there

have been at least 90 episodes since July 2019, with the latest one being broadcast in September

2024, with interviews of key Solana Labs management and other key personnel, including

Yakovenko; (b) a YouTube channel managed by Solana Foundation with over 3763,000

subscribers; that posts videos about Solana news, events like their multi-day Solana Breakpoint,

ecosystem updates, etc.; and (c) dedicated Telegram, Twitter, Reddit, Solana Forums, Discord,

GitHub, Meetup, and Weibo channels, with links to each available on Solana’sthe Solana

website.

       355.539.        The promotional statements that Solana Labs and the Solana Foundation

made in these fora with respect to SOL and Solana Labs’their efforts to increase demand and

value for SOL have continued since Solana Labs’ initial distributions of SOL and have included,

for example:

           a.   A July 28, 2019 post on Solana Labs’ Medium blog in which Yakovenko stated
                that “Solana … supports upwards of 50,000 TPS” (transactions per second)
                “making it the most performant blockchain and the world’s first web-scale
                decentralized network” and that the “Solana team—comprised of pioneering
                technologists from [several high-profile technology companies]—has focused on
                building the tech required for Solana to function with these groundbreaking
                performance standards”;


           b.   Solana’s websiteThe Solana website’s statement that “Solana is engineered for
                widespread, mainstream use by being energy efficient, lightning fast, and
                extremely inexpensive” and that “[m]any of the core Solana builders, like co-
                founder Anatoly Yakovenko, have a background in building cell phone
                networks,” which “means that they are singularly focused on building for
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 142 of 215




               scalability (the ability to grow) and efficiency (the ability to get the most
               information across with the least amount of resources)”;

          c.   An April 14, 2021 post on gemini.com in which Yakovenko touted the Solana
               network’s ability to “support a theoretical peak capacity of 65,000 transactions
               per second, currently” (“around 10,000 times faster than Bitcoin, 4,000 times
               faster than Ethereum, and 35 times faster than Ripple—even around 2.5 times
               faster than Visa”) and projecting that such speed would “doubl[e] in capacity
               every two years with improvements in hardware and bandwidth”; and

          d.   A December 23, 2022 post on Solana’sthe Solana website marketing various
               “upgrades” that Solana Labs and its engineers would undertake, including
               “turbine optimizations” introduced by the “core engineering team,” which
               Yakovenko described as the “coolest piece of technology that we built that
               nobody knows about.”

       356.540.        Further, Solana Labs markets that it “burns” (or destroys) SOL tokens as

part of a “deflationary model.” As Yakovenko explained in an April 14, 2021 article entitled

“Solana (SOL): Scaling Crypto to the Masses” posted on gemini.com, “Solana transaction fees

are paid in SOL and burnt (or permanently destroyed) as a deflationary mechanism to reduce the

total supply and thereby maintain a healthy SOL price.” As explained on the Solana website,

since the Solana network was launched, the “Total Current Supply” of SOL “has been reduced

by the burning of transaction fees and a planned token reduction event.” This marketed burning

of SOL as part of the Solana network’s “deflationary mechanism” has led investors reasonably to

view their purchase of SOL as having the potential for profit to the extent there is a built-in

mechanism to decrease the supply and therefore increase the price of SOL.

       541.    The Binance Platforms are an integral part of the markets for SOL, and Binance

and BAM Trading fill these markets with information republishing and amplifying the issuer and

promoter statements and activity promoting SOL as an investment.

       542.    For example, when Binance announced it would make SOL available for trading

on the Binance.com Platform on April 7, 2020, it promoted over Twitter that it would also

launch a $50,000 “bounty promotion” in SOL token rewards. The promotion gave free SOL to
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 143 of 215




customers who engaged in several promotional activities around SOL, including reading a

“primer” about SOL and then taking a “Solana Quiz,” and subscribing to Solana Lab’s and the

Solana Foundation’s newsletter and social media feeds. Binance’s announcement also provided

a link to Binance Research’s “full in-depth research report.”

       543.    In addition, Binance has hosted a number of interactive AMAs with Solana

Foundation leadership, including in January 2023 and April 2024, in which Binance offered a

reward pool of $5,000 in SOL for Binance customers whose questions were selected to be

answered in the AMA.

       544.    Similarly, around the time that BAM Trading first made SOL available for trading

on the Binance.US Platform, BAM Trading promoted SOL in a September 18, 2020 tweet,

stating “Have you had a chance to dive into @solana yet? Their mission is to support all high-

growth and high-frequency blockchain applications, and to democratize the world’s financial

systems. Learn all about $SOL.” The tweet then linked to a page on the Binance.US website

called “All About Solana (SOL)” that promoted SOL, including the business experience of

Solana’s team, and that it had raised over $25 million from several venture capital firms that it

identified by name.

       545.    As of at least September 5, 2024, Binance continues to post about SOL on the

Binance.com Platform, including a project report from Binance Research, a pricing page which

links to Solana Lab’s whitepaper website, links to Binance Square, a promotional Learn and Earn

video on Binance Academy, a September 2024 updated report called “What is Solana,” and a

live feed with recent information about SOL.

       546.    As of at least September 5, 2024, BAM Trading continues to post information

about SOL on the Binance.US Platform, including a project report, links to Solana Labs’
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 144 of 215




whitepaper and website, and a live feed with recent information about crypto assets listed on the

platform.

             ii.       ADA

       357.547.        “ADA” is the native token of the Cardano blockchain. The Cardano

blockchain was created in 2015 by an Ethereum co-founder, Charles Hoskinson, and an

Ethereum operations manager, Jeremy Wood. As described on Cardano’s website, the Cardano

blockchain protocol is built on its own proof-of-stake consensus protocol called Ouroboros,

which is purportedly energy efficient. Hoskinson and Wood created ADA and purported to limit

the supply of ADA to 45 billion.

       358.548.        From 2015 to 2017, Input Output Hong Kong (“IOHK”), a company

founded by Hoskinson and Wood, conducted a token sale during which they sold approximately

25.9 billion ADA in exchange for bitcoin, at what equates to an average price of $0.0024 per

token, raising approximately $62 million for Cardano.

       359.549.        Today,At least three entities are responsible for Cardano: (1) the Cardano

Foundation, a Swiss entity that is the legal custodian of the Cardano protocol and owner of its

brand; (2) IOHK, an engineering company controlled by Hoskinson and Wood responsible for

designing, building, and maintaining the Cardano blockchain; and (3) Emurgo, an entity with

offices in New York and California that, according to its website, is “essentially the for-profit

arm of Cardano,” endeavoring “to advance the platform and drive adoption through commercial

ventures.” As explained on the Cardano website, “IOHK develops the technology, the Cardano

Foundation is responsible for supervising development and promoting Cardano, while Emurgo

drives commercial adoptions.”

       360.550.        These three entities collectively received 5.2 billion ADA following the

initial mining of ADA, or approximately 16.7% of the initial token supply of 31.1 billion ADA.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 145 of 215




        361.551.      These three entities have used the proceeds from ADA sales to fund the

development, marketing, business operations, and growth of the Cardano protocol. For example,

investor funds were used to enact the Cardano Roadmap created by IOHK—specifically, to

develop each of the Cardano development “eras” as shown in the following screenshot from the

Cardano website:




        362.552.      ADA has been available for buying, selling, and trading on the

Binance.com Platform since November 2017, and the Binance.US Platform since September

2019.

        553.   According to CoinMarketCap, as of September 5, 2024, ADA had a daily trading

volume of approximately $305 million, and a market cap of approximately $11 billion.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 146 of 215




       363.554.       The information publicly disseminated by Cardano, IOHK, and Emurgo—

including since the initial sales of ADA—have publicly disseminated has led ADA holders,

including those who have purchased ADA since November 2017, reasonably to on the Binance

Platforms, to view ADA as an investment in, and reasonably to expect to profit from, the

Cardano Foundation’s, IOHK’s, and Emurgo’s efforts to grow the Cardano platformprotocol,

which, in turn, would increase demand for and the value of ADA.

       555.   In public statements on Twitter and other social media, as well as on their

respective websites, including statements made and available during the period when ADA was

available to trade on the Binance Platforms, the Cardano Foundation, IOHK, and Emurgo have

specified their expertise in developing blockchain networks and described the efforts they have

made and will continue to make to develop the Cardano protocol and blockchain and attract

users to the technology, including butat times casting these business development plans as being

complex and requiring extensive resources and years to complete.

       364.556.       These touted efforts include but are not limited to: (a) an announcement by

IOHK in or around September 2021 about the creation of smart contracts on the protocol, which

supposedly would “pav[e] the way” for additional demand for the blockchain protocol; (b) a blog

post by IOHK in or around November 2022 describing its efforts to introduce “innovations, new

functionality, and new features” to the blockchain; and (c) a blog post by IOHK on or around

November 17, 2022 touting ADA being “hosted on more than 30 cryptocurrency exchanges,”

and outlining IOHK’s plans to "“improv[e] the underlying performance of the Cardano network

to better support growth and adoption of thousands of applications with high transaction

volumes” while giving specific examples of how this would be achieved.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 147 of 215




       557.    The Binance Platforms are an integral part of the markets for ADA, and Binance

and BAM Trading fill these markets with information republishing and amplifying the issuer and

promoter statements and activity promoting ADA as an investment.

       558.    For example, as of at least December 2022, Binance’s webpage dedicated to ADA

repeats Cardano’s ambitious goal of “deliver[ing] more advanced features than any protocol

previously developed,” citing “a scientific philosophy and a research-first driven approach,” a

“development team [that] consists of a large global collective of expert engineers and

researchers,” and “considerable thought and care from some of the leading experts in their fields

[that] has been devoted to the project and informed design decisions.”

       559.    BAM Trading also has dedicated blog posts guiding investors on the strategy of

buying ADA as an investment, such as advising,

               Before buying ADA — or any cryptocurrency, for that matter —
               make a plan and do your best to stick to it despite the ups and
               downs of the market. Perhaps buying and staking ADA is the best
               option for you right now. Or, maybe you’re more comfortable
               buying and then day trading. Whatever strategy you choose, resist
               the urge to deviate from the plan to follow some temporary hype
               into a losing position. . . . After learning about Ada (ADA) and
               planning your approach to buying the token, research the market
               — both the Cardano market and the entire cryptocurrency market
               as a whole — so you know how it all works and the factors that
               cause a price to rise or fall.

       560.    As of at least September 5, 2024, Binance continues to post information about

ADA on the Binance.com Platform, including a project report from Binance Research linking to

Cardano’s “Roadmap” and “Weekly Developments,” links to its website, and an updated August

2022 article “what is Cardano (ADA)?” on Binance Academy, and a live feed with recent

information about ADA.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 148 of 215




       561.      As of at least September 5, 2024, BAM Trading continues to post information

about ADA on the Binance.US Platform, including a project report that describes the project and

its founders and includes investment tips on how to buy Cardano, links to Cardano’s whitepaper

and the Cardano website, and a live feed with recent information about crypto assets listed on the

platform.

              iii.      MATIC

       365.562.         “MATIC” is the native token of the Polygon blockchain. Polygon,

originally called the Matic Network and rebranded as Polygon in 2021, is a blockchain platform

created in 2017 in Mumbai, India by, among others, Jaynti Kanani, Sandeep Nailwal, and

Anurag Arjun. Since its creation, Polygon’s founders have remained actively involved with

Polygon through “Polygon Labs” (“Polygon”), an entity they also founded for “the development

and growth of Polygon.”

       366.563.         According to the Polygon website, (https://polygon.technology/,/), the

Polygon network is an Ethereum scaling platform that enables developers to build scalable user-

friendly dApps with low transaction fees, purportedly by hosting “sidechains” that run alongside

the Ethereum blockchain, and that allows users to process transactions and initiate the transfer of

assets and technology development on Polygon’s supposedly less congested sidechain network.

       564.      According to the initial MATIC whitepaper that Polygon publicly released in

2018 (“Polygon Whitepaper”), “Matic Tokens [we]re expected to provide the economic

incentives … of the Matic Network [now Polygon] . . . [w]ithout the Matic Token, there would

be no incentive for users to expend resources to participate in activities or provide services for

the benefit of the entire ecosystem on the Matic Network.”

       367.565.         Polygon issued a fixed supply of 10 billion MATIC tokens. Polygon

issued a fixed supply of 10 billion MATIC tokens. MATIC holders can earn additional MATIC
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 149 of 215




for staking their MATIC on the Polygon platform and becoming a validator, from delegating

their MATIC to other validators in return for a portion of the fees collected from validating

transactions, or from staking their MATIC with other third parties, such as crypto asset platforms

that offer staking services.

       368.1. According to the initial whitepaper for MATIC, “Matic Tokens [we]re expected

to provide the economic incentives … of the Matic Network [now Polygon] … [w]ithout the

Matic Token, there would be no incentive for users to expend resources to participate in

activities or provide services for the benefit of the entire ecosystem on the Matic Network.”

       369.566.        In or around 2018, Polygon sold approximately 4 percent of the total

supply of MATIC in two early rounds of sales, raising $165,000 at a price of $0.00079 USD per

1 MATIC and $450,000 at a price of $0.00263 USD per 1 MATIC. In April 2019, Polygon sold

another 19% of the total supply of MATIC to the public through a so-called “initial exchange

offering” (or “IEO”—essentially, an initial offer and sale of a crypto asset security on a crypto

trading platform) on the Binance.com Platform at a price of $0.00263 USD per 1 MATIC,

raising an additional $5 million to fund development of the, publicly stating that it was doing so

to raise the funds needed to support the growth of its network.

       25.     The information Polygon publicly disseminated has led MATIC holders,

including those who purchased MATIC since April 2019, reasonably to expect to profits from

Polygon’s efforts to grow the Polygon protocol, which, in turn, would increase the demand for

and value of MATIC.

       567.    For examplePolygon conducted its first public sales of MATIC through the

Binance.com Platform. On April 1, 2019, Binance posted on its website that the MATIC token
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 150 of 215




would be available for sale through an IEO on the Binance.com Platform, and that 19 percent of

the total supply would be available through the IEO at a price of $0.00263 USD per 1 MATIC.

       568.    Demonstrating the importance of secondary market trading to the viability of

crypto asset projects, MATIC’s IEO on the Binance.com Platform raised an additional $5 million

to fund development of the network. In an October 2023 interview, Nailwal described that,

before the IEO, he was in “a struggle for survival” that became “much better” post-IEO.

       569.    In the MATIC Whitepaper, Polygon stated publicly, including in the whitepaper,

that it would pool investment proceeds through its private and public fundraising to develop and

grow its business.

       370.570.        Polygon has also disclosed to the public that it has retained a significant

portion of MATIC for reserves and its team. The April 2019 post on Binance’s website

described that 20 percent of MATIC was reserved to compensate the Polygon team members and

advisors, and 57 percent allocated to the Polygon ecosystem, the Foundation, and network

operations. Consistent with this, Nailwal tweeted on February 21, 2023, that Polygon continues

to hold over 1.9 billion MATIC.

       371.571.        Following the IEO, moreover, Polygon has engaged in additional MATIC

sales, stating publicly that it was doing so in order to raise the funds needed to support the

growth of its network. On February 7, 2022, Polygon reported on its blog that it raised about

$450 million through a purportedly private sale of its native MATIC token in a funding round to

several prominent venture capital firms. Polygon stated, “With this warchest, the core team can

secure Polygon’s lead in paving the way for mass adoption of Web3 applications, a race that we

believe will result in Ethereum prevailing over alternative blockchains.” The post further
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 151 of 215




elaborated that “[t]he core team sees this investment round as the tide that lifts all boats and a

testament to the importance of community in making Web3 a reality.”

       26.     Since the IEO launch, Polygon has also reported fundraising from other marquee

and celebrity investors.

       27.     Polygon also stated that it would reserve roughly 67% of MATIC to support the

Polygon ecosystem, the Foundation, and network operations. Another 20% of MATIC was

further reserved to compensate the Polygon team members and advisors, aligning their fortunes

with investors’ with respect to MATIC.

       28.     In addition, the Polygon blog provides frequent updates on network growth and

developments at Polygon, including weekly statistics on active wallets and transactions per day,

as well as financial metrics such as revenue per day and total network revenue.

       372.572.        Polygon has also routinely announced when crypto asset trading platforms

have made MATIC available for trading, such as resulting in a robust secondary market.

MATIC became available for trading on the Binance.US platform beginning in June 2020. after

Polygon launched the mainnet (a publicly accessible version of the network).

       573.    Polygon has explicitlyAccording to CoinMarketCap, as of September 5, 2024,

MATIC had a daily trading volume of approximately $184 million, and a market cap of

approximately $1.6 billion.

       574.    The information Polygon publicly disseminated has led MATIC holders,

including those who have purchased MATIC on the Binance Platforms, to view MATIC as an

investment in, and reasonably to expect to profit from, Polygon’s efforts to grow the Polygon

network, which, in turn, would increase demand for and the value of MATIC.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 152 of 215




       575.   Polygon and its founders have regularly encouraged MATIC purchasers to view

MATIC as an investment in other ways.expect profits from Polygon’s efforts. For example, :

          a. In a February 5, 2021 tweet, 14 months after MATIC’s single biggest price drop,
             Nailwal compared the token to a prize fighter that came back from defeat to
             become a champion:




          b. On November 3, 2022, Nailwal stated on Twitter: “I will not rest till @0xPolygon
             gets its well-deserved ‘Top 3’ spot alongside BTC & ETH. No other project
             comes even close.” In a May 24, 2022 “Fireside Chat” with CNBC posted on
             YouTube, Bejelic described part of “what’s different about Polygon” as, “We are
             as a team very, very committed, we have a very hands on approach with all the
             projects out there, we are working around the clock on adoption and that isthat’s
             why we are currently the most adopted scaling infrastructure platform.”
             Currently, the founders of

          c. In that same Fireside Chat, Bejelic described efforts to grow Polygon, stating that
             it was “continuing firing on all cylinders” and that it had “raised a large funding
             round” earlier in 2022 that Bejelic said would be used in “long term” projects.
             Bejelic further touted that “Polygon is top free project in the industry when it
             comes to fundamentals, when it comes to adoption, and when it comes to
             technology” and “[w]e just want to keep pushing hard, working around the clock
             to continue delivering great results.” Bejelic also described the MATIC token as
             “publicly listed,” which allows “[a]]nyone [to] buy Polygon token and get a piece
             of the innovation and participate.” Bejelic stated that these public sales gave them
             “responsibility” stating further that “we are trying our best to protect even the
             small, uneducated retail investors.”

          b.d.On November 3, 2022, Nailwal stated on Twitter: “I will not rest till @0xPolygon
              gets its well-deserved ‘Top 3’ spot alongside BTC & ETH. No other project
              comes even close.”

          c.e. to promote the platform through various social media. For example, On February
               21, 2023, Nailwal tweeted, and Kanani retweeted, “Polygon has grown
               exponentially. To continue on this path of stupendous growth we have
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 153 of 215




               crystallized our strategy for the next 5 yrs to drive mass adoption of web3 by
               scaling Ethereum. Our treasury remains healthy with a balance of over $250
               million and over 1.9 billion MATIC.”

       576.    In addition, the Polygon blog on its website provides frequent updates on network

growth and developments at Polygon, including weekly statistics on active wallets and

transactions per day, as well as financial metrics such as revenue per day and total network

revenue. For example, a May 24, 2024 blog post on its website titled “Accomplishments and

Vibe Check after a Year of Building” described detailed changes to the network.

       577.    Polygon has reported fundraising from other marquee and celebrity investors who

described the potential growth of MATIC and the efforts of Polygon. One such celebrity

investor stated in a January 29, 2022 interview, “If I want to invest in Polygon, I want to meet

the engineering team, which I did in Dubai. I met the team, heard the vision of what they’re

doing, looked at the economic reality at the outcome, the potential of it.”

       373.578.        Polygon has also publicly touted how its efforts to manage the supply of

MATIC impacts its value. Since January 2022, Polygon has also marketed that it “burns”

MATIC tokens accumulated as fees, indicating that the total supply of MATIC would decrease.

For example, in January 2022, Polygon emphatically announced a protocol upgrade that enabled

burning in a blog post titled, “Burn, MATIC, Burn!” As Polygon explained in another blog post

on its website around the same time, “Polygon’s MATIC has a fixed supply of 10 billion, so any

reduction in the number of available tokens will have a deflationary effect.”

       374.579.        As of March 28, 2023, Polygon had burned approximately 9.6 million

MATIC tokens. This marketed burning of MATIC as part of the Polygon’s network’s

“deflationary effect” has led investors reasonably to view their purchase of MATIC as having the

potential for profit to the extent there is a built-in mechanism to decrease the supply and

therefore increase the price of MATIC.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 154 of 215




       580.     The Binance Platforms are an integral part of the markets for MATIC, and

Binance and BAM Trading fill these markets with information republishing and amplifying the

issuer and promoter statements and activity promoting MATIC as an investment.

       581.     For example, in a March 2021 AMA event posted on BAM Trading’s website

blog, Nailwal was asked, “What are the advantages of holding the MATIC token over the long

and short term.” For short-term MATIC holders, Nailwal responded that they have the ability to

invest and receive staking rewards. Nailwal noted that Polygon allocated 12% of the total

MATIC supply (1.2B tokens) to the staking rewards fund, which would ensure staking rewards

for the first five years. For long-term MATIC holders, Nailwal touted increased demand for

MATIC over time, noting that “we’re aiming for Polygon to become THE go-to scaling solution

for developers and enterprises to scale their applications for large scale usage.”

       582.     As of at least September 5, 2024, Binance continues to post information about

MATIC on the Binance.com Platform, including a project report from Binance Research with

links to Polygon’s “Official Announcement Channel” and other project social media accounts,

links to Polygon’s “Lightpaper” and website, and an updated 2023 article “What is Polygon

(MATIC)?”, and a live feed with recent information about MATIC.

       583.     As of at least September 5, 2024, BAM Trading continues to post information

about MATIC on the Binance.US Platform, including a project report that contains information

about Polygon and tips on how to trade MATIC, links to the MATIC and Polygon whitepapers

and the Polygon website, and a live feed with recent information about crypto assets listed on the

platform.

              iv.      FIL

       375.584.        “FIL” is the native crypto asset of the Filecoin network that powers the

entire network and all its processes. The Filecoin network is an open-source data storage
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 155 of 215




network that runs on a blockchain, created by Protocol Labs, Inc. (“Protocol Labs”), which

describes itself as a research, development, and deployment lab for network protocols.

       376.585.        In or around July 2014, Protocol Labs and its founder and CEO, Juan

Batiz-Benet (“Benet”), published whitepaper entitled “Filecoin: A Cryptocurrency Operated File

Storage Network,” which Protocol Labs updated approximately three years later, setting forth the

“path toward the construction of the Filecoin network.” Describing the work set forth in the

whitepaper as a “starting point,” the whitepaper touted the novel approach and technology and

closed by highlighting the future work ahead.

       377.586.        In 2017, Protocol Labs conducted a two-part token sale: first, an “Advisor

Sale” for advisors of Protocol Labs and Filecoin; and, second, a “Public Sale” for the broader

community, but supposedly limited to “accredited investors” (collectively, “2017 FIL Sales”).

Investors could use U.S. dollars and certain crypto assets to buy Filecoin.

       378.587.        Protocol Labs ran the Advisor Sale from July 21 to July 24, 2017, and sold

FIL to approximately 150 investors, which included individuals, institutional investors, trusts,

and established syndicate investors. These investors paid $.075 per FIL and were offered

“vesting/discount choices of 1-3 years and 0-30% discount.”

       379.588.        In the August 2017 Public Sale, the FIL price was set based on a “public

sale price function,” described as “price = max ($1, amountRaisedamount raised / $40,000,000)

USD/FIL” and increased thereafter based on the amount sold. For the Public Sale, like the

Advisor Sale, investors received discounted pricing for agreeing to longer vesting periods.

       380.589.        In connection with the 2017 FIL Sales, which were effected pursuant to

SAFTs, Protocol Labs filed forms with the SEC claiming an exemption from registration for the

offerings of FIL pursuant to SAFTs.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 156 of 215




       381.590.        Protocol Labs reported that they raised more than $205 million for the

development of Filecoin in the 2017 FIL Sales, which value increased in the days following the

close of the sale based on the fluctuation in value of certain invested crypto assets.

       382.591.        Protocol Labs pooled investment proceeds from the token sales to fund the

development and growth of the Filecoin network.

       383.592.        On October 15, 2020, Protocol Labs launched the mainnet (a publicly

accessible version of the network) of the Filecoin network, and FIL began being minted and

distributed. There was a stated maximum circulating supply of 2,000,000,000 FIL, meaning that

no more than 2 billion FIL will ever be created, with issuance aligning with network growth.

       29.     FIL has been available for buying, selling, and trading on the Binance.com

Platform since October 2020, and the Binance.US Platform since June 2021.

       384.593.        Since the October 2020 launch, Protocol Labs has continued to use funds

from the sale of FIL to develop, expand, and promote the Filecoin network.

       594.    “FIL” has been available for buying, selling, and trading on the Binance.com

Platform since October 2020, and the Binance.US Platform since June 2021.

       595.    According to CoinMarketCap, as of September 5, 2024, FIL had a daily trading

volume of approximately $97 million, and a market cap of approximately $1.9 billion.

       385.596.        The information Protocol Labs publicly disseminated, including after the

initial FIL sales, has led FIL holders, including those who have purchased FIL since October

2020, reasonably to on the Binance Platforms, to view FIL as an investment in, and reasonably to

expect to profit from, Protocol Lab’s efforts to grow its protocol, which, in turn, would increase

the demand for and the value of FIL.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 157 of 215




       386.597.        The Protocol Labs Filecoin Team posted about the sale in a September 13,

2017 blog that is still on the Filecoin website as of September 1, 2024: “The Filecoin Sale was a

critical milestone in the lifetime of the project. It raised the funding necessary to grow our team,

to create the network, and build all the software tools needed to operate and use the network.”

They further stated, “Filecoin success will reward the investment of supporters like you by

simultaneously driving down the cost of storage and increasing the value of the Filecoin tokens

that incentivize miners to provide storage. We’re thrilled by your widespread, enthusiastic

interest and look forward to staying engaged and including you in our success.”

       387.598.        In addition, Benet and the Filecoin team released a document titled,

“Filecoin Token Sale Economics,”” that providedis still available on the internet on coinlist.co,

which is a website that claims it “finds and launches the best new tokens before they list on other

exchanges.” This document provides information about the 2017 FIL Sales and the Filecoin

network, stating:

               Protocol Labs requires significant funding to develop, launch, and
               grow the Filecoin network. We must develop all the software
               required: the mining software, the client software, user interfaces
               and apps, network infrastructure and monitoring, software that
               third-party wallets and exchanges need to support Filecoin,
               integrations with other data storage software, tooling for web
               application and dApps to use Filecoin, and much more. We must
               deploy the network, facilitate its growth to large scale, market to
               and onboard miners and clients, bring key partners into the eco
               system, and much more.

       388.599.        That document also stated that FIL was to be distributed to groups “critical

to the network’s creation, development, growth, and maintenance” with an allocation, described

as follows, that tied Protocol Labs’ profits to those of FIL holders:

           a. 70% to Filecoin Miners – “For providing data storage service, maintaining the
              blockchain, distributing data, running contracts, and more.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 158 of 215




             b. 15% to Protocol Labs – “For research, engineering, deployment, business
                development, marketing, distribution, and more.”

             c. 10% to investors – “For funding network development, business development,
                partnerships, support, and more.”

             d. 5% to Filecoin Foundation – “For long-term network governance, partner support,
                academic grants, public works, community building, etc.”

          389.600.     The “Filecoin Token Sale Economics” document further explained: “We

have structured the token sale to reward a large group of people that can help us build the

[Filecoin] network, by selling Filecoin at what we think is a much lower price than it will be

worth some day (caveat: as with any risky investment of course we cannot make guarantees or

predictions).” As described in a July 2017 blog post, the Advisor Sale in particular was

intended, in part, to secure “long-term commitment to and alignment with the Filecoin network”

and “to reward their contributions so far and/or future potential with the capability to invest

early.”

          390.601.     The “Filecoin Token Sale Economics” and another document made

available to investors ahead of the 2017 FIL Sales, the Filecoin Primer, stated that Filecoin

purchasers would be able to sell the token on crypto asset trading platforms in the future.

          391.602.     The Filecoin Primer also touted “Large Scale Value Creation,” explaining,

the Filecoin Network “will create value in a number of ways, and the total impact of the network

can be tremendous. Growth of the network will drive demand for the token. The more value

created by the Filecoin Network, the more things people and organizations spend Filecoin on,

and the greater the value and worth of the token.”

          392.603.     Similarly, a Confidential Private Placement Offering Memorandum

(“PPM”) in connection with the 2017 FIL Sales stated: “A significant portion of the proceeds of

the Offering will be used by the Company to achieve the Minimum Viable Product and
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 159 of 215




subsequently to build-out a decentralized storage network, powered by a blockchain and the

Filecoin protocol token.”

       393.604.        Moreover, both before and after the 2017 FIL Sales, Protocols Labs

consistently touted its expertise and ability, and led the work to develop the Filecoin network for

launch. In an August 2, 2017 Q&A Benet stated: “Over the last few years, Protocol Labs has

proved to the world that we know how to deploy capital to create valuable projects, valuable

technology, and valuable software. . . . We know how to deploy capital effectively. We have

great plans for the Filecoin network and its surrounding ecosystem, at many levels of funding.

We plan to deploy 100s of millions of dollars over the next few years to make Filecoin the

world’s best storage network, not just the best decentralized storage network.”

       30.     Benet also addressed the funding needs, pricing, and economics of FIL in that

August 2017 Q&A, stating: “Since we think and are working for Filecoin to be worth a lot more

in the future, then we naturally want to sell it at the highest price the market will bear. Subject to

reason, if we can sell it higher, then we should.”

       394.605.        BenetHe also explained publicly that Filecoin needed funding in order to

be able to compete: “Our (collective) competition is the massive, centralized cloud storage

companies. We are talking about the tech titans – AWS, Google Cloud, and Microsoft Azure –

the three biggest companies in the world have cloud businesses with BILLIONS of dollars in

revenues, not just funding. In order to put up this fight, we will need significant resources. Yes,

resources in the hundreds of millions will empower us to develop Filecoin as fast as we can, as

well as the dozens of other tools and services required to make Filecoin a service and ecosystem

remotely close to competitive with the centralized counterparts.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 160 of 215




        395.606.          The economic structure of FIL distribution and public statements about

that structure further invited investors to view FIL as an investment in Protocol Labs’ and the

Filecoin Foundation’s efforts and to conclude that FIL investors’ interests were aligned with

those of FIL’s developers. Specifically, the tokens allocated to Protocol Labs and Filecoin

Foundation were to vest over a six-year period beginning after the network launch. As stated in

the “Filecoin Token Sale Economics” document, Protocol Labs and the Filecoin Foundation

“aim[ed] to make Filecoin massively valuable in the long-term, and we want to attract investors

similarly interested in long-term value creation and growth” and “[v]esting creates long-term

alignment” because “Protocol Labs and the Filecoin Foundation are deeply committed for the

long-term, and 6-year vesting boldly proves that to all other network participants.”

        396.607.          Filecoin has also implemented a process to burn FIL tokens, thereby

reducing the FIL supply. As with the “burn” mechanisms of other crypto asset securitiesassets

set forth herein, this marketed burning of FIL as part of the Filecoin’s economic features has led

investors reasonably to view their purchase of FIL as having the potential for profit.

        397.608.          Following the release of the protocol in October 2020, Protocol Labs

continued to be heavily involved in the development and promotion of the Filecoin network and

its pursuit of success.

        398.609.          In late 2021, Raul Kripalani, a Protocol Labs Researcher, introduced the

“Filecoin Virtual Machine” (“FVM”), described as a “core pillar in the next evolution of the

decentralized storage ecosystem.” On November 6, 2022, Kripalani tweeted, “These were

amazing weeks for the #FVM + team. Momentum and expectation are through the roof. 100s of

teams building on the Wallaby testnet. Many promising @Filecoin apps to launch on mainnet
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 161 of 215




the minute FEVM kicks in. Pumped to be building the future of $FIL with these rockstars!” The

Protocol Labs Twitter account has posted updates regarding FVM, including through April 2023.

       399.610.        The Protocol Labs team has continued to release “roadmaps” or “master

plans,” available online and through recorded video presentations, that showcase future

development plans for the Filecoin network. For example, in September 2022, Benet delivered

the keynote address at FIL-Singapore, which “gathered builders from around the world to build,

share experiences, and hear from other community members on what’s next for the network.” In

his address, Benet presented “The Filecoin Masterplan” which included building the world’s

largest decentralized storage network.

       611.    Benet promoted the event and the level of engagement with FIL investors in

advance on Twitter: “FIL Singapore is going to be so epic [fire emoji]—largest gathering of the

@ Filecoin community ever! See you there! [rocket ship emoji].”

       400.612.        In a February 3, 2023 Protocol Labs Blog post addressing the impact of

the “crypto winter” economic downturn, Benet touted the Filecoin team’s supposed successes to

date in growing the Filecoin ecosystem, “[w]e’ve achieved a tremendous amount in the past

several years - from Filecoin launch; to scaling IPFS to millions of users; building one of the

fastest growing developer ecosystems; supporting 300+ companies across the network; growing

movements like SBS and FTC; launching testnets for FVM, Saturn, SpaceNet, and Bacalhau just

last quarter; and much more.”

       613.    The Binance Platforms are an integral part of the markets for FIL, and Binance

and BAM Trading fill these markets with information republishing and amplifying the issuer and

promoter statements and activity promoting FIL as an investment.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 162 of 215




       614.     For example, BAM Trading’s June 17, 2021 Twitter post announced that it would

soon make FIL available for trading on the Binance.US Platform, and posted a link to an “All

About Filecoin (FIL)” page that provided information about the crypto asset and network, its

limited supply, and the release of additional tokens via block rewards. A few months thereafter,

BAM Trading promoted FIL as an investment, by tweeting that if investors “bought $10 of $FIL

in weekly recurring buys last month, your portfolio could now be up 19.62%!”

       615.     Binance similarly promoted FIL, including hosting various promotional programs

to induce investors to purchase FIL. For example, in April 2021, Binance announced a

promotion on Twitter: “Trade $FIL @Filecoin and Win UP to $100,000 in $FIL!”

       616.     As of at least September 5, 2024, Binance continues to post information about

FIL on the Binance.com Platform, including a project report from Binance Research with links to

Filecoin’s website and blog, and on Binance Academy, an article updated in August 2022 called

“What is Filecoin (FIL)?”, and a live feed with recent information about FIL.

       617.     As of at least September 5, 2024, BAM Trading continues to post information

about FIL on the Binance.US Platform, including a project report that contains information about

Protocol Labs, links to the Filecoin whitepaper and website, and a live feed with recent

information about crypto assets listed on the platform.

              v.       ATOM

       401.618.        “ATOM” is the native crypto asset of the Cosmos Hub. The Cosmos

project was launched in 2017 by Jae Kwon and Ethan Buchman. According to Cosmos’ website

(),, Cosmos is an ecosystem of blockchains designed to scale and interoperate with each other,

and the Cosmos team aims to “create an Internet of Blockchains” or “a network of blockchains

able to communicate with each other in a decentralized way.” Cosmos is built on a proof-of-

stake consensus mechanism.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 163 of 215




       402.619.       The Cosmos Hub is a central blockchain that provides services to other

blockchains connected to it, including “the largest interchain token exchange, shared security

through interchain security, bridges to ethereum (ETH) and bitcoin (BTC), and secure

custodianship of digital assets.” Cosmos described the Cosmos Hub as “the first hub among

many hubs that [w]as launched within the Cosmos Network of sovereign blockchains.”

       31.     ATOM is described as “a license for the holder to vote, validate, or delegate to

other validators” and “can also be used to pay for transaction fees to mitigate spam.”

       32.     In 2017, the Interchain Foundation (the “ICF”) (a Swiss non-profit organization of

which Buchman is President) sold ATOM by conducting what it termed the “Cosmos

Fundraiser” to collect so-called “donations” for the development of the Cosmos network.

Pursuant to this offering, participants received ATOM tokens in exchange for BTC or ETH. The

ICF offered ATOM at a value of $0.10 per token, with a 25 percent discount on that price for

partnering “strategic funders” and a 15 percent discount for individual “Pre-Fundraisers.” By

April 2017, ICF had raised approximately $17.3 million in BTC and ETH through its

“fundraiser” by selling ATOM tokens.

       403.620.       At least four entities are currently or have been significantly involved in

the development of Cosmos: (1) the ICFInterchain Foundation (the “ICF”), a Swiss non-profit

organization of which Buchman is President, which was created in 2017 by Kwon and Buchman,

and—according to Cosmos’ public website—was formed “to support the development of

Cosmos and the ecosystem that will contribute to the Cosmos Network”; (2) Interchain GmbH,

LLC, a German limited liability company and subsidiary of ICF, which employs a team of

approximately 35 software engineers and operations personnel working primarily on the Cosmos

network; (3) All in Bits, Inc. d/b/a Tendermint (n/k/a Ignite, Inc.) (“Tendermint”), a Delaware
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 164 of 215




corporation created by Kwon and headquartered in Berkley, California, with which the ICF

contracted in 2017 “to develop the initial portion of the CESS [Cosmos Essential Software and

Services]”;],” and that later focused on developing products and tools “to onboard the next wave

of developers and crypto enthusiasts to Cosmos;” and (4) NewTendermint, Inc., a Delaware

corporation of which Kwon is CEO and which supports and developsthat was spun off from

Tendermint in February 2022, and that is “focus[ed] on contribution to the Cosmos ecosystem.

core technology.”

        621.    The Cosmos whitepaper that Kwon and Buchman publicly released in 2017

(“Cosmos Whitepaper”), which is still available online as of September 1, 2024, describes

ATOM as a “staking token” and “a license for the holder to vote, validate, or delegate to other

validators” and “can also be used to pay for transaction fees to mitigate spam.”

        622.    The ICF began fundraising for Cosmos in several ATOM sales in 2017. On April

6, 2017, the ICF conducted a two week “Cosmos Fundraiser” to collect so-called “donations” for

the development of the Cosmos network. Pursuant to this offering, participants provided BTC or

ETH in exchange for a later distribution of ATOM tokens. The initial fundraising offered

ATOM at a value of $0.10 per token, with a 25 percent discount on that price for partnering

“strategic funders” and a 15 percent discount for individual “Pre-Fundraisers.” However, the

ATOM tokens were not distributed at the time of the initial fundraising but were planned to be

distributed later.

        33.     The ICF later disclosed how they spent investor funds, for example in a 2019

post, “Projects Funded in 2018” posted to the ICF’s public GitHub page.In February 2022,

NewTendermint was spun off from All in Bits, Inc. (d/b/a Tendermint), which, at the same time,
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 165 of 215




was rebranded to and became Ignite, Inc., which has focused on developing products and

developing tools “to onboard the next wave of developers and crypto enthusiasts to Cosmos.”

       623.     The ICF posted a similar page for “Projects Funded in 2019.”

       34.     ATOM has been available for buying, selling, and trading on the Binance.com

Platform since April 2019, and the Binance.US Platform since October 2019.

       35.     The information publicly disseminated by ICF, Kwon, and Buchman has led

ATOM holders, including those who purchased ATOM since April 2019, reasonably to view

ATOM as an investment in and to expect to profit from ICF’s, Kwon’s, and Buchman’s efforts to

grow the Cosmos protocol, which, in turn, would increase the demand for and value of ATOM.

       404.624.        The ICF collected and pooled the $17.3 million raised from investors in

the Cosmos Fundraiser. In promoting the Cosmos Fundraiser, the ICF represented that the funds

raised would be deployed to develop the Cosmos network. For example, the March 31, 2017

“Cosmos Plan” posted on the Cosmos GitHub page provided that the raised funds would be used

“to contract with entities”—including Tendermint—“and their agents for the development of the

Cosmos Essential Software and Services (CESS) and to help foster a community around CESS.”

The post stated that the “ICF is planning a Fundraiser for future staking tokens, called “atoms”,

that give the holder limited license to validate the Cosmos Hub and Dex” and that “[t]he

contributions made in connection with the Fundraiser will go to the ICF to develop the CESS.”

The ICF later disclosed how they spent investor funds, for example in a 2019 post, “Projects

Funded in 2018” posted to the ICF’s public GitHub page.

       625.    In the 2017The March 2017 post also emphasized that the purchase of ATOM

was a long-term investment, stating that “[t]he atoms will not be available for use until after
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 166 of 215




genesis day[,]” which “is estimated to be sometime in early Q4 2017.” The post also warned

investors “that the Cosmos Network is still in an early development stage.”

       626.    The March 2017 post also emphasized that initial investments would be pooled

with assets from the sale of ATOM, stating that “[t]he ICF has received several commitments for

donations from various individuals that will be tied to a portion of future atoms.” This March

2017 post remains on the Cosmos GitHub page as of September 5, 2024.

       627.    ICF raised approximately $17.3 million in BTC and ETH from investors in the

Cosmos Fundraiser.

       405.628.       The Cosmos Whitepaper and “Fundraiser Plan” (both of which were

publicly available on the Cosmos website), Kwon and Buchman describedprovided the Cosmos

Fundraiser and said thatfollowing distribution for the 236 million ATOM tokens initially minted

would be distributed: 10% to the “Cosmos Network Foundation” (the ICF), 10% to All in Bits,

Inc. (Tendermint), 5% to initial or “lead donors,” and 75% to “the donors of the Cosmos

Fundraiser” and pre-fundraiser donors (investors).

       629.    ICF has also touted to investors its retention of ATOM tokens in reserve, as well

as the availability of proceeds from the sale of ATOM. In a March 25, 2020 Medium article, an

ICF director states, “To date, we still have over 1,400 BTC, over 50,000 ETH and just over 20

million ATOMs in the treasury[.]”

       630.    ATOM tokens were released in March 2019 with the launch of the Cosmos Hub.

       631.    ATOM has been available for buying, selling, and trading on the Binance.com

Platform since April 2019, and the Binance.US Platform since October 2019.

       632.    According to CoinMarketCap, as of September 5, 2024, ATOM had a daily

trading volume of approximately $131 million, and a market cap of approximately $1.5 billion.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 167 of 215




       633.    The information ICF, Kwon, and Buchman publicly disseminated has led ATOM

holders, including those who have purchased ATOM on the Binance Platforms, to view ATOM

as an investment in, and reasonably to expect to profit from, ICF’s, Kwon’s, and Buchman’s

efforts to grow the Cosmos protocol, which, in turn, could increase demand for and the value of

ATOM.

       634.    For example, in a March 13, 2020 GitHub post, Buchman claimed, one year after

the launch of the Cosmos Hub, “the Cosmos community could not be stronger.” The post noted

that “there’s so much more work to do on many fronts” and described several initiatives related

to the Cosmos network.

       406.635.        In public statements on the Cosmos and ICF websites and other internet-

based platforms, including statements made and available during the period whenwhile ATOM

washas been available to tradefor trading on the Binance Platforms, the ICF described its

expertise in developing blockchain networks and the efforts it and related entities (including

Interchain GmbH and Tendermint) have made and that they will continue to make to develop the

Cosmos network and attract users to the technology. For example:—typically casting these

efforts as complex, extensive, and therefore implicitly requiring significant time, expertise, and

funds. For example:

       a. Cosmos’s website stated that “Cosmos is supported by the Interchain Foundation”
          and identifies Tendermint, Interchain GmbH, and 15 other “Cosmos core
          development teams”;”

       b. The ICF website stated that it “funds, stewards, and responsibly advances the Cosmos
          ecosystem” and its “core teams maintain the protocols and applications” in the
          “Cosmos tech stack” (including Cosmos Hub and Cosmos SDK), and identified 35
          “Team” members, including Cosmos Hub and Cosmos SDK project, strategy, and
          developer relations leads, and software and developer relations engineers,” that “[w]e
          help support projects like the Cosmos Network,” and that with its “Engineering and
          Product” work “[w]e are primarily interested in general purpose technologies that
          expand the environment, capabilities, and security of the Cosmos ecosystem”;;”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 168 of 215




       c. The 2019 “Projects Funded in 2018” post on the ICF’s GitHub page (referenced
          above) identified grants, service agreements, and investments to develop the Cosmos
          network in 2018; and

       d. The ICF website has touted the “Builders Program,” which supposedly “provides
          mentorship, structured support and access to a wide network of partners”; “is led by a
          team experienced in building the ecosystem’s software and infrastructure”; “is made
          by builders for builders, linking together our team of entrepreneurs, software
          engineers and designers with years of experience in building and launching chains”;
          and is a vehicle for ICF to “help teams navigate the ecosystem by giving access to our
          large network of investors, exchanges, custodians, auditors, development and design
          agencies, data providers and infrastructure partners.”

       e. ICF hosts an annual “Cosmoverse” conference, which it describes as an opportunity
          to “update the community about current developments, implementations, and
          visions.” ICF also has made videos of the conference widely available through its
          Cosmoverse YouTube channel. In one such video from the 2023 Cosmoverse
          conference, Buchman noted that “ATOM is not money” but is instead a “staking
          token” that is “uniquely positioned” because of the design of the Cosmos Hub and
          because the token is “well distributed[.]”

       636.   The Binance Platforms are an integral part of the markets for ATOM, and

Binance and BAM Trading fill these markets with information republishing and amplifying the

issuer and promoter statements and activity promoting ATOM as an investment.

       637.   For example, on April 28, 2019, Binance posted on Twitter, “New Listing! Read

our in-depth @Binance Research report on @cosmos $ATOM.” The linked report contained

substantial information about Cosmos and ATOM, including sections entitled “Token Sale &

Economics,” “Team overview,” “Roadmap and Updates,” and links to the Cosmos Whitepaper.

       638.   BAM Trading also often touted ATOM on Twitter as a “top gainer” crypto asset,

such as its tweet on October 18, 2020, stating “Top gainers: $ UNI +7.5%” $VET +7.3%

$ATOM +6.1%.”

       639.   As of at least September 5, 2024, Binance continues to post information about

ATOM on the Binance.com Platform, including a Binance Research project report with links to
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 169 of 215




the Cosmos Whitepaper, blog, social media accounts, and YouTube channel, and a live feed with

recent information about ATOM.

       640.     As of at least September 5, 2024, BAM Trading continues to post information

about ATOM on the Binance.US Platform, including a project report that contains information

about Cosmos, and links to the Cosmos Whitepaper and website, and a live feed with recent

information about crypto assets listed on the platform.

              vi.      SAND

       407.641.        “SAND” was created on the Ethereum blockchain as the native token of

the Sandbox platform, (“The Sandbox”), a virtual gaming platform first released in 2012 by

Pixowl, Inc. (“Pixowl”) as a mobile game for download on mobile phones. Pixowl, which is

headquartered in San Francisco, was founded in 2011 by Arthur Madrid (“Madrid”) and

Sebastien Borget (“Borget”). In 2018, Animoca Brands, Inc. (“Animoca”), headquartered in

Hong Kong, acquired Pixowl and announced its intention to build a new 3D version of The

Sandbox by leveraging blockchain technology. After Pixowl’s acquisition, the Sandbox’s

intellectual property of The Sandbox, along with the rest of Pixowl’s assets, were transferred to

TSB Gaming Ltd (“TSB”), a wholly owned subsidiary of Animoca. Madrid is CEO of TSB, and

Borget is the COO.

       408.642.        According to Sandbox’sThe Sandbox website, SAND is required to access

The Sandbox platform, participate in the platform’s governance, and earn rewards through the

staking program on the platform as further described below. .

       409.643.        On or about May 23, 2019, before the minting of SAND in July 2019,

Animoca and TSB raised approximately $2.5M in cash and crypto assets through TSB via the

issue of Simple Agreements for Future Equity (“SAFEs”) and SAND tokens, to “fund the

development of the upcoming blockchain version of The Sandbox.” According to Animoca’s
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 170 of 215




May 23, 2019 press release, the majority of investors allocated their investment to the purchase

of both SAND tokens and future equity in TSB via the SAFE agreements (in the amount of $2

million), while some investors allocated their investment exclusively to the purchase of SAND

tokens ($500,000). Per the release, the funding round was led by Hashed, a blockchain firm, for

approximately $1 million, and also included a number of other crypto venture capital investors.

       644.    TSB then minted a total supply of 3 billion SAND on the Ethereum blockchain in

or around July 2019 and offered and sold SAND through purportedly private. Beginning on

August 13, 2020, Animoca launched public sales andof SAND in an IEO that raised $3 million

on the Binance.com Platform starting August 13, 2020. . Animoca raised $3 million in the IEO

and pooled those funds for its use.

       410.645.        In connection with the IEO, TSB publicly disseminated a Sandbox

whitepaper in August 2020 that is still on the Sandbox website as of September 2024 (“Sandbox

Whitepaper”) that stated that, of the 3 billion SAND tokens that were initially minted, 19% were

to be allocated to The Sandbox founders and team, 10% were allocated to advisors, 12% were to

be allocated to the Sandbox Foundation, and another 25.82% was to be allocated to the Company

Reserve.

       411.646.        SAND has continued to be available for buying, selling, and trading on the

Binance.com Platform since the IEO in October 2020. SAND has also been available for

buying, selling, and trading on the Binance.US Platform since October 2022.

       647.    According to CoinMarketCap, as of September 5, 2024, SAND had a daily

trading volume of approximately $45 million, and a market cap of approximately $556 million.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 171 of 215




       648.    TSB and Animoca have regularly used internet-based platforms, including social

media accounts and a website devoted to The Sandbox platform, to promote The Sandbox and

SAND to potential and actual investors, including those trading on the Binance Platforms.

       412.649.       The information TSB and Animoca publicly disseminated has led SAND

holders, including those who have purchased SAND since August 2020, reasonablyon the

Binance Platforms, to view SAND as an investment in, and reasonably to expect to profit from,

TSB’s and Animoca’s efforts to grow The Sandbox protocolplatform, which, in turn, would

increase the demand for and the value of SAND.

       413.650.       OnIn its blog posts announcing “exchange listings,” SandboxTSB touted

its efforts to obtain “listings” and the SAND token’s liquidity in the secondary market. For

example, in a September 21, 2021 Medium blog post, Sandbox stated that “$SAND is listed on

over 60 global cryptocurrency exchanges, including a dozen of the top exchanges by market

capitalization.”

       651.    TSB and Animoca have also allocated resources to the Sandbox Foundation,

which is described in the Sandbox Whitepaper as a foundation “to support the ecosystem of The

Sandbox, offering grants to incentivize high quality content & game production on the platform.”

TSB has described how resources were invested into the Sandbox Foundation, which in turn

worked to expand The Sandbox:

       a. A “One Pager” released in December 2019 and the Sandbox Whitepaper (both of
          which are available on The Sandbox website as of September 20204) describe that
          “the role of the Foundation is to support the ecosystem of The Sandbox” and “[t]he
          overall valuation of the metaverse grow through the valuation of all games funded by
          the Foundation, creating a virtuous circle to enable funding bigger games.”

       b. The Sandbox Whitepaper described that 50 percent of fees collected from
          transactions in SAND tokens would be allocated to the Sandbox Foundation;

       c. As of September 2024, the Sandbox website continues to state that 50 percent of
          revenues from the Sandbox are allocated to “Company Reserve” and “Company
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 172 of 215




             Treasury” and the other half to the Sandbox Foundation. The website describes that
             the Foundation contributes the funds to “Community Rewards” for “Players,
             Creators, and Investors” including “activities that encourage the broader adoption of
             SAND.”

       d. The Sandbox’s GitBook, a depository of online information, also notes that the
          Sandbox Foundation has, among other things, (a) supported play-to-earn tournaments
          and cross-gaming to encourage the broader adoption of SAND and (b) supported
          marketing activities contributing to the growth of awareness about NFTs, Metaverse
          and SAND adoption, including co-marketing with exchanges and influencers.

       414.652.         In addition, the Sandbox TSB has publicly stated that it would pool the

proceedsfunds generated from the privateSAND token sales and the IEOwould be used to

develop and promote use of the platform. For example, thea May 23, 2019 press release

concerning an investment from major blockchain companies stated:, “The funds raised through

this transaction will be used to grow the development team and infrastructure for the [Sandbox]

Game Platform, support marketing efforts through the acquisition of creators and IP licenses, and

provide for security, legal, and compliance expenses as well as general and administrative costs.”

The August 2020 Sandbox Whitepaper with the launch of public sales similarly described

identical uses for the $3 million in funds intended to be raised during the IEO.

       36.      Moreover, according to the Sandbox Whitepaper, of the 3 billion SAND tokens

that were initially minted, 19% were to be allocated to the Sandbox founders and team, and

another 25.8% were to be allocated to the Company Reserve.

       415.653.         Moreover, TSB stated publicly that it would take steps to manage the

market for SAND. In addition, the Sandbox’s a Medium blog post on July 25, 2019, it stated,

“[A]n interesting feature of [the $SAND] token is that it can accrue in value over time, due to the

fact that it is scarce. There will be a limited supply of 3 billion units of $SAND available.”

There will be a limited supply of 3 billion units of $SAND available.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 173 of 215




       416.654.        Moreover, TSB stated publicly that it would take steps to manage the

market for SAND, including the SAND Whitepaper statingSimilarly, the Sandbox Whitepaper

stated that the Sandbox team controls the supply of SAND tokens and has implemented a

“controllable supply mechanismmechanisms, such as purchasing SAND from multiple

exchanges,” and that “while the total supply of SAND is fixed, the initial amount of SAND

offered will provide a scarcity effect reducing the SAND available per capita and therefore

fostering demand.”

       655.    Consistent with the Sandbox Whitepaper, in a July 2023 Medium post, TSB

announced it had “initiated the first $SAND burn to Earn (buyback) sales program,” noting that

they had “generated approximately $91,401,649.3 in quarterly profits from asset management

strategies, and a portion of this profit is dedicated to the buyback.” The post noted that the

impact of this buyback program would lead to an increase in the value of SAND, stating:



               When SAND token is purchased from the buyback promo program
               through the secondary market, SAND is automatically burnt which
               permanently reduces the number of SAND tokens in circulation
               which achieves a deflationary tokenomics model through the
               buyback promo program in order to boost liquidity, reduce
               volatility, and contribute to price appreciation. [P]articipants get
               $SAND burnt-out yields token bonus reward incentive for
               participating.

       417.656.        Additionally, in many instances, Animoca hasand TSB have touted the

backgrounds of Pixowl, TSB, and The Sandbox core members, including Madrid and Borget, in

describing the success and future development of The Sandbox, such as:

           a. After the acquisition of Pixowl, Yat Siu, the co-founder and director of Animoca,
              stated in a press release, dated August 27, 2018 (the “2018 Press Release”) that
              “Pixowl’s experienced developers will significantly increase our development
              capabilities. Its founders are highly respected game industry veterans who have
              developed multimillion dollar franchises. We believe the blockchain version of
              The Sandbox has incredible potential . . . We look forward to utilizing the many
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 174 of 215




                opportunities for growth conferred by this acquisition”;

             b. In the 2018 Press Release, Madrid also commented: “Animoca Brands is a perfect
                fit for Pixowl and we are happy to add our brand relationships to its portfolio
                while accelerating growth for our key IP, The Sandbox[.] . . .”;

             c. The 2018 Press Release also touted that Ed Fries, the creator of Microsoft Game
                Studios and co-founder of the Xbox project, is a special advisor to The Sandbox’s
                original game developer Pixowl and will therefore continue to serve on the
                advisory team.

             d. The Sandbox Whitepaper further claimed, “We have a strong product roadmap
                ahead and a top team to execute a strong vision to build a unique virtual world
                gaming platform where players can build, own, and monetize their gaming
                experiences and spread the power of blockchain as the lead technology in the
                gaming industry.”

       37.      Moreover, the Sandbox Whitepaper describes that the role of the “Sandbox

Foundation” is to support the ecosystem of the Sandbox by, among other things, offering grants

to incentivize high quality content and game production on the platform and further notes that

the “overall valuation of the metaverse grows through the valuation of all games funded by the

Foundation, creating a virtuous circle to enable funding bigger games.” The Sandbox’s Gitbook

also notes that the Sandbox Foundation has, among other things, (a) supported play-to-earn

tournaments and cross-gaming to encourage the broader adoption of SAND and (b) supported

marketing activities contributing to the growth of awareness about NFTs, Metaverse and SAND

adoption, including co-marketing with exchanges and influencers.

             e. In the December 2019 “One Pager,” TSB states they had “assembled the right
                senior team to execute our vision”;

             f. As recently as July 29, 2024, TSB announced on the Medium website “a
                significant development in the evolution of $SAND,” which was a new “bridge”
                to additional blockchains, including the Binance Smart Chain. It explained, “This
                cross-chain initiative aims to attract more players to the platform, driving overall
                growth and engagement.” The posting noted that holders could collect tokens
                “either in-game or through secondary market purchases.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 175 of 215




       657.     The Binance Platforms are an integral part of the markets for SAND, and Binance

and BAM Trading fill these markets with information republishing and amplifying the issuer and

promoter statements and activity promoting SAND as an investment.

       658.     For example, a few days prior to the IEO of SAND on the Binance.com Platform,

Binance announced the launch on its website that included information about SAND token

allocation and cost, provided a link to Binance Research’s “in-depth report” and contained links

to the Sandbox website and social media accounts.

       659.     Before the launch, Zhao also issued a statement on the Binance blog that Binance

was “delighted to welcome The Sandbox to the Binance ecosystem” and that “together we will

be able to spread the power of blockchain[.]” In addition, Binance promoted the IEO on its

Twitter page.

       660.     Binance continued such amplifications after the SAND IEO. It hosted SAND-

related promotions, including “trading competitions” in which it offered prizes, including free

SAND, to Binance.com Platform customers based on their trading volumes in SAND during the

promotional period. In October 2021, for example, Binance hosted a promotion where it gave

away $100,000 in free SAND tokens to customers based on their SAND trading volume during

the promotional period, and if they took a “quiz” that tested investors’ knowledge about SAND.

       661.     As of at least September 5, 2024, Binance continues to post information about

SAND on the Binance.com Platform, including a Binance Research project report with links to

the Sandbox blog, social media sites, and YouTube channel, and a live feed with recent

information about SAND.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 176 of 215




       662.     As of at least September 5, 2024, BAM Trading continues to post information

about SAND on the Binance.US Platform, including a pricing page, and a live feed with recent

information about crypto assets listed on the platform.

             vii.      MANA

       418.663.        “MANA” is the digital token minted by Decentraland. Decentraland is a

virtual reality platform that began development in June 2015 but was not made available to the

public until its launch in February 2020. Decentraland was launched through an entity named

Metaverse Holdings by a team of core individual developers: Ariel Meilich, Esteban Ordano,

Manual Araoz, and Yemel Jardi. Decentraland operates on the Ethereum blockchain. According

to Decentraland’s website, www.decentraland.org, Decentraland is a three-dimensional virtual

reality platform, where users can create, experience, and monetize their content and applications.

       419.664.        According to Decentraland’s website, and as discussed more fully below,

MANA serves as the crypto asset involved in all transactions in the Decentraland virtual reality

ecosystem. On August 18, 2017, Decentraland held an ICO MANA tokens in exchange for

ETH, raising approximately $24.1 million. Currently, there is a total supply of approximately

2.19 billion MANA tokensThis includes the purchase of a digital asset called “land,” which

Decentraland described as “non-fungible parcels in which the virtual world is divided” on which

developers could “build and monetize applications on top of it” such as gaming and digital art.

       38.      Decentraland offered early contributors to the Decentraland ecosystem a

discounted price when purchasing MANA.

       39.      MANA has been available for buying, selling, and trading on the Binance

Platforms since August 2020.

       40.      The information Decentraland publicly disseminated has led MANA holders,

including those who have purchased MANA since August 2020, reasonably to view MANA as
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 177 of 215




an investment in and to expect to profit from Decentraland’s efforts to grow the Decentraland

protocol, which, in turn, would increase the demand for and value of MANA.

       41.     Investor proceeds raised during the MANA ICO wereIndeed, Meilich explained

in a separate blog post that after the ICO, Decentraland would implement a “Continuous Token

Model,” where it would increase the MANA supply by 8 percent in the first year, followed by a

lower rate in subsequent years, to allow Decentraland to “regularly expand while

accommodating new users … The proceeds of the tokens sold by [the Continuous Token Model]

will finance Decentraland over the long haul, perpetually aligning it with the prosperity of the

network.”

       665.    In April 2020, the Decentraland Team announced the creation of the Decentraland

Foundation (the “Decentraland Foundation”), which today holds the intellectual property rights

over and makes available the products and services, including virtual environment and tools,

offered on the Decentraland platform.

       666.    On August 18, 2017, Decentraland held an ICO for MANA tokens in exchange

for ETH, raising approximately $24.1 million.

       420.667.        In a July 3, 2017 Medium post, Meilich publicly stated that the

distribution of the initial supply of MANA tokens issued at the time of the ICO would be as

follows: 20 percent to the founding team, advisors, and early contributors; 20 percent to the

Foundation; 40 percent to be available for purchase by the public; and 20 percent reserved to

“incentivize early users, developers, and partners who want to build within Decentraland.” He

further noted that the MANA allocation to the project leads would be on a three-year vesting

schedule.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 178 of 215




       421.668.       As Meilich explained in his publica July 3, 2017 blog post, “To

incentivize value creation within Decentraland, extra tokens will be allocated to the

[development team], organization, and a reserve to accelerate Community and Partner

engagement.”

       669.    As of September 1, 2024, there is a total supply of approximately 2.19 billion

MANA tokens.

       670.    Decentraland also offered early contributors to the Decentraland ecosystem a

discounted price when purchasing MANA.

       422.671.       Decentraland publicly stated that investor proceeds from the MANA ICO

would be pooled to fund the marketing, business expenses, and completion of the Decentraland

platform. For instance, on July 5, 2017—a few weeks before the MANA ICO—Jardi published

a blog post detailing Decentraland’s intended use of revenue from the token sale as follows:




       423.672.       The blog post further explained that the “top priority” for use of the

revenue was to develop a virtual world and that even after Decentraland was created, “the

development budget will focus on the continued improvement of the end-user experience within

the world.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 179 of 215




       673.    For example, MANA has been available for buying, selling, and trading on the

Binance.com Platform since November 2017, and the Binance.US Platform since August 2020.

       674.    According to CoinMarketCap, as of September 5, 2024, MANA had a daily

trading volume of approximately $26 million, and a market cap of approximately $476 million.

       675.    The information Decentraland publicly disseminated has led MANA holders,

including those who have purchased MANA on the Binance Platforms, to view MANA as an

investment in, and reasonably to expect to profit from, Decentraland’s efforts to grow the

Decentraland protocol, which, in turn, would increase demand for and the value of MANA.

       424.676.        Decentraland publicly issued a whitepaper in or around July 2017

(“Decentraland Whitepaper”) describedthat is still available on Decentraland’s website as of

September 5, 2024. It describes the architecture that would be built in the virtual reality platform

and steps that would be taken to support Decentraland’s growth. It further mademakes clear that

the development of the platform was only beginning, and listedlists a number of “Challenges”

that would need to be addressed in the development process in order for the platform to succeed.

       425.677.        Decentraland has continued to invest efforts in new developments and

tools for the platform. According to Melich in an August 19, 2017 blog post on Medium, for

example, even after the ICO, Decentraland was still “preparing a land allocation policy to ensure

fair distribution, as well as a method for groups to purchase larger contiguous plots of land.”

       426.678.        Since the ICO, Decentraland has also developed tools for purported use on

its platform (e.g., the “Marketplace” and “Builder” tools). In a public blog post published on

Medium on March 19, 2018, the Decentraland team described the marketplace tool as the “first

… in what will be a series of tools.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 180 of 215




          427.679.      Additionally, the Decentraland Whitepaper explained how the

Decentraland Foundation would “Foster the Network” in that it will “hold contests to create art,

games, applications, and experiences, with prizes contingent on meeting a set of milestones. At

the same time, new users will be assigned allowances, allowing them to participate in the

economy immediately.” The Decentraland Whitepaper further claimed, “These“[t]hese financial

incentives will help bootstrap the utility value of the network until it independently attracts users

and developers.”

          680.   The Decentraland Whitepaper and website havehas also marketed thathow the

MANA protocol “burns” (or destroys)affects the supply and demand of MANA tokens when

used within the over time. As Meilich explained in a July 3, 2017 blog post on the Medium

website, after the ICO Decentraland ecosystemwould implement a “Continuous Token Model,”

where it would increase the MANA supply by 8 percent in the first year, followed by a lower

rate in subsequent years, to allow Decentraland to “regularly expand while accommodating new

users.”

          681.   The blog further contained a graph showing how much new MANA would be

issued over the ensuing 10 years, and noted, “The proceeds of the tokens sold by [the Continuous

Token Model] will finance Decentraland over the long haul, perpetually aligning it with the

prosperity of the network” (emphasis added) – thereby indicating that Decentraland would

continue to use the proceeds of MANA sales over time to fund its business, and that

Decentraland efforts with respect to MANA would last for a significant time.

          682.   Further, in a January 5, 2018 Medium post called “Decentraland Project

Updates,” Meilich promoted “several exciting milestones,” including a partnership with another

company to “increase MANA liquidity.” Meilich also announced that Decentraland had
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 181 of 215




established a MANA token-specific page “to help our community better understand the MANA

token,” which included “a summary of the most important stats, such as total supply, circulating

supply, and how these may be affected by the aforementioned (and all future) MANA burn, as

well as by vesting contracts.”

       683.    The Binance Platforms are an integral part of the markets for MANA, and

Binance and BAM Trading fill these markets with information republishing and amplifying the

issuer and promoter statements and activity promoting MANA as an investment.

       684.    For example, in December 2018, Binance partnered with Decentraland to run

several programs intended to market MANA as an investment opportunity to Binance.com

Platform customers. Among other things, Binance hosted two separate competitions “[t]o help

reward the most active members of the Binance and Decentraland communities.” During one

week in December 2018, Binance offered over 1.8 million MANA tokens to, among other things,

the top 100 MANA traders on the Binance.com Platform, thereby further incentivizing investors

to trade MANA.

       685.    Similarly, in July 2019, Binance hosted an AMA on Binance’s Telegram channel

with Meilich that Binance promoted by offering customers $3,000 in MANA airdrops as part of

the event.

       686.    BAM Trading engaged in similar promotions of MANA to Binance.US Platform

customers. Before listing on the Binance.US Platform, Binance and BAM Trading also

negotiated with a Decentraland Foundation representative that BAM Trading receive 500,000

MANA to further promote MANA trading on the Binance.US Platform. Among other things,

BAM Trading hosted a “Learn and Earn” campaign around September 2020 where users
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 182 of 215




received MANA to their Binance.US Platform account if they watched a short video and took a

quiz about MANA.

       687.    BAM Trading announced that it would list MANA on August 12, 2020, and the

next day, it promoted on its Twitter page that Binance.US Platform users could “[l]earn all about

@Decentraland $MANA with our quick project guide.”

       688.    In addition, a few months after MANA was listed on the Binance.US Platform,

BAM Trading held an AMA event with Meilich on BAM’s Telegram channel to discuss MANA

and Decentraland with Binance.US Platform customers.

       689.    As of at least September 5, 2024, Binance continues to post information about

MANA on the Binance.com Platform, including a project report from Binance Research with

links to the Decentraland website, and on Binance Academy, an updated June 2023 article called

“What is Decentraland (MANA)?”, and a live feed with recent information about MANA.

       428.690.        As of at least September 5, 2024, BAM Trading continues to post

information about MANA on the Binance.US Platform, including a project report that contains

information about Decentraland and tips on how to trade MANA, and a live feed with recent

information about crypto assets listed on the platform.

           viii.       ALGO

       429.691.        “ALGO” is the native token of the Algorand blockchain and has a

maximum supply of 10 billion, which were minted at the launch of the Algorand network.

Algorand is a blockchain protocol founded by Silvio Micali. The Algorand blockchain uses a

consensus algorithm it calls “pure proof-of-stake,” in which each user’s ability to influence the

choice of a new block is proportional to its stake (number of tokens) in the system. Because

ALGO is the native token of the Algorand blockchain, those utilizing the Algorand blockchain

need to hold (and potentially stake) certain amounts of ALGO.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 183 of 215




       692.    ALGO has a maximum supply of 10 billion, which was minted at the launch of

the Algorand network. The Algorand Foundation Ltd. (the “(“Algorand Foundation”) has

allocated 25% of the total supply for its team, foundation, and its investors.

       693.    The Algorand Foundation conducted a series of private equity raises in February

and October 2018, raising approximately $66 million.

       694.    The Algorand Foundation first offered ALGO in an initial ALGOpublic token

sale on or about June 19, 2019, selling 25 million tokens at $2.40 per ALGO, raisingwith a

“capital raise” totaling approximately $60 million. In advance of

       695.    After the tokenpublic sale, the Algorand Foundation pooled 90 percent of investor

proceeds in a segregated bank account.

       430.696.        In advance of the initial token sale in June 2019, the Algorand Foundation

promoted the token sale on Twitter and included a link toon its website. The Algorand

foundation promoted the June 19, 2019 token sale in part with a refund policy that allowed

ALGO investors to return the ALGO to the Algorand Foundation one year later at 90% of the

original purchase price. The Algorand Foundation explained the economic rationale behind the

refund policy by noting its own belief in and commitment to the value of ALGO: “We believe in

the underlying value of the Algorand blockchain, the Algo, and the potential of the borderless

economy. Our goal is to invest in the growth, sustainability and performance of that economy.”

       431.697.        In other words, in promoting the ALGO token sale, the Algorand

Foundation tied the potential growth of the Algorand blockchain to potential demand for the

ALGO token itself, and to its own commitment to preserving a price floor for ALGO.

       432.698.        In or around August 2019, the Algorand Foundation publicly offered

ALGO investors an early refund opportunity, and ALGO investors returned a total of
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 184 of 215




approximately 20 million ALGO tokens to the Algorand Foundation in exchange for a refund

that was 85% of the original purchase price.

       433.699.       In or around June 2020, ALGO investors who did not refund their ALGO

tokens in August 2019 were publicly offered a second refund window. ALGO investors returned

a total of approximately 5 million ALGO tokens for a refund that was 90% of the original

purchase price.

       434.700.       Through its rewards programs and incentive structures, the Algorand

Foundation continued distributing tokens after the June 2019 token sale. As of September 2022,

approximately 6.9 billion ALGO were in circulation.

       435.701.       Today,At least two entities are responsible for Algorand: (1) the Algorand

Foundation, an organization purportedly focused on Algorand “protocol governance, token

dynamics and supporting grassroots, open-source development on the Algorand ecosystem,”

which was incorporated in Singapore; and (2) Algorand, Inc., a company purportedly focused on

“layer-1 development of the Algorand Protocol and enabling Enterprise adoption of Algorand

blockchain technology.”

       436.702.       The Algorand Foundation and Algorand, Inc. purportedly collaborate on

projects and initiatives for the Algorand community.

       437.703.       Shortly before the June 19, 2019 ALGO token sale, Steven Kokinos, the

CEO of Algorand, Inc., posted a publicly available article stating: “(a) We will be holding our

founder’s tokens for the long term and will not be selling them. (b) We will use our founder’s

tokens to participate in consensus and assist in securing the network, though we will never

represent more than 49% of the voting. (c) We will use our founder’s tokens to support the

ecosystem and encourage development.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 185 of 215




       438.704.        The Algorand Foundation purportedly owns 500 million ALGO tokens

and the participation and governance rewards associated with those tokens. Also, members of

the Algorand Foundation’s board of directors and its advisory committees receive ALGO as

compensation.

       439.705.        In addition to the tokens it owns, as of September 2022, the Algorand

Foundation also controls over 3 billion ALGO tokens in wallets publicly identified as for

“Community & Governance Rewards,” “Ecosystem Support,” and “Foundation Endowment,”

signaling to the public that the Algorand Foundation would use the ALGO tokens to support the

ALGO economy or ecosystem as well as to reward itself and participants in this ecosystem.

       706.     The Algorand Foundation also releases periodic “Transparency Reports” on its

website where it discloses ALGO holdings for that period, and notes that its holdings can be

verified via their published crypto asset wallet addresses.

       707.     ALGO has been available for buying, selling, and trading on the Binance.com

Platform since June 2019, and the Binance.US Platform since October 2019.

       708.     According to CoinMarketCap, as of September 5, 2024, ALGO had a daily

trading volume of approximately $24 million, and a market cap of approximately $950 million.

       440.709.        In widely available public statements on Twitter, as well as on their

respective websites, Algorand, Inc. and the Algorand Foundation have promoted the Algorand

protocol and ALGO, including to those trading on the Binance Platforms.

       441.710.        The information Algorand, Inc. and the Algorand Foundation publicly

disseminated has led ALGO holders, including those who have purchased ALGO since June

2019, reasonablyon the Binance Platforms, to view ALGO as an investment in, and reasonably to
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 186 of 215




expect to profit from, Algorand, Inc.’s and the Algorand Foundation’s efforts to grow the

Algorand protocol, which, in turn, would increase demand for and the value of ALGO.

       42.     In public statements on Twitter, as well as on their respective websites, Algorand,

Inc. and the Algorand Foundation promoted the Algorand protocol.

       442.711.       Until approximately May 14, 2022, the Algorand Foundation told the

investing public through Twitter that ALGO investors could receive participation rewards

(purportedly a form of staking by delegation) by “participation in the Algorand ecosystem via

holding Algo in an online wallet.”

       443.712.       As of approximately May 14, 2022, the Algorand Foundation publicly

stated that it would replace the participation rewards that ALGO holders were entitled to receive

with so-called governance rewards. The Algorand Foundation describeddescribes “Governance”

on its website as a way for investors to make investment returns on their ALGO purchases—

stating it is “a decentralized program which allows Algo holders to vote on the future of

Algorand” and “the best way to earn rewards for holding Algo, with APY% of 10.02% - 14.05%

seen in previous periods.”

       444.713.       The Algorand, Inc. and Algorand Foundation websites tout their teams’

technical experience and expertise in the areas of cryptography and business development.,

which informs investors’ reasonable expectations that Algarond, Inc.’s and the Algorand

Foundation’s efforts would facilitate the development and increased demand and value of

ALGO. For example, Algorand, Inc.’s website states: “Blending technical mastery and

professional stability, the Algorand team consists of internationally recognized researchers,

mathematicians, cryptographers, and economists along with proven business leaders from global

technology companies.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 187 of 215




       445.714.        In a March 2022 report, the Algorand Foundation—continuing to tout the

efforts it would undertake and casting them as requiring technical expertise and significant

time—publicly stated that it had started a new program to incentivize the “growth of the

ecosystem, which is the fundamental need of a maturing blockchain. The program includes a

series of loans to help the growth of our DeFi network and to expand the institutional

investments in the ecosystem . . . The Algorand Ecosystem team facilitates the development and

growth of the ecosystem and developer pipeline including undiluted funding, technical

onboarding and standardization conventions for ASAs, Wallets and AVM.”

       446.715.        Algorand, Inc. and the Algorand Foundation have also taken steps to

incentivize third parties to participate in and attract users to the ALGO protocol. For example, in

or around February 2022, the Algorand Foundation announced a $10 million incentive for

developers that can make the Algorand blockchain compatible with applications built on the

Ethereum blockchain.

       447.716.        Also in or around February 2022, the Algorand Foundation announced a

section of its website called AlgoHub, “a virtual community designed to grow the pipeline of

#Algorand developers.”

       717.    These statements have led ALGO investors, including those who purchased

ALGO after it became available for trading on The Binance Platforms, to reasonably expect that

the demand for ALGO would likely increase based on are an integral part of the markets for

ALGO, and Binance and BAM Trading fill these markets with information republishing and

amplifying the issuer and promoter statements and activity promoting ALGO as an investment.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 188 of 215




       718.     For example, Binance has hosted a number of AMAs with Algorand, Inc.’s and

Foundation leadership, including AMAs with its Chief Technology Officer in February 2023,

which was coupled with offering an ALGO rewards pool to participants in the AMA.

       719.     BAM Trading also had an “All About ALGO” page on Binance.US website as of

at least September 29, 2020, that noted that ALGO is the native asset for the Algorand

Foundation’s efforts to increase demand protocol, serving as the “medium of exchange and store

of value,” and touted its blockchain protocol “for the next generation of financial products.”

BAM Trading further highlighted the Algorand technology, thereby resulting in a price

increaseteams’ “deep roots in academic theory and science,” including that Micali “has dedicated

his career to pioneering research in the field of cryptography.” It also linked to an article about

ALGO on Binance Research.

       448.720.        As recently as January 2023, BAM Trading conducted an interactive

promotion for ALGO.investors for ALGO by tweeting trivia questions about ALGO that

included information about how it works, its history, and founder.

       721.     As of at least September 5, 2024, Binance continues to post information about

ALGO on the Binance.com Platform, including a project report from Binance Research, links to

Algorand’s social media accounts, whitepaper and website, and on Binance Academy, a

promotional Learn and Earn about ALGO, and a live feed with recent information about ALGO.

       722.     As of at least September 5, 2024, BAM Trading continues to post information

about ALGO on the Binance.US Platform, including a project report that contains information

about Algorand, links to Algorand’s Whitepaper and website, and a live feed with recent

information about crypto assets listed on the platform.

              ix.      AXS
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 189 of 215




       449.723.        Axie Infinity Shards (“AXS”) are ethereum tokens that are native to the

Axie Infinity (“Axie”) game, a blockchain game that allows players to interact in a virtual world

through digital pets called “Axies.”

       450.724.        Axie was created by Sky Mavis PTE LTD ((“Sky Mavis)”) and launched

in 2018. The Sky Mavis team has 40 full-time employees, which include CEO Trung Nguyen

and COO Aleksander Leonard Larsen, who are part of the founding team responsible for key

decisions regarding Axie, such as product development, marketing, digital design, and software

engineering.

       451.725.        Players of the Axie game can earn AXS for successfully playing the Axie

game and can use AXS to make in-game purchases. AXS can also be staked through Axie. The

total AXS token supply is 270 million with over 100 million in circulation.

       452.726.        The total AXS token supply is 270 million with over 100 million in

circulation. To raise capital, Sky Mavis conducted a series of AXS sales to investors. In 2020,

Sky Mavis raised about $864,000 in a purportedly private sale of AXS tokens to “strategic

investors.”

       453.727.        That same year, Sky Mavis conducted a public sale of AXS, resulting in

the distribution of 29.7 million AXS tokens, raising $2.9 million for Axie. The AXS tokens sold

to “strategic investors” were offered at a 20 percent discount to those sold in the public

offeringIEO on the Binance.com Platform, and were subject to a quarterly unlocking schedule

over a two-year period.

       728.    AXS In October 2020, Sky Mavis also conducted a public sale of AXS in an IEO

on the Binance.com Platform, resulting in the distribution of 29.7 million AXS tokens, raising

$2.9 million for Sky Mavis.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 190 of 215




       729.     Binance’s October 2020 announcement of the AXS IEO contained links to the

Axie project webpage, the official Axie Infinity whitepaper (“Axie Whitepaper”), and warned

that although “Binance will choose high-quality projects” to participate in IEOs on the

Binance.com Platform, “[a]ll investments are subject to high market risk . . . make your

investments very cautiously.”

       730.     Simultaneously, Sky Mavis publicized the Binance IEO on Twitter and its

website, including that it was “thrilled to announce that AXS has been listed on Binance!” and

that “[t]his is a landmark moment for the Axie community in our quest to empower millions of

gamers.”

       454.731.        AXS has continued to be available for buying, selling, and trading on the

on the Binance.com Platform since the IEO in October 2020. AXS has also been available for

buying, selling, and trading on the Binance.US Platform since November 2021.

       732.     According to CoinMarketCap, as of September 5, 2024, AXS had a daily trading

volume of approximately $19 million, and a market cap of approximately $640 million.

       455.733.        The information Sky Mavis publicly disseminated has led AXS holders,

including those who have purchased AXS since August 2021, reasonablyon the Binance

Platforms, to view AXS as an investment in, and reasonably to expect to profit from, Sky

Mavis’s efforts to grow the Axie protocol, which, in turn, would increase demand for and the

value of AXS.

       734.     For example, Sky Mavis explained publicly that funds raised in the AXS 2020

offerings were pooled and used to develop and improve the Axie platform. An October 26, 2020

article explains that the “team has used funds raised according to the allocations below: 85%
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 191 of 215




[d]evelopmental expenses; 10% [a]dministrative costs; 5% [b]usiness development and

marketing.”

       735.      The Axie Whitepaper, which was last updated in November 2021 and was

available on Sky Mavis’ website as of at least September 1, 2024, also discloses the allocation of

AXS, including that Sky Mavis received 21 percent of AXS tokens. As of at least September 1,

2024, its website continues to promote that allocation on its webpage entitled “What is AXS?”

       736.      At the time of the initial sale of AXS, the Axie platform was not complete, and

while several features of the platform have been implemented since 2020, others are still in the

development phase. Further, the Axie Whitepaper explicitly set growth goals in terms of daily

average users of Axie Infinity and average weekly growth rates, that if “not met by the end of

2023, Sky Mavis will lead the formation of a steering committee or similar vehicle to discuss a

path forward.”

       456.737.         The Axie Whitepaper further explained that the Sky Mavis team will use

its experience and efforts to develop and grow the Axie game. For example, it lists the Axie

founding team, their roles, and background experience and touts that “we’ve established a core

team to lead product development and oversee most decisions related to the progress of the

game. This allows us to build and iterate quickly towards product-market fit.”

       457.738.         Also, on November 19, 2020, the Axie Twitter account stated: “Today,

we’re proud to share more info on the $AXS strategic sale! The participants will help open

amazing new doors. The capital will help us scale the team so we can better deliver on the

gameplay and feature updates you’re all patiently waiting for!” To keep the Sky Mavis team

“incentivized to keep building after a successful token sale,” 21 percent of the total AXS

tokens—56.7 million AXS—were issued to these individuals, which will be gradually unlocked
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 192 of 215




over a 4.5 year period to ensure that “the team, community and investors have aligned

incentives.” This statement is mirrored in the Axie Whitepaper.

       739.    AnIn a December 30, 2020 blog post on its website that is still available as of

September 5, 2024, Sky Mavis recapped the growth of the platform at the end of 2020, and

explicitly likened the 270 million maximum supply of AXS tokens to ownership shares of the

ecosystem, and promoted their own holdings, stating: “At Sky Mavis we would rather own a

reasonable slice of a huge ecosystem than a huge slice of something that cannot scale due to

misaligned incentives.”

       740.    Sky Mavis has at other times explicitly promoted an increase in the price of AXS

through burning AXS. In announcing a “Buyback and Burn Promo Sale” in April 2023, the

development team stated that “[w]hen AXS tokens are purchased from the buyback promo sales

through the secondary market, AXS tokens are automatically burnt from the total supply which

permanently reduces the number of AXS from circulation. This achieves a deflationary

tokenomics model through the buyback promo program in order to boost liquidity, reduce

volatility, and contribute to price appreciation.”

       741.    The Binance Platforms are an integral part of the markets for AXS, and Binance

and BAM Trading fill these markets with information republishing and amplifying the issuer and

promoter statements and activity promoting AXS as an investment.

       742.    For example, when Binance announced its IEO of AXS, it urged investors to read

the Binance Research in-depth report that linked to the Axie Whitepaper and website. Sky

Mavis followed up with its own announcement on November 4, 2020, again urging investors to

review the project whitepaper. BAM Trading issued a similar announcement when AXS was

listed on its platform on November 11, 2021, that linked to a BAM Trading project report.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 193 of 215




       743.    Further, Binance makes available a dedicated “price prediction” page for AXS,

the stated purpose of which is to help investors speculate “[h]ow much will [AXS] be worth in

2025, 2026, 2027, up to 2030?”

       744.    BAM Trading also held an AMA with the Sky Mavis team in March 2022 on its

Twitter spaces. It promoted the event over Twitter on February 28, 2022, stating “Do you have a

question for the Axie Infinity team? Drop it below for a chance to have your question answered

during our live AMA.”

       745.    As of at least September 5, 2024, Binance continues to post information about

AXS on the Binance.com Platform, including a project report from Binance Research with links

to the project’s whitepaper and YouTube channel, and on Binance Academy, an updated June

2023 article “What is Axie Infinity (AXS)?”, and a live feed with recent information about AXS.

       746.    As of at least September 5, 2024, BAM Trading continues to post information

about AXS on the Binance.US Platform, including a project report that contains information

about Axie Infinity, a pricing page, and a live feed with recent information about crypto assets

listed on the platform.

       43.      Axie Whitepaper further explained that the Sky Mavis team will use its

experience and efforts to develop and grow the Axie game. For example, it lists the Axie

founding team, their roles, and background experience and touts that “we’ve established a core

team to lead product development and oversee most decisions related to the progress of the

game. This allows us to build and iterate quickly towards product-market fit.”

       44.     At the time of the initial sale of AXS, the Axie platform was not complete, and

while several features of the platform have been implemented since 2020, others are still in the

development phase today. Further, the whitepaper explicitly set growth goals in terms of daily
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 194 of 215




average users of Axie Infinity and average weekly growth rates, that if “not met by the end of

2023, Sky Mavis will lead the formation of a steering committee or similar vehicle to discuss a

path forward.”

             x.          COTI

       458.747.          “COTI” is the native token of the Coti blockchain and ecosystem. Coti is

a company that purports to provide a digital infrastructure for payments, co-founded by Samuel

Falkon and David Assaraf. Shahaf Bar-Geffen is Coti’s CEO. The Coti website, www.coti.io, is

operated by Coti (BVI) Limited, a company incorporated and registered in the British Virgin

Islands.

       45.        On June 4,In a May 2019 Medium post, Coti conducted an IEO on a crypto asset

trading platform for approximately 46 million COTI, raising approximately $3 million. Coti

hasannounced a maximumtotal supply of two billion COTI.

       46.       COTI has been available for buying, selling, and trading on the Binance.com

Platform since February 2020, and the Binance.US Platform since April 2022.

       47.       The information Coti publicly disseminated has led COTI holders, including those

who have purchase COTI since February 2020, reasonably to view COTI as an investment in and

to expect to profit from Coti’s efforts to grow the Coti protocol, which, in turn, would increase

demand for and value of COTI.

       48.       For example, in a May 28, 2019 Medium post Coti stated that the purpose of the

upcoming IEO was “to ensure an effective launch,” and that the IEO “enable[s] us to amplify our

community base and to generate greater visibility and liquidity measures.”

       459.748.          In that post, Coti also stated said that the Coti team was allocated 15% of

the total COTI supply and advisors were allocated 10% of the total COTI supply. Coti further
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 195 of 215




noted that “[t]eam tokens have a minimum six-month lockup and are released over a 24-month

period” and that “[a]dvisor tokens are locked for a 6-36-month period.”

       460.749.       Moreover, the webpage announcing theOn June 4, 2019, Coti announced

that it would be conducting an IEO. The posting disclosed a so-called “private” sale allocation

of 10.01% of the total COTI supply at $0.08 per COTI, and a so-called “seed” sale allocation of

2.87% of the total COTI supply at $0.06 per COTI.

       750.    The IEO was conducted on a crypto asset trading platform, offering

approximately 46 million COTI, and raising approximately $3 million.

       751.    The “Purchase Agreement” for the IEO stated that “proceeds from the Token Sale

will be deployed to fund the development of the COTI Project, for the development of the COTI

technology and the COTI eco-system.”

       461.752.       On that datethe day of the IEO, Coti also published a Medium post

entitled, “COTI’s IEO [] creates buying frenzy,” touting COTI’s “trading volume hit $1M USD

within 30 minutes of launching,” and that COTI’s “price sprinted over 10 times the opening

value twice and stalled at a peak appreciation of x18.”

       753.    COTI has been available for buying, selling, and trading on the Binance.com

Platform since February 2020, and the Binance.US Platform since April 2022.

       754.    According to CoinMarketCap, as of September 5, 2024, COTI had a daily trading

volume of approximately $7 million, and a market cap of approximately $130 million.

       755.    In public statements on social media after the initial sales of COTI, as well as in

Medium posts and posts on its website, Coti has continued to describe the efforts that this team

and team members made and would continue to make to develop the Coti blockchain and attract

users to the technology, including to those trading in COTI on the Binance Platforms.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 196 of 215




       756.    The information Coti publicly disseminated has led COTI holders, including those

who have purchased COTI on the Binance Platforms, to view COTI as an investment in, and

reasonably to expect to profit from, Coti’s efforts to grow the Coti protocol, which, in turn,

would increase demand for and the value of COTI.

       757.    For example, in a May 28, 2019 Medium post, Coti stated that the purpose of its

IEO was “to ensure an effective launch,” and that the IEO “enable[s] us to amplify our

community base and to generate greater visibility and liquidity measures.”

       758.    In a June 10, 2020 Medium post to promote COTI’s one-year anniversary, Coti

promoted its “many meaningful milestones through which COTI has evolved to be a strong

company.” Coti further promoted that the “growth in demand for COTI’s network and services,

coupled with the new Staking 2.0 model limiting the supply of coins, serves as a great benefit for

coin holders.” It also noted that COTI’s average daily trading volume exceeded $2 million, and

that COTI traded on 10 crypto asset trading platforms, which makes COTI “widely available.”

       462.1. The “Purchase Agreement” for the IEO stated that “proceeds from the Token Sale

will be deployed to fund the development of the COTI Project, for the development of the COTI

technology and the COTI eco-system.”

       463.759.        Coti posted a number of “Meet the COTI Team” Medium blog posts,

including one from April 2022 highlighting its COO. In the post, the COO stated: “COTI has

one of the best (probably THE best) teams in the world”; that “we are continuing to build this

special DNA and culture of excellence”; and that his aim was to “keep improving current

processes and to bring the most optimized communication tools into all of COTI’s different

departments, which [he] believedI believe is bound to make it more successful!”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 197 of 215




       464.760.        Another Coti “Meet the COTI Team” post in October 2022 highlighted

Coti’s Talent Acquisition Manager. The Talent Acquisition Manager stated that since she started

at Coti, she had “managed to double the amount of employees from the entire range of

departments like R&D, Marketing, research and more,” and that because “[t]he Crypto industry

is a fiercely competitive one … every company needs the best talents for them to stand out in the

industry.”

       49.     In public statements on social media, as well as in Medium posts and posts on its

website, Coti has described the efforts that this team and team members made and would

continue to make to develop the Coti blockchain and attract users to the technology.

       465.761.        For example, in a January 2023 Medium post outlining its plans for 2023

and beyond, Coti claimed that it is “uniquely optimized to solve challenges around payments,”

stated that it will “continue to gain more traction with more enterprises,” and said that it “plan[s]

on expanding.” It also stated that its “ecosystem of [COTI] holders will continue to benefit from

the network’s success by engaging with our Treasury app” with “new and innovative features

geared toward the growth of value captured.”

       466.762.        Coti has also statesstated on its website, “COTI is an all-in-one company –

protocol and commercial development are both in-house. COTI offers a turn-key solution for

enterprises which can be white labeled with products.”

       763.    Even up to August 2024, Bar-Geffen has given regular “COTI updates” on the

Coti Foundation’s YouTube channel, which has over 13,000 subscribers, casting Coti’s efforts as

extensive, ongoing, and requiring expertise to continue developing the COTI network.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 198 of 215




       764.    In a February 2, 2023 update, for example, he reported on new developments Coti

were working on, including some that are “right around the corner.” He concluded, “There was

never a better time to hold COTI then now.”

       765.    Similarly, in an April 17, 2023 update, Bar-Geffen reported on recent

developments and concluded that Coti’s “business development team has been very busy

securing partnerships and developing relationships with a field of innovative enterprises . . .

there’s a strong demand for the technology that we’ve been developing over the past few years

and those of you who’ve been following us since know the path that we’ve taken and those who

will be patient will reap the fruits. We are excited to see where this is going and what this means

for the growth of COTI.”

       766.    Further, the day Binance made COTI available on the Binance.com Platform, Coti

tweeted, “A New Chapter Begins – Some Thoughts Before We List COTI on Binance Today.

As COTI is listing on Binance in a few hours and our excitement is peaking, now is a great time

to look at what lies ahead for COTI over the coming weeks.”

       767.    Coti has also continued to promote its COTI holdings. As of February 7, 2020,

Coti announced that it was amending its COTI distribution plan, including COTI held by Coti

itself, because “coin holders would like to have more clarity on release schedules.” The

amended plan included an extension of the lock-up period of the COTI allocated to the Coti team

until June 2023. Coti also announced a “regular Coin Purchase (buy back) program in which

[Coti] will periodically buy coins from the market.”

       768.    Then on March 22, 2022, Coti reported in a Medium post that it was going to

store 150 Million of its COTI tokens with Binance’s custody service, noting that it was “another

step taken by COTI in furthering our partnership and collaboration with the Binance ecosystem.”
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 199 of 215




       769.    The Binance Platforms are an integral part of the markets for COTI, and Binance

and BAM Trading fill these markets with information republishing and amplifying the issuer and

promoter statements and activity promoting COTI as an investment.

       770.    In the months leading up to when Binance made COTI available for trading on the

Binance.com Platform in February 2020, Binance hosted two AMAs involving several Coti

representatives on Binance’s Telegram channels. In promoting one of these AMAs over Twitter,

account, Coti encouraged the public to “send your questions and get involved.”

       771.    Binance’s Twitter post further linked to a Medium article by Coti representatives

that publicized numerous project developments, and promoted that “[t]here’s no doubt that our

sales strategy is working well and the theme for the coming weeks and months is constant and

rapid growth of volume and revenue.” (emphasis in original). The Medium post further noted,

“The exposure granted to us by listing on Binance is priceless. We have been getting non-

stop offers for new partnerships, listing opportunities, and more. We are assessing each and

every opportunity and we’ll keep you updated with progress, as we always do.” (emphasis in

original). It concluded, “[l]isting on Binance is just the start of the next chapter for COTI, not

the end of the story, and there is much much more to come.”

       772.    Further, Binance’s February 24, 2020 announcement on its website that it would

soon make available COTI for trading offered rewards for customers who deposited COTI on the

Binance.com Platform based on the timing and amount of their deposits. Binance also linked to

its “full in-depth research report on the [COTI] project.” That research report stated that Coti

“aims to build a ‘finance on the blockchain’ ecosystem’ to meet the challenges of traditional

finance.” It further provided “Key Metrics” including price and trading volumes, links to Coti’s
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 200 of 215




whitepaper and other promotional documents, “recent news” about COTI, the history of Coti’s

sales of COTI such as in the IEO, and the “Token Supply Distribution.”

       773.    BAM Trading also promoted COTI when it made it available for trading on the

Binance.US Platform in April 2022. Among other things, BAM Trading posted an

announcement on its website that described COTI and promoted the purported benefits of the

“COTI ecosystem.”

       774.    As of at least September 5, 2024, Binance continues to post information about

COTI on the Binance.com Platform, including a project report from Binance Research with links

to the project’s website, whitepaper, social media accounts, and YouTube channel, and a

promotional COTI Learn and Earn video on Binance Academy, and a live feed with recent

information about COTI.

       775.    As of at least September 5, 2024, BAM Trading continues to post information

about COTI on the Binance.US Platform, including a project report that contains information

about COTI and how to trade COTI, and a live feed with recent information about crypto assets

listed on the platform.

IX.    BINANCE AND BAM TRADING WERE REQUIRED TO BUT DID NOT
       REGISTER AS AN EXCHANGE, BROKER-DEALER, OR CLEARING AGENCY

       467.776.           Binance (through the Binance.com Platform) and Binance and BAM

Trading (acting as a group of persons through the Binance.US Platform) used the means and

instrumentalities of interstate commerce to bring together the orders of multiple buyers and

sellers of crypto assets that were offered and sold as securities using a trading facility

programmed with non-discretionary rules for orders to interact and for buyers and sellers to

agree upon the terms of trades in these securities. Binance and BAM Trading were therefore
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 201 of 215




each required to register with the SEC as a national securities exchange or operate pursuant to an

exemption from registration, but did not do so.

       468.777.        Binance and BAM Trading used the means and instrumentalities of

interstate commerce to engage in the business of effecting transactions in securities for the

account of others by, for example, soliciting potential investors in crypto assetassets that are

offered and sold as securities, holding themselves out as places to buy and sell such crypto asset

securitiesassets, facilitating trading in such crypto asset securitiesassets by opening customer

accounts, handling customer funds and such crypto asset securitiesassets (which they

commingled and treated as fungible) through Binance and BAM Trading-controlled accounts

and digital wallets, and being compensated for doing so. Binance and BAM Trading were

therefore each required to register with the SEC as a broker or operate pursuant to an exemption

from registration, but did not do so.

       469.778.        Binance used means and instrumentalities of interstate commerce to

regularly purchase and sell crypto assetassets that are offered and sold as securities for its own

accounts while providing Binance OTC services. Binance held itself out as a dealer by

advertising its Binance OTC services on its website and on social media to solicit new

customers, and through these services, quoted prices directly to users, served as the counterparty

to all block trades transacted through Binance OTC, and earned fees from the spread on each

completed block trade. Binance was therefore required to register with the SEC as a dealer or

operate pursuant to an exemption, but did not do so.

       470.779.        Binance (as to trading on the Binance.com Platform) and Binance and

BAM Trading (as to trading on the Binance.US Platform) each served as an intermediary in

settling all transactions in crypto assetassets that are offered and sold as securities occurring on
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 202 of 215




these platforms. They also each acted as a custodian of securities by requiring customers to

deposit their crypto assetassets that are offered and sold as securities in Binance-controlled (or,

in the case of the Binance.US Platform – Binance and BAM Trading-controlled) wallets, and

creating a system for the central handling of securities whereby such crypto asset securities

deposited, held, traded, and/or accrued on the Binance Platforms were treated as fungible and

customer accounts debited and credited by Binance and BAM Trading to settle customers’

transactions. Binance and BAM Trading were therefore each required to register with the SEC

as a clearing agency or operate pursuant to an exemption, but did not do so.

                                 FIRST CLAIM FOR RELIEF
                    Violations of Sections 5(a) and 5(c) of the Securities Act
                  (Against Binance for Unregistered Offers and Sales of BNB)

       471.780.        The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-238, 282-314, 325-36379-241, 285-408, 419-445, and 510-

513776-779.

       472.781.        At all relevant times, by engaging in the conduct alleged in the Amended

Complaint, specifically by offering and selling BNB without a registration statement filed or in

effect as to that security during the BNB ICO, and thereafter in offers and sales to its employees

and BAM Trading’s employees and through offers and sales to customers on the Binance

Platforms, Binance, directly and indirectly, made use of the means and instruments of

transportation or communication in interstate commerce or of the mails to sell securities through

the use or medium of any prospectus or otherwise, carried or caused to be carried through the

mails or in interstate commerce, by any means or instruments of transportation, that security for

the purpose of sale or for delivery after sale, and/or made use of the means and instruments of
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 203 of 215




transportation or communication in interstate commerce or of the mails to offer to sell or offer to

buy through the use or medium of a prospectus or otherwise of that security.

       473.782.          By reason of the conduct described above, Binance, violated, is violating,

and, unless enjoined, will continue to violate Securities Act Sections 5(a) and 5(c) [15 U.S.C.

§§ 77e(a) and (c)].

                             SECOND CLAIM FOR RELIEF
                  Violations of Sections 5(a) and 5(c) of the Securities Act
              (Against Binance for the Unregistered Offers and Sales of BUSD)

       474.783.          The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-238, 282-286, 315-324, 352-363, and 510-513.79-241, 409-

418, 459-461, and 776-779.

       475.784.          At all relevant times, by engaging in the conduct alleged in the Amended

Complaint, specifically by offering and selling BUSD without a registration statement filed or in

effect as to that security, Binance, directly and indirectly, made use of the means and instruments

of transportation or communication in interstate commerce or of the mails to sell securities

through the use or medium of any prospectus or otherwise, carried or caused to be carried

through the mails or in interstate commerce, by any means or instruments of transportation, that

security for the purpose of sale or for delivery after sale, and/or made use of the means and

instruments of transportation or communication in interstate commerce or of the mails to offer to

sell or offer to buy through the use or medium of a prospectus or otherwise of that security.

       476.785.          By reason of the conduct described above, Binance violated, is violating,

and, unless enjoined, will continue to violate Securities Act Sections 5(a) and 5(c) [15 U.S.C.

§§ 77e(a) and (c)].

                                  THIRD CLAIM FOR RELIEF
                      Violations of Sections 5(a) and 5(c) of the Securities Act
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 204 of 215




   (Against Binance for the Unregistered Offer and Sale of Simple Earn and BNB Vault)

        477.786.       The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-238, 282-36379-241, 285-461, and 510-513459-461, and 776-

779.

        478.787.       At all relevant times, by engaging in the conduct alleged in the Amended

Complaint, specifically by offering and selling the Simple Earn and BNB Vault programs

without a registration statement filed or in effect as to those securities, Binance, directly and

indirectly, made use of the means and instruments of transportation or communication in

interstate commerce or of the mails to sell securities through the use or medium of any

prospectus or otherwise, carried or caused to be carried through the mails or in interstate

commerce, by any means or instruments of transportation, those securities for the purpose of sale

or for delivery after sale, and/or made use of the means and instruments of transportation or

communication in interstate commerce or of the mails to offer to sell or offer to buy through the

use or medium of a prospectus or otherwise of those securities.

        479.788.       By reason of the conduct described above, Binance violated, is violating,

and, unless enjoined, will continue to violate Securities Act Sections 5(a) and 5(c) [15 U.S.C.

§§ 77e(a), (c)].

                           FOURTH CLAIM FOR RELIEF
                Violations of Sections 5(a) and 5(c) of the Securities Act
    (Against BAM Trading for the Unregistered Offer and Sale of its Staking Program)

        480.789.       The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-238, 282-36379-241, 285-290, 446-461, and 510-513776-79.

        481.790.       At all relevant times, by engaging in the conduct alleged in the Amended

Complaint, specifically by offering and selling its Staking program without a registration
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 205 of 215




statement filed or in effect as to that security, BAM Trading, directly and indirectly, made use of

the means and instruments of transportation or communication in interstate commerce or of the

mails to sell securities through the use or medium of any prospectus or otherwise, carried or

caused to be carried through the mails or in interstate commerce, by any means or instruments of

transportation, that security for the purpose of sale or for delivery after sale, and/or made use of

the means and instruments of transportation or communication in interstate commerce or of the

mails to offer to sell or offer to buy through the use or medium of a prospectus or otherwise of

that security.

        482.791.          By reason of the conduct described above, BAM Trading violated, is

violating, and, unless enjoined, will continue to violate Securities Act Sections 5(a) and 5(c) [15

U.S.C. §§ 77e(a), (c)].

                              FIFTH CLAIM FOR RELIEF
                           Violation of Exchange Act Section 5
  (Against Binance for Failing to Register as an Exchange for the Binance.com Platform)

        483.792.          The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-153, 282-33879-154, 285-445, and 352-513459-779.

        484.793.          At all relevant times, by engaging in the acts and conduct described in this

Amended Complaint, specifically by operating the Binance.com Platform, Binance met and

continues to meet the definition of “exchange” and, directly or indirectly, made use of the mails

and the means and instrumentalities of interstate commerce for the purpose of using any facility

of an exchange within or subject to the jurisdiction of the United States to effect transactions in a

security, or to report any such transaction, without registering as a national securities exchange

under Exchange Act Section 6 [15 U.S.C. § 78f], and without being exempted from such

registration.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 206 of 215




        485.794.        By reason of the conduct described above, Binance, directly or indirectly,

violated, is violating, and, unless enjoined, will continue to violate Exchange Act Section 5 [15

U.S.C. § 78e].



                              SIXTH CLAIM FOR RELIEF
                        Violations of Exchange Act Section 15(a)
(Against Binance for Failing to Register as a Broker-Dealer for the Binance.com Platform)

        486.795.        The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-153, 282-33879-154, 285-445, and 352-513459-779.

        487.796.        At all relevant times, by engaging in the acts and conduct described in this

Amended Complaint, specifically by operating the Binance.com Platform, Binance, a person

other than a natural person under the Exchange Act, was and is a broker and dealer and, directly

or indirectly, made use of the mails and the means and instrumentalities of interstate commerce

to effect any transactions in, or to induce or attempt to induce the purchase or sale of,

any security, without registering as a broker or dealer, and without being exempted from such

registration.

        488.797.        By reason of the conduct described above, Binance, directly or indirectly,

violated, is violating, and, unless enjoined, will continue to violate Exchange Act Section 15(a)

[15 U.S.C. § 78o(a)].

                              SEVENTH CLAIM FOR RELIEF
                          Violations of Exchange Act Section 17A(b)
                 (Against Binance for Failing to Register as a Clearing Agency
                                for the Binance.com Platform)

        489.798.        The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-153, 282-33879-154, 285-445, and 352-513459-779.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 207 of 215




        490.799.       At all relevant times, by engaging in the acts and conduct described in this

Amended Complaint, specifically by operating the Binance.com Platform, Binance, directly or

indirectly, made use of the mails and the means and instrumentalities of interstate commerce to

perform the functions of a clearing agency with respect to securities, without registering in

accordance with Section 17A(b) of the Exchange Act and without being exempted from

registration.

        491.800.       By reason of the conduct described above, Binance, directly or indirectly,

violated, is violating, and, unless enjoined, will continue to violate Exchange Act Section 17A(b)

[15 U.S.C. § 78q-1(b)].

                             EIGHTH CLAIM FOR RELIEF
                           Violations of Exchange Act Section 5
         (Against Binance and BAM Trading for Failure to Register as an Exchange
                               for the Binance.US Platform)

        492.801.       The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35 and 110-513.111-779.

        493.802.       At all relevant times, by engaging in the acts and conduct described in this

Amended Complaint, specifically by operating the Binance.US Platform, Binance and BAM

Trading met and continue to meet the definition of “exchange” and, directly or indirectly, made

use of the mails and the means and instrumentalities of interstate commerce for the purpose of

using any facility of an exchange within or subject to the jurisdiction of the United States, to

effect transactions in a security, or to report any such transaction, without registering as a

national securities exchange under Exchange Act Section 6 [15 U.S.C. § 78f], and without being

exempted from such registration.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 208 of 215




       494.803.        By reason of the conduct described above, Binance and BAM Trading,

directly or indirectly, violated, are violating, and, unless enjoined, will continue to violate

Exchange Act Section 5 [15 U.S.C. § 78e].




                           NINTH CLAIM FOR RELIEF
                      Violations of Exchange Act Section 15(a)
 (Against BAM Trading for Failing to Register as a Broker for the Binance.US Platform)

       495.804.        The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35 and 110-513111-779.

       496.805.        At all relevant times, by engaging in the acts and conduct described in this

Amended Complaint, specifically by operating the Binance.US Platform, BAM Trading, a

person other than a natural person under the Exchange Act, was and is a broker and, directly or

indirectly, made use of the mails and the means and instrumentalities of interstate commerce to

effect any transactions in, or to induce or attempt to induce the purchase or sale of, any security,

without registering as a broker or dealer, and without being exempted from such registration.

       497.806.        By reason of the conduct described above, BAM Trading, directly or

indirectly, violated, is violating, and, unless enjoined, will continue to violate Exchange Act

Section 15(a) [15 U.S.C. § 78o(a)].

                             TENTH CLAIM FOR RELIEF
                        Violations of Exchange Act Section 17A(b)
        (Against Binance and BAM Trading Failing to Register as a Clearing Agency
                               for the Binance.US Platform)

       498.807.        The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35 and 110-513111-779.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 209 of 215




       499.808.        At all relevant times, by engaging in the acts and conduct described in this

Amended Complaint, specifically by operating the Binance.US Platform, Binance and BAM

Trading, each, directly or indirectly, made use of the mails and the means and instrumentalities

of interstate commerce to perform the functions of a clearing agency with respect to securities,

without registering in accordance with Section 17A(b) of the Exchange Act and without being

exempted from registration.

       500.809.        By reason of the conduct described above, Binance and BAM Trading,

directly or indirectly, violated, are violating, and, unless enjoined, will continue to violate

Exchange Act Section 17A(b) [15 U.S.C. § 78q-1(b)].

                           ELEVENTH CLAIM FOR RELIEF
                 Violations of Exchange Act Sections 5, 15(a), and 17A(b)
       (Against Zhao as Control Person over Binance for the Binance.com Platform)

       501.810.        The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 80-153, 282-33879-154, 285-445, and 352-513459-779.

       502.811.        As alleged above, Binance violated Exchange Act Sections 5, 15(a), and

17A(b) [15 U.S.C. §§ 78e, 78o(a), and 78q-1(b)] in connection with its operation of the

Binance.com Platform.

       503.812.        At all relevant times, Zhao was a control person of Binance for purposes

of Exchange Act Section 20(a) [15 U.S.C. § 78t(a)].

       504.813.        At all relevant times, Zhao exercised power and control over Binance,

including by managing and directing Binance, and by directing and participating in the acts

constituting Binance’s violations of the securities laws.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 210 of 215




       505.814.          By reason of the foregoing, Zhao is liable as a control person under

Exchange Act Section 20(a) [15 U.S.C. § 78t(a)] for Binance’s violations of Exchange Act

Sections 5, 15(a), and 17A(b) [15 U.S.C. §§ 78e, 78o(a), and 78q-1(b)].

                             TWELFTH CLAIM FOR RELIEF
                  Violations of Exchange Act Sections 5, 15(a), and 17A(b)
              (Against Zhao as Control Person over Binance and BAM Trading
                          for the Binance.US Platform Violations)

       506.815.          The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35 and 80-51379-779.

       507.816.          As alleged above, Binance and BAM Trading violated Exchange Act

Sections 5, and 17A(b), and BAM Trading violated Exchange Act 15(a) [15 U.S.C. §§ 78e,

78o(a), and 78q-1(b)] in connection with their operation of the Binance.US Platform.

       508.817.          At all relevant times, Zhao was a control person of Binance and BAM

Trading for purposes of Exchange Act Section 20(a) [15 U.S.C. § 78t(a)].

       509.818.          At all relevant times, Zhao exercised power and control over Binance and

BAM Trading, including by managing and directing Binance and BAM Trading, and by

directing and participating in the acts constituting Binance’s and BAM Trading’s violations of

the securities laws.

       510.819.          By reason of the foregoing, Zhao is liable as a control person under

Exchange Act Section 20(a) [15 U.S.C. § 78t(a)] for Binance’s and BAM Trading’s violations of

Exchange Act Sections 5, 15(a), and 17A(b) [15 U.S.C. §§ 78e, 78o(a), and 78q-1(b)].

                               THIRTEENTH CLAIM FOR RELIEF
                       Violations of Securities Act Sections 17(a)(2) and (a)(3)
                          (Against BAM Management and BAM Trading)

       511.820.          The Commission realleges and incorporates by reference herein the

allegations in Paragraphs 1-35, 110-324, and 352-513111-284, and 459-779.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 211 of 215




       512.821.        At all relevant times, by engaging in the conduct alleged in this Amended

Complaint, specifically by making materially false and misleading statements to investors and

engaging in acts and practices that operated as a fraud upon purchasers, BAM Management and

BAM Trading have, in the offer or sale of securities by the use of the means and instruments of

transportation or communication in interstate commerce or by use of the mails, directly or

indirectly, obtained money or property by means of one or more untrue statements of a material

fact or omissions of a material fact necessary to make the statements made, in light of the

circumstances under which they were made, not misleading, and engaged in one or more

transactions, practices, or courses of business which operated or would operate as a fraud or

deceit upon the purchaser.

       513.822.        By reasons of the foregoing, BAM Management and BAM Trading,

directly or indirectly, singly or in concert, have violated, and unless enjoined will again violate,

Securities Act Section 17(a)(2)-(3) [15 U.S.C. § 77q(a)(2) and 77q(a)(3)].

                                     PRAYER FOR RELIEF

       WHEREFORE, the Commission respectfully requests that the Court order temporary and

preliminary injunctive relief, including, but not limited to, asset freezes, a verified accounting,

repatriation of assets, expedited discovery, preservation of documents and information,

prohibition on the destruction of evidence, the appointment of a receiver, alternative service,

and/or any other necessary equitable relief that the Court deems just and proper.

       Further, the Commission respectfully requests that the Court enter a Final Judgment:

                                                  I.

       Permanently enjoining in a form consistent with Rule 65(b) of the Federal Rules of Civil

Procedure (i) Binance, BAM Trading, and Zhao, and each of their respective agents, servants,

employees, attorneys, and other persons in active concert or participation with any of them, from
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 212 of 215




violating, directly or indirectly, Sections 5, 15(a), and 17A(b) of the Exchange Act [15 U.S.C. §§

78e, 78o(a), and 78q-1(b)]; (ii) Binance and BAM Trading, and each of their respective agents,

servants, employees, attorneys, and other persons in active concert or participation with any of

them, from violating, directly or indirectly, Sections 5(a) and 5(c) of the Securities Act [15

U.S.C. §§ 77e(a) and 77e(c)]; and (iii) BAM Trading and BAM Management, and each of their

respective agents, servants, employees, attorneys, and other persons in active concert or

participation with any of them, from violating, directly or directly, Section 17(a)(2) and (a)(3) of

the Securities Act [15 U.S.C. §§ 77q(a)(2) and (3)].

                                                   II.

       Ordering Defendants to disgorge all ill-gotten gains, with prejudgment interest thereon,

pursuant to Sections 20(a), 21(d)(3), 21(d)(5), and 21(d)(7) of the Exchange Act [15 U.S.C.

§§ 78t(a), 78u(d)(3), 78u(d)(5), and 78u(d)(7)];

                                                III.

       Ordering Defendants to pay civil money penalties pursuant to Section 20(d) of the

Securities Act [15 U.S.C. § 77t(d)] and Section 21(d)(3) of the Exchange Act [15 U.S.C.

§ 78u(d)(3)];

                                                IV.

       Pursuant to Section 21(d)(5) of the Exchange Act [15 U.S.C. § 78u(d)(6)] permanently

barring Zhao from acting as an officer or director of any issuer whose securities are registered

with the Commission pursuant to Section 12 of the Exchange Act or which are required to file

reports with the Commission pursuant to Section 15(d) of the Exchange Act.

                                                   V.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 213 of 215




        Permanently enjoining Binance, BAM Trading, and Zhao, pursuant to Section 21(d)(5) of

the Exchange Act [15 U.S.C. § 78u(d)(5)], from directly or indirectly, including, but not limited

to, through any entity owned or controlled by BAM Trading, Binance, or Zhao, using means or

instrumentalities of interstate commerce to: (i) participate in the issuance, purchase, offer, or

sale of any security, including any crypto asset security, in an unregistered transaction; (ii) act as

an unregistered exchange with respect to any securities, including any crypto asset securities,

(iii) act as an unregistered broker or dealer with respect to any securities, including any crypto

asset securities, and (iv) act as an unregistered clearing agency with respect to any securities,

including any crypto asset securities.

                                                    VI.

        Granting any other and further relief this Court may deem just and proper for the benefit

of investors.

                                    DEMAND FOR JURY TRIAL

        Pursuant to Rule 38 of the Federal Rules of Civil Procedure, the Commission demands

trial by jury in this action of all issues so triable.
  Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 214 of 215




Dated:        June 5, 2023              By:
       ____/s___Matthew Scarlato__________________
       Washington, D.C.                 Matthew Scarlato (D.C. Bar No. 484124)
                                        Jennifer L. Farer (D.C. Bar No. 1013915)
                                        J.                                  David Nasse
(D.C. Bar. No. 1002567)
       Emmett Murphy*
                                        U.S. SECURITIES AND EXCHANGE
                                        COMMISSION
                                        100 F Street N.E.
                                        Washington, D.C. 20549
                                        Phone:         (202) 551-3746 (Scarlato)
                                                       (202) 551-5072 (Farer)
                                                       (212) 336-0078 (Murphy)
                                        Emails:        scarlatom@sec.gov


                                                        J. Emmett Murphyfarerj@sec.gov
                                                        murphyJoh@sec.gov

                                         Attorneys for the Plaintiff

                                         *Government attorney certification pursuant to
                                         Local Rule 83.2(d) pending



                                         Of Counsel:
                                         Elisa S. Solomon
                                         Jorge G. Tenreiro
             David L. Hirsch
             David A. Nasse
             Michael Baker
             Kathleen Hitchens
             Donna Norman
             Ann Rosenfield
             Colby Steele
             Martin Zerwitz

                                                        SECURITIES AND EXCHANGE
             COMISSION
Case 1:23-cv-01599-ABJ-ZMF Document 273-3 Filed 09/12/24 Page 215 of 215




                                 COMMISSION
                                 100 Pearl Street
                                 New York, NY 10004


                                 Attorneys for Plaintiff Securities and
                                 Exchange Commission
